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                                               U.S. District Court
                                       Southern District of Florida (Miami)
                                CIVIL DOCKET FOR CASE #: 1:22-cv-23753-KMM


 Garrison v. Bankman-Fried et al                                                     Date Filed: 11/15/2022
 Assigned to: Judge K. Michael Moore                                                 Jury Demand: Plaintiff
 Referred to: Magistrate Judge Jacqueline Becerra                                    Nature of Suit: 370 Other Fraud
 Cause: 28:1332 - Diversity: Securities Fraud                                        Jurisdiction: Diversity
 Plaintiff
 Edwin Garrison                                                         represented by Joseph M. Kaye
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 V.
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 Defendant
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 Defendant
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 Shaquille O'Neal
 Defendant
 Udonis Haslem
 Defendant


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 V.
 Consol Defendant
 Caroline Ellison

 Consol Defendant
 Sam Trabucco

 Consol Defendant
 Gary Wang

 Consol Defendant
 Nishad Singh
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 Consol Defendant
 Dan Friedberg


  Date Filed             #    Docket Text
  11/15/2022             1 COMPLAINT CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL against
                           All Defendants. Filing fees $ 402.00 receipt number AFLSDC-16103423, filed by Edwin
                           Garrison. (Attachments: # 1 Civil Cover Sheet)(Moskowitz, Adam) (Entered: 11/15/2022)
  11/15/2022             2 Clerks Notice of Judge Assignment to Judge K. Michael Moore.

                              Pursuant to 28 USC 636(c), the parties are hereby notified that the U.S. Magistrate Judge
                              Lauren F. Louis is available to handle any or all proceedings in this case. If agreed, parties
                              should complete and file the Consent form found on our website. It is not necessary to file
                              a document indicating lack of consent. (aao) (Entered: 11/16/2022)
  11/16/2022             3 ORDER OF RECUSAL. Magistrate Judge Lauren F. Louis recused. Magistrate Judge
                           Jacqueline Becerra added. Signed by Magistrate Judge Lauren Fleischer Louis on
                           11/16/2022. See attached document for full details. (vjk) (Main Document 3 replaced on
                           11/16/2022) (vjk). Modified pdf on 11/16/2022 (vjk). (Entered: 11/16/2022)
  11/16/2022             4 Bar Letter re: Admissions sent to attorney David Boies and Alex Boies, mailing date
                           November 16, 2022, (pt) (Entered: 11/16/2022)
  11/16/2022             5 PAPERLESS PRETRIAL ORDER. This order has been entered upon the filing of the
                           complaint. Plaintiff's counsel is hereby ORDERED to forward to all defendants, upon
                           receipt of a responsive pleading, a copy of this Order. It is further ORDERED that S.D.
                           Fla. L.R. 16.1 shall apply to this case and the parties shall hold a scheduling conference no
                           later than twenty (20) days after the filing of the first responsive pleading by the last
                           responding defendant, or within sixty (60) days after the filing of the complaint, whichever
                           occurs first. However, if all defendants have not been served by the expiration of this
                           deadline, Plaintiff shall move for an enlargement of time to hold the scheduling
                           conference, not to exceed 90 days from the filing of the Complaint. Within ten (10) days of
                           the scheduling conference, counsel shall file a joint scheduling report. Failure of counsel to
                           file a joint scheduling report within the deadlines set forth above may result in dismissal,
                           default, and the imposition of other sanctions including attorney's fees and costs. The
                           parties should note that the time period for filing a joint scheduling report is not tolled by
                           the filing of any other pleading, such as an amended complaint or Rule 12 motion. The
                           scheduling conference may be held via telephone. At the conference, the parties shall
                           comply with the following agenda that the Court adopts from S.D. Fla. L.R. 16.1: (1)
                           Documents (S.D. Fla. L.R. 16.1.B.1 and 2) - The parties shall determine the procedure for
                           exchanging a copy of, or a description by category and location of, all documents and
                           other evidence that is reasonably available and that a party expects to offer or may offer if
                           the need arises. Fed. R. Civ. P. 26(a)(1)(B). (a) Documents include computations of the
                           nature and extent of any category of damages claimed by the disclosing party unless the
                           computations are privileged or otherwise protected from disclosure. Fed. R. Civ. P. 26(a)
                           (1)(C). (b) Documents include insurance agreements which may be at issue with the
                           satisfaction of the judgment. Fed. R. Civ. P. 26(a)(1)(D). (2) List of Witnesses - The parties
                           shall exchange the name, address and telephone number of each individual known to have
                           knowledge of the facts supporting the material allegations of the pleading filed by the
                           party. Fed. R. Civ. P. 26(a)(1)(A). The parties have a continuing obligation to disclose this
                           information. (3) Discussions and Deadlines (S.D. Fla. L.R. 16.1.B.2) - The parties shall
                           discuss the nature and basis of their claims and defenses and the possibilities for a prompt
                           settlement or resolution of the case. Failure to comply with this Order or to exchange the
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2/14/23, 3:00 PM         Case MDL No. 3076 Document 2-2       CM/ECFFiled    02/15/23
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                           information listed above may result in sanctions and/or the exclusion of documents or
                           witnesses at the time of trial. S.D. Fla. L.R. 16.1.I.

                              The parties are hereby on notice that this Court requires all filings to be formatted in
                              12 point Times New Roman font and double spaced, including any footnotes, with one
                              inch margins on all sides. Failure to follow these formatting guidelines may result in the
                              filing being stricken, any opposing filing being granted by default, and the imposition of
                              other sanctions, including attorney's fees and costs. Multiple Plaintiffs or Defendants
                              shall file joint motions with co-parties unless there are clear conflicts of position. If
                              conflicts of position exist, parties shall explain the conflicts in their separate motions.
                              Failure to comply with ANY of these procedures may result in the imposition of
                              appropriate sanctions, including but not limited to, the striking of the motion or dismissal
                              of this action. The parties shall seek extensions of time in a timely fashion. "A motion
                              for extension of time is not self-executing.... Yet, by filing these motions on or near the last
                              day, and then sitting idle pending the Court's disposition of the motion, parties essentially
                              grant their own motion. The Court will not condone this." Compere v. Nusret Miami, LLC,
                              2020 WL 2844888, at *2 (S.D. Fla. May 7, 2020) (internal citations omitted).

                              Pursuant to Administrative Order 2016-70 of the Southern District of Florida and
                              consistent with the Court of Appeals for the Eleventh Circuit's Local Rules and Internal
                              Operating Procedures, within three (3) days of the conclusion of a trial or other
                              proceeding, parties must file via CM/ECF electronic versions of documentary exhibits
                              admitted into evidence, including photographs of non-documentary physical exhibits. The
                              Parties are directed to comply with each of the requirements set forth in Administrative
                              Order 2016-70 unless directed otherwise by the Court.

                              Telephonic appearances are not permitted for any purpose. Upon reaching a settlement in
                              this matter the parties are instructed to notify the Court by telephone and to file a Notice of
                              Settlement within twenty-four (24) hours.

                              Signed by Judge K. Michael Moore on 11/16/2022. (rfr) (Entered: 11/16/2022)
  11/16/2022             6 PAPERLESS ORDER REFERRING PRETRIAL DISCOVERY MATTERS TO
                           MAGISTRATE JUDGE JACQUELINE BECERRA. PURSUANT to 28 U.S.C. § 636 and
                           the Magistrate Judge Rules of the Local Rules of the Southern District of Florida, the
                           above-captioned Cause is referred to United States Magistrate Judge Jacqueline Becerra to
                           take all necessary and proper action as required by law with respect to any and all pretrial
                           discovery matters. Any motion affecting deadlines set by the Court's Scheduling Order is
                           excluded from this referral, unless specifically referred by separate Order. It is FURTHER
                           ORDERED that the parties shall comply with Magistrate Judge Jacqueline Becerra's
                           discovery procedures. Signed by Judge K. Michael Moore on 11/16/2022. (rfr) (Entered:
                           11/16/2022)
  11/23/2022             7 MOTION to Appear Pro Hac Vice, Consent to Designation, and Request to Electronically
                           Receive Notices of Electronic Filing for David Boies. Filing Fee $ 200.00 Receipt #
                           AFLSDC-16123593 by Edwin Garrison. Responses due by 12/7/2022 (Attachments: # 1
                           Text of Proposed Order)(Moskowitz, Adam) (Entered: 11/23/2022)
  11/23/2022             8 MOTION to Appear Pro Hac Vice, Consent to Designation, and Request to Electronically
                           Receive Notices of Electronic Filing for Alexander Boies. Filing Fee $ 200.00 Receipt #
                           AFLSDC-16123609 by Edwin Garrison. Responses due by 12/7/2022 (Attachments: # 1
                           Text of Proposed Order)(Moskowitz, Adam) (Entered: 11/23/2022)
  11/28/2022             9 PAPERLESS ORDER. THIS CAUSE came before the Court upon the Motion for David
                           Boies to Appear Pro Hac Vice, Consent to Designation, and Request to Electronically
                           Receive Notices of Electronic Filing. 7 . UPON CONSIDERATION of the Motion, the
https://ecf.flsd.uscourts.gov/cgi-bin/DktRpt.pl?1000521040868-L_1_0-1                                                      12/17
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                           pertinent portions of the record, and being otherwise fully advised in the premises, it is
                           hereby ORDERED AND ADJUDGED that the Motion 7 is GRANTED. David Boies may
                           appear pro hac vice in this matter. The Clerk of Court shall provide electronic notification
                           of all electronic filings to dboies@bsfllp.com. Signed by Judge K. Michael Moore on
                           11/28/2022. (rfr) (Entered: 11/28/2022)
  11/28/2022            10 PAPERLESS ORDER. THIS CAUSE came before the Court upon the Motion for
                           Alexander Boies to Appear Pro Hac Vice, Consent to Designation, and Request to
                           Electronically Receive Notices of Electronic Filing. 8 . UPON CONSIDERATION of the
                           Motion, the pertinent portions of the record, and being otherwise fully advised in the
                           premises, it is hereby ORDERED AND ADJUDGED that the Motion 8 is GRANTED.
                           Alexander Boies may appear pro hac vice in this matter. The Clerk of Court shall provide
                           electronic notification of all electronic filings to aboies@bsfllp.com. Signed by Judge K.
                           Michael Moore on 11/28/2022. (rfr) (Entered: 11/28/2022)
  12/02/2022            11 NOTICE of Filing Proposed Summons(es) by Edwin Garrison re 1 Complaint filed by
                           Edwin Garrison (Attachments: # 1 Summon(s), # 2 Summon(s), # 3 Summon(s), # 4
                           Summon(s), # 5 Summon(s), # 6 Summon(s), # 7 Summon(s), # 8 Summon(s), # 9
                           Summon(s), # 10 Summon(s), # 11 Summon(s), # 12 Summon(s)) (Moskowitz, Adam)
                           (Entered: 12/02/2022)
  12/05/2022            12 Summons Issued as to Thomas Brady, Gisele Bundchen, Stephen Curry, Lawrence Gene
                           David, Golden State Warriors LLC, Udonis Haslem, William Trevor Lawrence, Kevin
                           O'Leary, Shaquille O'Neal, Shohei Ohtani, David Ortiz, Naomi Osaka. (ls) (Entered:
                           12/05/2022)
  12/08/2022            13 NOTICE of Filing Proposed Summons(es) by Edwin Garrison (Attachments: # 1
                           Summon(s)) (Moskowitz, Adam) (Entered: 12/08/2022)
  12/08/2022            14 NOTICE of Voluntary Dismissal PLAINTIFFS NOTICE OF VOLUNTARY DISMISSAL
                           WITHOUT PREJUDICE by Edwin Garrison (Moskowitz, Adam) (Entered: 12/08/2022)
  12/09/2022            15 Summons Issued as to Sam Bankman-Fried. (ls) (Entered: 12/09/2022)
  12/16/2022            16 AMENDED COMPLAINT AMENDED CLASS ACTION COMPLAINT AND DEMAND
                           FOR JURY TRIAL against Sam Bankman-Fried, Thomas Brady, Gisele Bundchen, Stephen
                           Curry, Lawrence Gene David, Caroline Ellison, Dan Friedberg, Golden State Warriors
                           LLC, Udonis Haslem, William Trevor Lawrence, Kevin O'Leary, Shaquille O'Neal, Shohei
                           Ohtani, David Ortiz, Naomi Osaka, Nishad Singh, Sam Trabucco, Gary Wang, filed by
                           Skyler Lindeen, Edwin Garrison, Alexander Chernyavsky, David Nicol, Sunil Kavuri,
                           Gregg Podalsky, Gary Gallant. (Attachments: # 1 Exhibit A)(Moskowitz, Adam) (Entered:
                           12/16/2022)
  01/06/2023            17 WAIVER OF SERVICE Returned Executed by Skyler Lindeen, Edwin Garrison,
                           Alexander Chernyavsky, David Nicol, Sunil Kavuri, Gregg Podalsky, Gary Gallant.
                           Golden State Warriors LLC waiver sent on 1/4/2023, response/answer due 3/6/2023.
                           (Moskowitz, Adam) (Entered: 01/06/2023)
  01/17/2023            18 WAIVER OF SERVICE Returned Executed by Skyler Lindeen, Edwin Garrison,
                           Alexander Chernyavsky, David Nicol, Sunil Kavuri, Gregg Podalsky, Gary Gallant.
                           Lawrence Gene David waiver sent on 12/27/2022, response/answer due 2/27/2023.
                           (Moskowitz, Adam) (Entered: 01/17/2023)
  01/17/2023            19 WAIVER OF SERVICE Returned Executed by Skyler Lindeen, Edwin Garrison,
                           Alexander Chernyavsky, David Nicol, Sunil Kavuri, Gregg Podalsky, Gary Gallant.
                           Thomas Brady waiver sent on 12/27/2022, response/answer due 2/27/2023. (Moskowitz,
                           Adam) (Entered: 01/17/2023)

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  01/17/2023            20 WAIVER OF SERVICE Returned Executed by Skyler Lindeen, Edwin Garrison,
                           Alexander Chernyavsky, David Nicol, Sunil Kavuri, Gregg Podalsky, Gary Gallant. Gisele
                           Bundchen waiver sent on 12/27/2022, response/answer due 2/27/2023. (Moskowitz,
                           Adam) (Entered: 01/17/2023)
  01/24/2023            21 NOTICE of Attorney Appearance by Christopher Stephen Carver on behalf of David Ortiz.
                           Attorney Christopher Stephen Carver added to party David Ortiz(pty:dft). Associated
                           Cases: 1:22-cv-23753-KMM, 1:22-cv-23983-KMM (Carver, Christopher) (Entered:
                           01/24/2023)
  01/24/2023            22 NOTICE of Attorney Appearance by Jason Samuel Oletsky on behalf of David Ortiz.
                           Attorney Jason Samuel Oletsky added to party David Ortiz(pty:dft). (Oletsky, Jason)
                           (Entered: 01/24/2023)
  01/24/2023            23 NOTICE of Attorney Appearance by Katherine Ann Johnson on behalf of David Ortiz.
                           Attorney Katherine Ann Johnson added to party David Ortiz(pty:dft). Associated Cases:
                           1:22-cv-23753-KMM, 1:22-cv-23983-KMM (Johnson, Katherine) (Entered: 01/24/2023)
  01/25/2023            24 WAIVER OF SERVICE Returned Executed by Skyler Lindeen, Edwin Garrison,
                           Alexander Chernyavsky, David Nicol, Sunil Kavuri, Gregg Podalsky, Gary Gallant. David
                           Ortiz waiver sent on 1/11/2023, response/answer due 3/13/2023. (Moskowitz, Adam)
                           (Entered: 01/25/2023)
  01/25/2023            25 NOTICE of Attorney Appearance by Roberto Martinez on behalf of Tom Brady, Gisele
                           Bundchen. Attorney Roberto Martinez added to party Tom Brady(pty:dft), Attorney
                           Roberto Martinez added to party Gisele Bundchen(pty:dft). Associated Cases: 1:22-cv-
                           23753-KMM, 1:22-cv-23983-KMM (Martinez, Roberto) (Entered: 01/25/2023)
  01/25/2023            26 NOTICE of Attorney Appearance by Stephanie Anne Casey on behalf of Tom Brady,
                           Gisele Bundchen, Thomas Brady. Attorney Stephanie Anne Casey added to party Tom
                           Brady(pty:dft), Attorney Stephanie Anne Casey added to party Gisele Bundchen(pty:dft),
                           Attorney Stephanie Anne Casey added to party Thomas Brady(pty:dft), Attorney Stephanie
                           Anne Casey added to party Gisele Bundchen(pty:dft). Associated Cases: 1:22-cv-23753-
                           KMM, 1:22-cv-23983-KMM (Casey, Stephanie) (Entered: 01/25/2023)
  01/25/2023            27 NOTICE of Attorney Appearance by Zachary Andrew Lipshultz on behalf of Tom Brady,
                           Gisele Bundchen, Thomas Brady. Attorney Zachary Andrew Lipshultz added to party Tom
                           Brady(pty:dft), Attorney Zachary Andrew Lipshultz added to party Gisele
                           Bundchen(pty:dft), Attorney Zachary Andrew Lipshultz added to party Thomas
                           Brady(pty:dft), Attorney Zachary Andrew Lipshultz added to party Gisele
                           Bundchen(pty:dft). Associated Cases: 1:22-cv-23753-KMM, 1:22-cv-23983-KMM
                           (Lipshultz, Zachary) (Entered: 01/25/2023)
  01/26/2023            28 Clerk's Notice to Filer re 25 Notice of Attorney Appearance,. Attorney Did Not Associate
                           Themselves; ERROR - Filing attorney neglected to associate themselves to the case. The
                           Clerk has added the attorney to the case. It is not necessary to refile this document future
                           filings must comply with the CM/ECF Administrative Procedures and Local Rules by
                           filing a Notice of Attorney Appearance and linking themselves to the case. (ls) (Entered:
                           01/26/2023)
  01/30/2023            29 "STRICKEN" NOTICE by Alexander Chernyavsky, Gary Gallant, Edwin Garrison, Sunil
                           Kavuri, Skyler Lindeen, David Nicol, Gregg Podalsky Letter from David Boies to Judge K.
                           Michael Moore. Attorney Stephen N. Zack added to party Sunil Kavuri(pty:conpla).
                           (Attachments: # 1 Letter from David Boies to Judge K. Michael Moore) (Zack, Stephen)
                           Modified on 2/9/2023 (ls). (per DE #47) (Entered: 01/30/2023)
  01/30/2023            30 NOTICE of Change of Address, Email or Law Firm Name by Katherine Ann Johnson

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                           (Johnson, Katherine) (Entered: 01/30/2023)
  01/31/2023            31 NOTICE of Attorney Appearance by Michael Anthony Pineiro on behalf of Kevin O'Leary.
                           Attorney Michael Anthony Pineiro added to party Kevin O'Leary(pty:dft). (Pineiro,
                           Michael) (Entered: 01/31/2023)
  01/31/2023            32 NOTICE of Attorney Appearance by Jeffrey Adam Neiman on behalf of Kevin O'Leary.
                           Attorney Jeffrey Adam Neiman added to party Kevin O'Leary(pty:dft). (Neiman, Jeffrey)
                           (Entered: 01/31/2023)
  01/31/2023            33 NOTICE of Attorney Appearance by Jeffrey Eldridge Marcus on behalf of Kevin O'Leary.
                           Attorney Jeffrey Eldridge Marcus added to party Kevin O'Leary(pty:dft). (Marcus, Jeffrey)
                           (Entered: 01/31/2023)
  01/31/2023            34 NOTICE of Attorney Appearance by Brandon Scott Floch on behalf of Kevin O'Leary.
                           Attorney Brandon Scott Floch added to party Kevin O'Leary(pty:dft). (Floch, Brandon)
                           (Entered: 01/31/2023)
  01/31/2023            35 MOTION to Appear Pro Hac Vice, Consent to Designation, and Request to Electronically
                           Receive Notices of Electronic Filing for Andrew B. Brettler. Filing Fee $ 200.00 Receipt #
                           AFLSDC-16281490 by Kevin O'Leary. Responses due by 2/14/2023 (Attachments: # 1
                           Certification of Andrew B. Brettler, # 2 Text of Proposed Order)(Neiman, Jeffrey)
                           (Entered: 01/31/2023)
  01/31/2023            36 MOTION to Appear Pro Hac Vice, Consent to Designation, and Request to Electronically
                           Receive Notices of Electronic Filing for Elizabeth A. Greenman. Filing Fee $ 200.00
                           Receipt # FLSDC-16282114 by Tom Brady, Gisele Bundchen, Thomas Brady. Responses
                           due by 2/14/2023 Associated Cases: 1:22-cv-23753-KMM, 1:22-cv-23983-
                           KMM(Martinez, Roberto) (Entered: 01/31/2023)
  01/31/2023            37 MOTION to Appear Pro Hac Vice, Consent to Designation, and Request to Electronically
                           Receive Notices of Electronic Filing for Marvin Putnam. Filing Fee $ 200.00 Receipt #
                           FLSDC-16282263 by Tom Brady, Gisele Bundchen, Thomas Brady. Responses due by
                           2/14/2023 (Attachments: # 1 Exhibit Certification, # 2 Text of Proposed Order Proposed
                           Order)Associated Cases: 1:22-cv-23753-KMM, 1:22-cv-23983-KMM(Martinez, Roberto)
                           (Entered: 01/31/2023)
  01/31/2023            38 MOTION to Appear Pro Hac Vice, Consent to Designation, and Request to Electronically
                           Receive Notices of Electronic Filing for Susan E. Engel. Filing Fee $ 200.00 Receipt #
                           FLSDC-16282395 by Tom Brady, Gisele Bundchen, Thomas Brady. Responses due by
                           2/14/2023 (Attachments: # 1 Exhibit Certification, # 2 Text of Proposed Order Proposed
                           Order)Associated Cases: 1:22-cv-23753-KMM, 1:22-cv-23983-KMM(Martinez, Roberto)
                           (Entered: 01/31/2023)
  01/31/2023            39 MOTION to Appear Pro Hac Vice, Consent to Designation, and Request to Electronically
                           Receive Notices of Electronic Filing for Brittany M.J. Record. Filing Fee $ 200.00 Receipt
                           # AFLSDC-16282613 by Thomas Brady, Gisele Bundchen. Responses due by 2/14/2023
                           (Attachments: # 1 Exhibit Certification, # 2 Text of Proposed Order Proposed Order)
                           (Martinez, Roberto) (Entered: 01/31/2023)
  01/31/2023            40 MOTION to Appear Pro Hac Vice, Consent to Designation, and Request to Electronically
                           Receive Notices of Electronic Filing for Michele D. Johnson. Filing Fee $ 200.00 Receipt
                           # AFLSDC-16282651 by Thomas Brady, Gisele Bundchen. Responses due by 2/14/2023
                           (Attachments: # 1 Exhibit Certification, # 2 Text of Proposed Order Proposed Order)
                           (Martinez, Roberto) (Entered: 01/31/2023)
  01/31/2023            41 MOTION to Appear Pro Hac Vice, Consent to Designation, and Request to Electronically
                           Receive Notices of Electronic Filing for Jessica Stebbins Bina. Filing Fee $ 200.00 Receipt
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                           # AFLSDC-16283224 by Thomas Brady, Gisele Bundchen. Responses due by 2/14/2023
                           (Attachments: # 1 Exhibit Certification, # 2 Text of Proposed Order Proposed Order)
                           (Martinez, Roberto) (Entered: 01/31/2023)
  01/31/2023            42 MOTION to Appear Pro Hac Vice, Consent to Designation, and Request to Electronically
                           Receive Notices of Electronic Filing for Andrew B. Clubok. Filing Fee $ 200.00 Receipt #
                           AFLSDC-16283248 by Thomas Brady, Gisele Bundchen. Responses due by 2/14/2023
                           (Attachments: # 1 Exhibit Certification, # 2 Text of Proposed Order Proposed Order)
                           (Martinez, Roberto) (Entered: 01/31/2023)
  01/31/2023            43 WAIVER OF SERVICE Returned Executed by Skyler Lindeen, Edwin Garrison,
                           Alexander Chernyavsky, David Nicol, Sunil Kavuri, Gregg Podalsky, Gary Gallant. Kevin
                           O'Leary waiver sent on 1/4/2023, response/answer due 3/6/2023. (Moskowitz, Adam)
                           (Entered: 01/31/2023)
  02/02/2023            44 NOTICE of Attorney Appearance by Tyler Evan Ulrich on behalf of Alexander
                           Chernyavsky, Gary Gallant, Edwin Garrison, Sunil Kavuri, Skyler Lindeen, David Nicol,
                           Gregg Podalsky. Attorney Tyler Evan Ulrich added to party Alexander Chernyavsky
                           (pty:conpla), Attorney Tyler Evan Ulrich added to party Gary Gallant (pty:conpla),
                           Attorney Tyler Evan Ulrich added to party Edwin Garrison(pty:pla), Attorney Tyler Evan
                           Ulrich added to party Sunil Kavuri(pty:conpla), Attorney Tyler Evan Ulrich added to party
                           Skyler Lindeen (pty:conpla), Attorney Tyler Evan Ulrich added to party David Nicol
                           (pty:conpla), Attorney Tyler Evan Ulrich added to party Gregg Podalsky (pty:conpla).
                           (Ulrich, Tyler) (Entered: 02/02/2023)
  02/03/2023            45 Notice of Pending, Refiled, Related or Similar Actions by Thomas Brady, Kevin O'Leary,
                           David Ortiz (Carver, Christopher) (Entered: 02/03/2023)
  02/08/2023            46 WAIVER OF SERVICE Returned Executed by Skyler Lindeen, Edwin Garrison,
                           Alexander Chernyavsky, David Nicol, Sunil Kavuri, Gregg Podalsky, Gary Gallant. Sam
                           Bankman-Fried waiver sent on 2/2/2023, response/answer due 4/3/2023. (Moskowitz,
                           Adam) (Entered: 02/08/2023)
  02/08/2023            47 PAPERLESS ORDER. THIS CAUSE came before the Court upon the Notice of Filing
                           Letter (Notice) 29 . Therein, Plaintiffs include a letter from David Boies to the Court. Id.
                           The Local Rules of the Southern District of Florida provides that, Unless invited or
                           directed by the presiding Judge, attorneys and any party represented by an attorney shall
                           not: (a) address or present to the Court in the form of a letter or the like any application
                           requesting relief in any form, citing authorities, or presenting arguments; or (b) furnish the
                           Court with copies of correspondence between or among counsel, or any party represented
                           by an attorney, except when necessary as an exhibit when seeking relief from the Court.
                           Local Rule 5.1(c) above governs the provision of courtesy copies to a Judge. S.D. Fla. L.R.
                           7.7.Accordingly, UPON CONSIDERATION of the Notice, the pertinent portions of the
                           record, and being otherwise fully advised in the premises, it is hereby ORDERED AND
                           ADJUDGED that the Notice 22 is STRICKEN. Signed by Judge K. Michael Moore on
                           2/8/2023. (rfr) (Entered: 02/08/2023)
  02/10/2023            48 MOTION for Extension of Time --Defendants' Motion for Coordinated Briefing Schedule
                           for Responses to the Amended Complaint re 16 Amended Complaint/Amended Notice of
                           Removal,, by Thomas Brady, Kevin O'Leary, David Ortiz. Responses due by 2/24/2023
                           (Carver, Christopher) (Entered: 02/10/2023)
  02/10/2023            49 PAPERLESS ORDER. THIS CAUSE came before the Court upon the Motion for
                           Coordinated Briefing Schedule for Responses to the Amended Complaint. 48 . UPON
                           CONSIDERATION of the Motion, the pertinent portions of the record, and being
                           otherwise fully advised in the premises, it is hereby ORDERED AND ADJUDGED that
                           the Motion 48 is GRANTED. Any served Defendant shall respond to the Amended
https://ecf.flsd.uscourts.gov/cgi-bin/DktRpt.pl?1000521040868-L_1_0-1                                                 16/17
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                           Complaint on or before April 14, 2023. Signed by Judge K. Michael Moore on 2/10/2023.
                           (rfr) (Entered: 02/10/2023)
  02/10/2023            50 PAPERLESS ORDER. THIS CAUSE came before the Court upon Motion for Andrew B.
                           Brettler to Appear Pro Hac Vice, Consent to Designation, and Request to Electronically
                           Receive Notices of Electronic Filing. 35 . UPON CONSIDERATION of the Motion, the
                           pertinent portions of the record, and being otherwise fully advised in the premises, it is
                           hereby ORDERED AND ADJUDGED that the Motion 35 is GRANTED. Andrew B.
                           Brettler may appear pro hac vice in this matter on behalf of Defendant Kevin OLeary. The
                           Clerk of Court shall provide electronic notification of all electronic filings to
                           abrettler@berkbrettler.com. Signed by Judge K. Michael Moore on 2/10/2023. (rfr)
                           (Entered: 02/10/2023)
  02/10/2023            51 PAPERLESS ORDER. THIS CAUSE came before the Court upon Motion for Elizabeth A.
                           Greenman to Appear Pro Hac Vice, Consent to Designation, and Request to Electronically
                           Receive Notices of Electronic Filing. 36 . UPON CONSIDERATION of the Motion, the
                           pertinent portions of the record, and being otherwise fully advised in the premises, it is
                           hereby ORDERED AND ADJUDGED that the Motion 36 is GRANTED. Elizabeth A.
                           Greenman may appear pro hac vice in this matter on behalf of Defendants Thomas Brady
                           and Gisele Bündchen. The Clerk of Court shall provide electronic notification of all
                           electronic filings to elizabeth.greenman@lw.com. Signed by Judge K. Michael Moore on
                           2/10/2023. (rfr) (Entered: 02/10/2023)



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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                      CASE NO. 1:22-cv-23753-KMM

      EDWIN GARRISON, et al., on behalf of
      themselves and all others similarly situated,

                        Plaintiffs,                             AMENDED CLASS ACTION
                                                                COMPLAINT
      v.
                                                                JURY DEMAND
      SAM BANKMAN-FRIED, et al.,

                        Defendants.
                                                       /

           AMENDED CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

           Plaintiffs file this Consolidated Complaint (the only Class Action in the Country), on behalf

   of themselves, and all other similarly situated US and non-US FTX consumers, against

   Defendants, who all promoted, assisted in, and/or actively participated in FTX Trading LTD d/b/a

   FTX’s (“FTX Trading”) and West Realm Shires Services Inc. d/b/a FTX US’s (“FTX US”)

   (collectively, the “FTX Entities”), offer and sale of unregistered securities, identical FTX yield-

   bearing accounts (“YBAs”).

                                         INTRODUCTION

           1.     Everyone now agrees the FTX Disaster is the largest financial fraud in US history.

   The former FTX CEO is in jail and the new CEO—who helped wind down Enron—concluded the

   fraud here was worse than Enron. Billions of dollars have been stolen from investors across the

   globe. FTX will be involved in federal bankruptcy proceedings for many years and there is no

   guarantee that any of the victims will be able to see any recovery from those proceedings. This

   Federal Consolidated Action may be the only avenue for any of the victims to recover any of their

   damages. This action is specifically brought against persons and celebrities who were specifically
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                                                 Edwin Garrison, et al. v. Samuel Bankman-Fried, et al.
                                             Amended Class Action Complaint and Demand for Jury Trial

   warned by the SEC back in 2017 (and in many FTC Guidelines), that if these FTX YBA’s are

   found to be “securities,” those persons may be liable under state and federal regulations for: (1)

   promoting an unregistered security, or (2) failing to properly disclose their payments and

   compensation. Those specific claims have a strict liability standard with no caveat emptor defense.

          2.      The question of whether the sale of every YBA is (or is not) the sale of

   “unregistered securities” has practically been answered in the affirmative through various

   regulatory statements, guidance, and actions issued by the Securities and Exchange Commission

   and other regulatory entities. For example, on November 1, 2017, in the “SEC Statement Urging

   Caution Around Celebrity Backed ICOs,” 1

          In the SEC’s Report of Investigation concerning The DAO, 2 the Commission
          warned that virtual tokens or coins sold in ICOs may be securities, and those who
          offer and sell securities in the United States must comply with the federal securities
          laws. Any celebrity or other individual who promotes a virtual token or coin that is
          a security must disclose the nature, scope, and amount of compensation received in
          exchange for the promotion. A failure to disclose this information is a violation of
          the anti-touting provisions of the federal securities laws. Persons making these
          endorsements may also be liable for potential violations of the anti-fraud
          provisions of the federal securities laws, for participating in an unregistered
          offer and sale of securities, and for acting as unregistered brokers. The SEC will
          continue to focus on these types of promotions to protect investors and to ensure
          compliance with the securities laws.
          3.      The SEC and state securities regulators over the past 5 years, have already found

   liable numerous celebrities, cryptocurrency brokers and exchanges just like FTX for offering this




   1
          https://www.sec.gov/news/public-statement/statement-potentially-unlawful-promotion-icos
   (accessed December 16, 2022).
   2
     https://www.sec.gov/litigation/investreport/34-81207.pdf (accessed December 16, 2022)


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   exact same type of interest-bearing account, finding that exchanges such as BlockFi, 3 Voyager, 4

   and Celsius 5 all offered these same accounts as unregistered securities.

           4.     A second narrow issue that is common to the entire Proposed Class, whose focus is

   solely objective, is whether these Defendants violated state consumer laws by failing to abide by

   any of the FTC’s long established rules and regulations, specifically on what is required for a

   celebrity endorsement of cryptocurrency.

           5.     We all need to be clear. This is not a case where Plaintiffs made a “risky”

   investment in stock or cryptocurrency, or that they lost money speculating on various

   cryptocurrency projects. Plaintiffs’ claims arise simply from the purchase of and investment in a

   YBA, a savings type of account with FTX that every customer who signed up for the FTX app

   received by default, and which, as explained below, was guaranteed to generate returns on their

   significant holdings in the accounts, regardless of whether those assets were held as USD, legal

   tender or cryptocurrency, and regardless of whether any trades were made with the assets held in

   the YBA. In other words, the YBA was portrayed to be like a bank account, something that was

   “very safe” and “protected.” That is the narrative that Defendants pushed in promoting the offer

   and sale of the YBAs, which are unregistered securities. For that, Defendants are liable for

   Plaintiffs’ losses, jointly and severally and to the same extent as if they were themselves the FTX

   Entities.



   3
     https://www.sec.gov/news/press-release/2022-26 (accessed December 16, 2022).
   4
           https://coingeek.com/6-us-regulators-crackdown-on-voyager-digital-over-interest-bearing-
   accounts/ (accessed December 16, 2022).
   5

   https://www.google.com/url?sa=t&rct=j&q=&esrc=s&source=web&cd=&cad=rja&uact=8&ved
   =2ahUKEwjvjNvg27j7AhWfRTABHfwzDe4QFnoECAsQAQ&url=https%3A%2F%2Fwww.nj.
   gov%2Foag%2Fnewsreleases21%2FCelsius-Order-
   9.17.21.pdf&usg=AOvVaw0Zd94fuhFSsOoGKM-vQ3YI (accessed December 16, 2022).


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          6.      Literally overnight, Plaintiffs’ assets held in their YBAs on the Deceptive FTX

   Platform were robbed from them as FTX imploded and former-CEO, Sam Bankman-Fried, filed a

   Chapter 11 bankruptcy petition in Delaware on an emergency basis. This happened because, as

   explained by the new CEO of the failed FTX Entities:

                  I have over 40 years of legal and restructuring experience. I have been the
          Chief Restructuring Officer or Chief Executive Officer in several of the largest
          corporate failures in history. I have supervised situations involving allegations of
          criminal activity and malfeasance (Enron). I have supervised situations involving
          novel financial structures (Enron and Residential Capital) and cross-border asset
          recovery and maximization (Nortel and Overseas Shipholding). Nearly every
          situation in which I have been involved has been characterized by defects of some
          sort in internal controls, regulatory compliance, human resources and systems
          integrity.
                  Never in my career have I seen such a complete failure of corporate controls
          and such a complete absence of trustworthy financial information as occurred
          here. From compromised systems integrity and faulty regulatory oversight abroad,
          to the concentration of control in the hands of a very small group of inexperienced,
          unsophisticated and potentially compromised individuals, this situation is
          unprecedented.
   See In re: FTX Trading Ltd, et al., No. 22-11068 (JTD), ECF No. 24, ¶¶ 4–5 (D. Del. Nov. 17,

   2022) (emphasis added).

          7.      The Cryptocurrency National Disaster is growing by the billions almost every day.

   More crypto companies are filing new federal bankruptcy petitions each day, all running for

   protection from the billions of dollars of losses they directly caused to thousands of investors here

   in Florida and across the globe. This is by far the largest securities national disaster, greatly

   surpassing the Madoff Ponzi Scheme, and could very likely become a complex international

   litigation disaster, similar to how the hundreds of thousands of asbestos cases swamped all courts

   across the globe. Unless a workable, coordinated, and organized structure is established now, at

   the very onset of these proceedings, here in Miami, which served as the epicenter for the crypto




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   fraud, the FTX victims will continue to suffer and the only people to benefit will be the

   professionals in the bankruptcy and civil courts.

          8.      The Deceptive and failed FTX Platform all emanated from here in Miami, Florida,

   FTX’s domestic headquarters and the host of the largest and most famous International World

   Cryptocurrency Conventions. FTX’s fraudulent scheme was designed to take advantage of

   unsophisticated investors from across the globe, who utilize mobile apps to make their

   investments. As a result, consumers around the globe collectively sustained billions of dollars in

   damages. FTX organized and emanated its fraudulent plan from its worldwide headquarters

   located here in Miami, Florida. Miami became the “hot spot” for crypto companies, hosting the

   most investments in crypto startups as well as the annual Bitcoin Miami 2022 Global Forum.

   Several crypto companies, including crypto exchange Blockchain.com, Ripple and FTX.US,

   moved their headquarters to Miami. Others, including fellow exchange eToro, expanded their U.S.

   presence with offices in Miami. FTX was already very familiar with Miami, signing a deal worth

   more than $135 million dollars for the naming rights of the waterfront arena, where 3-time NBA

   Champions the Miami Heat play.

                                    FACTUAL BACKGROUND

          9.      Undersigned Counsel have been investigated and litigating these specific issues for

   over a year before this Court. On December 24, 2021, counsel for Plaintiffs and the proposed class

   members brought the first (and only) putative nationwide class action complaint against the now-

   defunct cryptocurrency trading app, Voyager, styled Mark Cassidy v. Voyager Digital Ltd., et al.,

   Case No. 21-24441-CIV-ALTONAGA/Torres (the “Cassidy Action”), alleging that the platform

   owned and operated by Voyager Digital Ltd. (“Voyager”) and Voyager Digital LLC (“VDL”) was

   an unregulated and unsustainable fraud. In the Cassidy Action, plaintiffs also alleged that


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   Defendant Ehrlich, Voyager’s CEO, teamed up with Defendants Cuban and the Dallas Mavericks

   to promote Voyager, by making false representations and employing other means of deception. As

   a result, the Voyager plaintiffs and Voyager class members, all sustained losses in excess of $5

   billion.

              10.   The allegations in the Cassidy complaint—and specifically Mark Cuban’s role in

   promoting Voyager—received national attention. See https://www.jdsupra.com/legalnews/new-

   lawsuits-target-cryptocurrency-9604406/ (summarizing the allegations and explaining that “Mark

   Cuban, owner of the NBA’s Dallas Mavericks, is a major stakeholder in Voyager. The complaint

   alleges that he made comments at a press conference in which he specifically targeted

   unsophisticated investors ‘with false and misleading promises of reaping large profits in the

   cryptocurrency market.’”); https://www.law.com/dailybusinessreview/2021/12/29/mark-cuban-

   linked-crypto-platform-hit-with-florida-nationwide-class-action-lawsuit-in-miami-federal-

   court/?slreturn=20220701214901 (same, in the Daily Business Review).

              11.   After the Cassidy Complaint was filed, the following important actions took place:

                    (a)    the United States Securities and Exchange Commission (SEC)
                           began an enforcement review focused on whether Voyager’s Earn
                           Program Accounts (“EPAs”) constitute unregistered securities;
                    (b)    seven state Attorneys General (New Jersey, Alabama, Kentucky,
                           Oklahoma, Texas, Vermont and Washington) took specific action
                           finding that Voyager was violating their state laws, including issuing
                           “cease and desist” letters to Voyager, finding that the EPA was an
                           unregistered security, prohibiting the crypto-asset broker-dealer
                           from selling any more unregistered securities (finding that Voyager
                           used these EPAs to raise millions of dollars in revenue worldwide
                           as of March 1, 2022; and
                    (c)    on March 29, 2002, the State of New Jersey Bureau of Securities
                           entered a Cease and Desist Order against Voyager, finding that the
                           EPA was not exempt from registration under the law, and instead



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                          that it must be registered—and as a result, Voyager’s stock price
                          tanked by 25% in a day and is down over 80% for the year. 6
          12.      On July 5, 2022, Voyager Digital Holdings, Inc. and two affiliated debtors

   (collectively, the “Debtors”) filed voluntary petitions for relief under chapter 11 of Title 11 of the

   United States Code. Voyager’s bankruptcy cases (the “Voyager Bankruptcy Cases”) are jointly

   administered under Case No. 22-10943 before the Honorable Michael E. Wiles in the United States

   Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”).

          13.     On September 28, 2022, Voyager filed a motion in the Voyager Bankruptcy Cases

   seeking authority to enter into an asset purchase agreement with West Realm Shires Inc., d/b/a

   FTX US whereby Voyager will sell substantially all of its assets for a purchase price of

   approximately $1.422 billion, which includes (i) the value of cryptocurrency on the Voyager

   platform as of a date to be determined, which, as of September 26, 2022, is estimated to be $1.311

   billion, plus (ii) additional consideration which is estimated to provide at least approximately $111

   million of incremental value to the Debtors’ estates.

          14.     Everyone involved in the Voyager Bankruptcy Cases thought that the FTX Entities

   were the deus ex machina come to save the day by bailing out Voyager and paying back at least

   some of the losses the Voyager customers sustained.

          15.     Instead, as explained below, the FTX Entities imploded, their over $30 billion in

   value evaporated almost overnight, and the FTX Entities found themselves filing their own

   emergency Chapter 11 bankruptcy petition in Delaware. The Deceptive FTX Platform maintained

   by the FTX Entities was truly a house of cards, a Ponzi scheme where the FTX Entities shuffled




   6
           https://seekingalpha.com/article/4498956-voyager-digital-plunged-25-percent-heres-why
   (accessed October 28, 2022); https://seekingalpha.com/article/4503716-voyager-digital-buy-dip-
   during-crypto-crash (accessed December 16, 2022).


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   customer funds between their opaque affiliated entities, using new investor funds obtained through

   investments in the YBAs and loans to pay interest to the old ones and to attempt to maintain the

   appearance of liquidity.

          16.     Part of the scheme employed by the FTX Entities involved utilizing some of the

   biggest names in sports and entertainment to raise funds and drive global consumers to invest in

   the YBAs, which were offered and sold largely from the FTX Entities’ domestic base of operations

   here in Miami, Florida, pouring billions of dollars into the Deceptive FTX Platform to keep the

   whole scheme afloat.

          17.     Importantly, although Defendants disclosed their partnerships with the FTX

   Entities, they have never disclosed the nature, scope, and amount of compensation they personally

   received in exchange for the promotion of the Deceptive FTX Platform, which the SEC has

   explained that a failure to disclose this information would be a violation of the anti-touting

   provisions of the federal securities laws. 7 Moreover, none of these Defendants performed any due

   diligence prior to marketing these FTX products to the public.

          18.     The SEC took action against boxing champ Floyd Mayweather and music producer

   DJ Khaled after they were paid by cryptocurrency issuers to tweet promotional statements about

   investing in Initial Coin Offerings (ICOs), ordering them both to pay disgorgement, penalties and

   interest for promoting investments in ICOs, including one from cryptocurrency issuer Centra Tech,




   7
            https://www.ubergizmo.com/2017/11/sec-celebrities-disclose-payment-cryptocurrency-
   endorsements/#:~:text=It%20has%20issued%20a%20statement%20warning%20celebrities%20t
   hat,without%20disclosing%20that%20they%E2%80%99ve%20been%20paid%20for%20it
   (accessed December 16, 2022).


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   Inc., for a combined total of $767,500 because they failed to disclose that their promotional efforts

   on Twitter were paid endorsements. 8

           19.     Other celebrities similarly accused and prosecuted for failing to disclose their paid

   endorsements include Kim Kardashian and basketball player Paul Pierce. 9 According to the

   Federal Trade Commission, cryptocurrency scams have increased more than ten-fold year-over-

   year with consumers losing more than $80 million since October 2020, due in large part to the use

   of such celebrity endorsements. 10

           20.     As explained more fully in this Complaint, Defendants’ misrepresentations and

   omissions made and broadcast around the globe through the television and internet render them

   liable to Plaintiff and class members for soliciting their purchases of the unregistered YBAs.

   Wildes v. Bitconnect Int’l PLC, No. 20-11675 (11th Cir. Feb. 18, 2022) (holding that promoters of

   cryptocurrency through online videos could be liable for soliciting the purchase of unregistered

   securities through mass communication, and no “personal solicitation” was necessary for

   solicitation to be actionable).

           21.     This action seeks to hold Defendants responsible for the many billions of dollars in

   damages they caused Plaintiffs and the Class and to force Defendants to make them whole.

                                                PARTIES
           22.     Plaintiffs are all residents of US and/or a foreign government, and all purchased

   FTX YBAs.



   8
                    https://news.bloomberglaw.com/us-law-week/insights-celebrity-endorsements-and-
   cryptocurrency-a-cautionary-tale (accessed December 16, 2022).
   9
           https://blockbulletin.com/news/altcoins/kim-kardashian-among-other-celebrities-sued-for-
   promoting-cryptocurrencies/ (accessed December 16, 2022).
   10
      https://florida.foolproofme.org/articles/770-celebrity-cryptocurrency-scam (accessed December
   16, 2022).


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          23.     Plaintiff Edwin Garrison is a citizen and resident of the State of Oklahoma. He is

   a natural person over the age of 21 and is otherwise sui juris. Plaintiff Garrison purchased an

   unregistered security from FTX in the form of a YBA and funded the account with a sufficient

   amount of crypto assets to earn interest on his holdings. Plaintiff Garrison did so after being

   exposed to some or all of Defendants’ misrepresentations and omissions regarding the Deceptive

   FTX Platform as detailed in this complaint, and executed trades on the Deceptive FTX Platform

   in reliance on those misrepresentations and omissions. As a result, Plaintiff Garrison has sustained

   damages for which Defendants are liable.

          24.     Plaintiff Gregg Podalsky is a citizen and resident of Florida. He is a natural person

   over the age of 21 and is otherwise sui juris. Plaintiff Podalsky purchased an unregistered security

   from FTX in the form of a YBA and funded the account with a sufficient amount of crypto assets

   to earn interest on his holdings. Plaintiff Podalsky did so after being exposed to some or all of

   Defendants’ misrepresentations and omissions regarding the Deceptive FTX Platform as detailed

   in this complaint, and/or executed trades on the Deceptive FTX Platform in reliance on those

   misrepresentations and omissions. As a result, Plaintiff Podalsky has sustained damages for which

   Defendants are liable.

          25.     Plaintiff Skyler Lindeen is a citizen and resident of Florida. He is a natural person

   over the age of 21 and is otherwise sui juris. Plaintiff Lindeen purchased an unregistered security

   from FTX in the form of a YBA and funded the account with a sufficient amount of crypto assets

   to earn interest on his holdings. Plaintiff Lindeen did so after being exposed to some or all of

   Defendants’ misrepresentations and omissions regarding the Deceptive FTX Platform as detailed

   in this complaint, and/or executed trades on the Deceptive FTX Platform in reliance on those




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   misrepresentations and omissions. As a result, Plaintiff Lindeen has sustained damages for which

   Defendants are liable.

          26.     Plaintiff Alexander Chernyavsky is a citizen and resident of Florida. He is a

   natural person over the age of 21 and is otherwise sui juris. Plaintiff Chernyavsky purchased an

   unregistered security from FTX in the form of a YBA and funded the account with a sufficient

   amount of crypto assets to earn interest on his holdings. Plaintiff Chernyavsky did so after being

   exposed to some or all of Defendants’ misrepresentations and omissions regarding the Deceptive

   FTX Platform as detailed in this complaint, and/or executed trades on the Deceptive FTX Platform

   in reliance on those misrepresentations and omissions. As a result, Plaintiff Chernyavsky has

   sustained damages for which Defendants are liable.

          27.     Plaintiff Sunil Kavuri is a citizen and resident of the United Kingdom. He is a

   natural person over the age of 21 and is otherwise sui juris. Plaintiff Kavuri purchased an

   unregistered security from FTX in the form of a YBA and funded the account with a sufficient

   amount of crypto assets to earn interest on his holdings. Plaintiff Kavuri did so after being exposed

   to some or all of Defendants’ misrepresentations and omissions regarding the Deceptive FTX

   Platform as detailed in this complaint, and/or executed trades on the Deceptive FTX Platform in

   reliance on those misrepresentations and omissions. As a result, Plaintiff Kavuri has sustained

   damages for which Defendants are liable.

          28.     Plaintiff Gary Gallant is a citizen and resident of Canada. He is a natural person

   over the age of 21 and is otherwise sui juris. Plaintiff Gallant purchased an unregistered security

   from FTX in the form of a YBA and funded the account with a sufficient amount of crypto assets

   to earn interest on his holdings. Plaintiff Gallant did so after being exposed to some or all of

   Defendants’ misrepresentations and omissions regarding the Deceptive FTX Platform as detailed




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   in this complaint, and/or executed trades on the Deceptive FTX Platform in reliance on those

   misrepresentations and omissions. As a result, Plaintiff Gallant has sustained damages for which

   Defendants are liable.

          29.     Plaintiff David Nicol is a citizen and resident of Sydney, Australia. He is a natural

   person over the age of 21 and is otherwise sui juris. Plaintiff Nicol purchased an unregistered

   security from FTX in the form of a YBA and funded the account with a sufficient amount of crypto

   assets to earn interest on his holdings. Plaintiff Nicol did so after being exposed to some or all of

   Defendants’ misrepresentations and omissions regarding the Deceptive FTX Platform as detailed

   in this complaint, and/or executed trades on the Deceptive FTX Platform in reliance on those

   misrepresentations and omissions. As a result, Plaintiff Nicol has sustained damages for which

   Defendants are liable.

          30.     FTX Brand Ambassador Defendants are all persons and/or companies, that: (1)

   agreed to serve as “Brand Ambassadors” for FTX, (2) all admittedly advertised and promoted the

   sale of the FTX YBAs and (3) none of them disclosed, in any of their marketing campaigns and/or

   advertisements, that they were paid hundreds of millions of dollars by FTX and profited from the

   sale of FTX YBAs, in clear violation of SEC, FTC and various federal and state regulations.

          31.     Defendant Thomas Brady, NFL quarterback currently playing for the Tampa Bay

   Buccaneers, is a brand ambassador of FTX, and is a citizen and resident of Miami-Dade County,

   Florida.

          32.     Defendant Gisele Bundchen, one of the world’s highest-paid models and a brand

   ambassador for FTX, is a citizen and resident of Miami-Dade County, Florida.




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            33.   Defendant Kevin O’Leary, “Mr. Wonderful,” a businessman, television

   personality appearing regularly on Shark Tank, and brand ambassador for FTX, is a citizen and

   resident of Miami Beach, Florida.

            34.   Defendant Udonis Haslem, an American professional basketball player for the

   Miami Heat of the NBA and brand ambassador of FTX, is a citizen and resident of Miami-Dade

   County, Florida.

            35.   Defendant David Ortiz, former designated hitter and first baseman in the MLB

   and a brand ambassador for FTX, is a citizen and resident of the State of Florida.

            36.   Defendant Stephen Curry, professional basketball player for the Golden State

   Warriors of the NBA and brand ambassador for FTX, is a citizen and resident of the State of

   California.

            37.   Defendant Golden State Warriors LLC is a professional basketball team in the

   NBA that officially launched their partnership with FTX in 2022 with the unveiling of the FTX

   logo on the court at the Chase Center, and is a corporation operating and existing under the laws

   of the State of California.

            38.   Defendant Shaquille O’Neal, former professional NBA basketball star, sports

   analyst, entrepreneur, and FTX brand ambassador, is a citizen and resident of Collin County,

   Texas.

            39.   Defendant William Trevor Lawrence, the quarterback for the Jacksonville

   Jaguars of the NFL and a brand ambassador for FTX, is a citizen and resident of the state of

   Mississippi.




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          40.     Defendant Shohei Ohtani, a professional baseball pitcher, designated hitter and

   outfielder for the Los Angeles Angels of the MLB and a brand ambassador for FTX, is a citizen

   and resident of the State of California.

          41.     Defendant Naomi Osaka, a professional tennis player and brand ambassador for

   FTX, is a citizen and resident of Beverly Hills, California.

          42.     Defendant Lawrence Gene David, an American comedian, writer, actor,

   television producer, and FTX brand ambassador, is a citizen and resident of Los Angeles,

   California.

          43.     FTX Insider Defendants are all persons that controlled, assisted and worked at

   FTX that helped promote, and sell the FTX YBAs but are not personally involved in the FTX

   restructuring process.

          44.     Defendant Caroline Ellison is the former CEO of Alameda Research, LLC, a

   trading firm launched by Defendant Sam Bankman-Fried. She oversaw many of the risky bets

   Alameda took with regard to FTX customers’ crypto tokens. Defendant Ellison is a resident of

   Hong Kong.

          45.     Defendant Sam Trabucco, the former Co-CEO of Alameda Research, LLC, is a

   citizen and resident of the State of California.

          46.     Defendant Gary (Zixiao) Wang, co-founder of Alameda Research and FTX, upon

   information and belief is currently residing in the Bahamas.

          47.     Defendant Nishad Singh, the former Director of Engineering of FTX, upon

   information and belief is currently residing in the Bahamas.

          48.     Defendant Dan Friedberg, the former Chief Compliance Officer of FTX, is a

   citizen and resident of Seattle, Washington.




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                                    JURISDICTION AND VENUE

          49.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

   1332(d)(2)(A) because this is a class action for a sum exceeding $1,000,000,000.00 (one billion

   dollars), exclusive of interest and costs, and in which at least one class member is a citizen of a

   state different than the Defendants.

          50.     This Court has personal jurisdiction against Defendants because they conduct

   substantial and not isolated business in Florida, and/or have otherwise intentionally availed

   themselves of the Florida consumer market through the promotion, marketing, and sale of FTX’s

   YBAs in Florida, which constitutes committing a tortious act within the state of Florida.

   Defendants have also marketed and participated and/or assisted in the sale of FTX’s unregistered

   securities to consumers in Florida. Further, Defendants have engaged in a conspiracy in which

   some of the co-conspirators—including some who are Defendants in this action—committed overt

   acts in furtherance of the conspiracy in the State of Florida. This purposeful availment renders the

   exercise of jurisdiction by this Court over Defendants permissible under traditional notions of fair

   play and substantial justice.

          51.     Venue is proper in this District under 28 U.S.C. § 1391 because thousands of Class

   Members either reside in this District; Defendants engaged in business in this District; a substantial

   part of the events or omissions giving rise to the claims at issue occurred in this District; and

   because Defendants entered into transactions and/or received substantial profits from Class

   Members who reside in this District.

          52.     All conditions precedent to the institution and maintenance of this action have been

   performed, excused, waived, or have otherwise occurred.




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                                      FACTUAL ALLEGATIONS

   A.     Background on FTX and its Key Players.

          53.      Until seeking the protection of the Bankruptcy Court, the FTX Entities operated a

   multi-billion-dollar mobile application cryptocurrency investment service (the “Deceptive FTX

   Platform”) that placed cryptocurrency trade orders on behalf of users like Plaintiff and Class

   Members and offered interest bearing cryptocurrency accounts.

          54.      Attached as Exhibit A is the Expert Report of Paul Sibenik, Lead Case Manager at

   CipherBlade Blockchain Investigation Agency, which is incorporated into this complaint in its

   entirety by reference, and additionally as cited.

          55.      As Sibenik explains, in many ways, centralized cryptocurrency exchanges,

   including FTX, are analogous to banks albeit for the cryptocurrency industry. Ex. A ¶ 10.

          56.      More specifically, cryptocurrency exchanges accept deposits of cryptocurrency,

   and often fiat currency on behalf of their customers. Ex. A ¶ 11. Once that cryptocurrency is

   received by the exchange then it has dominion and control over those assets. Id.

          57.      The exchange then credits the applicable customer account with the appropriate

   amount of cryptocurrency or fiat assets the exchange received. Ex. A ¶ 12. This credit can be

   regarded as a liability of the exchange to its customer. Id.

          58.      If, for example, cryptocurrency was deposited to the customer’s exchange account,

   the customer could then take that credit received from the exchange, and:

                a) Trade it for another cryptocurrency

                b) Trade it for fiat currency

                c) Leave it as a balance on the exchange account (leaving an open liability of the

                   exchange to the customer)




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                d) Withdraw it (withdrawal could be done prior to or after a trade or conversion)

   These things could be done in whole or in part. Ledger entries would (and should) be made

   internally by the exchange to account for changes in positions and applicable balances. Ex. A ¶

   13.

          59.      The exchange accounts should very much be regarded as being custodial in nature.

   Ex. A ¶ 14. This means that the customer does not control access to the assets ‘in’ their account.

   Id. The customer needs to make a request to the exchange to be able to access and send those

   balances. Id. The exchange then debits the user account and sends the assets. Id. Whether or not

   such requests are processed are dependent on the willingness, ability, and approval of the

   exchange. Id.

          60.      One major factor the affects the exchange’s ability to process such requests is

   whether or not they have the assets and/or capital necessary to do so. Ex. A ¶ 15.

          61.      For any non-yield-bearing account, this shouldn’t be a problem, since exchanges

   should have enough assets in custody for the benefit of their customers to cover their liabilities to

   their customers, and on a 1:1 basis. Ex. A ¶ 16. FTX’s terms of service seems to guarantee this,

   although FTX clearly violated their own terms of service:

                   “Title to your Digital Assets shall at all times remain with you and shall not
                   transfer to FTX Trading. As the owner of Digital Assets in your Account,
                   you shall bear all risk of loss of such Digital Assets. FTX Trading shall have
                   no liability for fluctuations in the fiat currency value of Digital Assets held
                   in your Account.”

                   “None of the Digital Assets in your Account are the property of, or shall or
                   may be loaned to, FTX Trading; FTX Trading does not represent or treat
                   Digital Assets in User’s Accounts as belonging to FTX Trading.”

                   “You control the Digital Assets held in your Account. At any time, subject
                   to outages, downtime, and other applicable policies (including the Terms),



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                   you may withdraw your Digital Assets by sending them to a different
                   blockchain address controlled by you or a third party.” 11
   Id.

           62.     While FTX violated their own terms of service, it would also have been true that

   some of these claims would have been demonstrably false to begin even if there was hypothetically

   no wrongdoing on the part of FTX. Ex A ¶ 17. This is because FTX exchange accounts (or any

   exchange account with any centralized custodial exchange, including Coinbase for example) are

   custodial in nature. Id. This means that the customer does not control access to the assets ‘in’ their

   account. The customer needs to make a request to the exchange to be able to access and send those

   balances. It is very much the exchange that controls the assets, not their customer. Id. However, it

   should also be noted that the digital assets aren’t technically ‘in’ the account at all. Id. At a

   technical level, an exchange account cannot hold or store cryptocurrency. Id. The account stores a

   record of a liability or an IOU to the exchange’s customer. Id. When a user purchases

   cryptocurrency on an exchange, they aren’t technically purchasing that cryptocurrency; they are

   purchasing an IOU for that cryptocurrency. Id. Because this concept of buying and storage can be

   difficult to understand, it’s somewhat common for newcomers to associate such IOUs as being the

   same as storing cryptocurrency assets ‘on’ their account, even though it’s not technically true. Id.

           63.     With any yield-bearing account, it could generally be expected for an exchange to

   take those customers and leverage, loan or invest them in some way, and hopefully receive enough

   assets back to be able to pay out their customers back their principal, in addition to yield or interest

   earned, when applicable customers attempt to redeem or withdraw those funds. Ex. A ¶ 18.




   11
           https://help.ftx.com/hc/article_attachments/9719619779348/FTX_Terms_of_Service.pdf
   (accessed December 16, 2022).


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          64.     While the existence of such loans associated with assets deposited to yield-bearing

   accounts was known, the substantial risks associated with such loans, and by extension the yield-

   bearing accounts in general was not adequately represented, for reasons I will demonstrate later in

   this report. Ex. A ¶ 19.

          65.     The main functional differences between banks and cryptocurrency exchanges is

   such that exchanges are largely unregulated, and that exchanges (and by extension exchange

   accounts and the users who use them) are subject to a lot of additional risks compared to that of a

   bank account. Ex. A ¶ 20.

          66.     Banks are, of course, subject to a variety of capital control requirements to ensure

   protection of consumer assets. Banks are regulated with regards to the type of assets that they can

   investment customer assets in. Ex. A ¶ 21. Banks are subject to regular financial audits. Banks

   have regulatory oversight to ensure the protection of consumer assets. And of course, bank

   accounts have FDIC insurance so that bank account holders have coverage in case a bank, despite

   such measures, becomes insolvent. Id.

          67.     Exchanges on the other hand, are not subject to capital control requirements. Ex. A

   ¶ 22. While almost all exchanges will indicate that they ‘securely’ store all customer assets 1:1 in

   ‘cold storage,’ there is no regulatory requirement in most jurisdictions (including the US) for

   exchanges to do so, nor is there any requirement for exchanges to offer any transparency regarding

   their solvency or use of customer assets to regulators or to the general public. Id.

          68.     Other than by an exchange’s own terms of service (which wasn’t adhered to in this

   case), exchanges are not prevented from whether they invest customer assets elsewhere, and if so,

   what types of investments they enter into, or loans they provide, regardless of the inherent level of

   risk. Ex. A ¶ 23. And exchanges have no requirement to have any type of insurance equivalent to




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   FDIC insurance. Id. While some exchanges will sometimes claim they have ‘insurance,’ the terms

   and conditions associated with that insurance are typically completely unknown to investors, and

   often this insurance will bear little to no resemblance to FDIC insurance; in essence the term

   ‘insurance’ is used as a marketing ploy to help instill customer confidence in the exchange, even

   when such confidence may not be warranted. Id.

            69.      Due to the aforementioned reasons and risks surrounding the lack of regulation, as

   well various types of cybersecurity-related risks that aren’t applicable to banks but are critically

   important for exchanges, cryptocurrency exchanges are generally not and should not be considered

   a ‘safe’ place to store assets, whether cryptocurrency assets or fiat assets. Ex. A ¶ 24.

            70.      The inherent riskiness associated with storing assets on a cryptocurrency exchange

   is well-known to the vast majority of well-educated and knowledgeable cryptocurrency users. Ex.

   A ¶ 25. This is evidenced by the frequent expression ‘not your keys, not your coins,’ essentially

   meaning that if you don’t control the cryptocurrency in your account, it’s not really yours. Id.

   ‘Your’ cryptocurrency belongs to the exchange if you elect to store it ‘on’ the exchange, and if

   they renege or are unable to fulfill their liability to you, you as the beneficial cryptocurrency owner

   of the cryptocurrency, have effectively lost your money. Id.

            71.      This is further referenced by the extensive track record of the many cryptocurrency

   exchanges that have shut down and ultimately failed, 12 often in spectacular fashion. Ex. A ¶ 26.

   The most common reasons for an exchange’s failure include:

                  a) The exchange borrowing against customer assets (either to fund business
                     operations or lending them out in an effort to generate a profit) leading to
                     insolvency.
                  b) The exchange trading or leveraging customer assets in an effort to generate a
                     profit, leading to insolvency.

   12
        https://www.cryptowisser.com/exchange-graveyard/ (accessed December 16, 2022).


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                   c) A hack or theft by an external actor
                   d) Embezzlement, or theft by an internal actor, typically founder(s) of the exchange
                   e) Disappeared suddenly, for no apparent reason (typically taking customer assets
                      with them).
   Id.

             72.      When exchanges do shut down (and this happens relatively frequently) it rarely

   happens in an organized and orderly fashion, and it’s incredibly rare for customers that had assets

   on the exchange to get all their assets back; in many cases, they end up getting nothing back. Ex.

   A ¶ 27.

             73.      Suffice to say cryptocurrency exchanges are generally not a safe place to store

   assets, even amongst exchanges that don’t offer a yield-bearing program. Ex. A ¶ 28. When

   exchanges have a yield-bearing program, or otherwise elect to leverage or loan our customer assets

   (with or without customer consent), it significantly increases the risk of the exchange failing and

   becoming insolvent. Id. Cryptocurrency exchanges can do a variety of things to minimize such

   risks and improve safety. Id. However, what an exchange says, and what they actually do are two

   different things entirely. Id. It is common for CEOs and executives of exchanges that have failed

   or in the process of failing to describe their exchange as ‘safe,’ ‘secure,’ ‘well-regulated,’

   ‘compliant,’ ‘transparent,’ or in a good financial position even when the exact opposite is true. Id.

   FTX was not an exception to this trend. One should not assume or believe that an exchange is any

   of these things just because they say it. Id.

             74.      This is not to suggest that exchanges cannot be a much safer place to store assets.

   Ex. A ¶ 29. They can be with appropriate regulation and oversight. In fact, it appears that for FTX

   Japan 13 specifically, those investors will be made whole or almost whole due to sensical


   13
      https://www.coindesk.com/consensus-magazine/2022/12/13/japan-was-the-safest-place-to-be-
   an-ftx-customer/


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   regulations that were put in place in light of the lessons learned from the failures of Mt. Gox and

   Coincheck exchanges in Japan. Id.

          Defendant Sam Bankman-Fried

          75.     The FTX group of companies (FTX Group or FTX) was founded in 2019 and began

   as an exchange or marketplace for the trading of crypto assets. FTX was established by Samuel

   Bankman-Fried, Gary (Zixiao) Wang and Nishad Singh, with operations commencing in May

   2019. FTX was purportedly established in order to build a digital asset trading platform and

   exchange for the purpose of a better user experience, customer protection, and innovative products.

   FTX built the FTX.com exchange to develop a platform robust enough for professional trading

   firms and intuitive enough for first-time users.

          76.     Prior to that, The Silicon Valley-born, MIT-educated Bankman-Fried, also known

   as SBF, launched his quantitative crypto trading firm, Alameda Research, in November 2017, 14

   after stints in the charity world and at trading firm Jane Street. 15 Quantitative trading consists of

   trading strategies based on quantitative analysis, which rely on mathematical computations and

   number crunching to identify trading opportunities.

          Defendants Caroline Ellison and Sam Trabucco

          77.     By 2018, Defendant Bankman-Fried had persuaded Defendant Ellison to join him

   at Alameda Research. Defendant Ellison described the recruitment as follows: “This was very

   much like, ‘oh, yeah, we don’t really know what we’re doing,’” Ellison told Forbes magazine in

   an interview regarding her initial impressions of Alameda.



   14
        https://www.businessinsider.com/ftx-crypto-king-sam-bankman-fried-rise-and-fall-2022-11
   (accessed December 16, 2022).
   15
            https://www.businessinsider.com/ftx-sbf-crypto-saga-explained-what-happened-what-it-
   means-2022-11?inline-endstory-related-recommendations= (accessed December 16, 2022).


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          78.      In late 2018, the headquarters of Alameda Research was relocated to Hong Kong.

   The team at Alameda Research included Defendant Bankman-Fried’s close friends (and later co-

   founders for FTX) Nishad Singh and Gary Wang. Defendant Caroline Ellison and Sam Trabucco

   were also part of the group and upon moving to Hong Kong the group lived like college students

   and fiercely traded crypto.

          79.      After Defendant Bankman-Fried established FTX in 2019, Defendant Ellison began

   taking more responsibility at Alameda Research along with Sam Trabucco, who served as CEO.

          80.      In October 2021, Ellison was appointed as co-CEO of Alameda with Sam Trabucco

   after Bankman-Fried resigned from the firm in an effort to put distance between the exchange and

   trading shop he founded. As co-CEO, Trabucco helped oversee Alameda’s expansion beyond its

   initial market-neutral, but relatively low-profit business as a market maker for low-volume

   cryptocurrencies into riskier trading strategies, according to a Twitter thread detailing that shift.

   For instance, he said Alameda traders began exploring yield farming in decentralized finance

   (DeFi). Ellison became sole CEO in August 2022, following Trabucco’s departure from the firm,

   when he shifted his role from Co-CEO to adviser of the company. 16

          81.      Leading up to the collapse of FTX, Ellison lived with nine other FTX or Alameda

   colleagues in Bankman-Fried’s $30 million penthouse in the Bahamas. She reportedly paid SBF

   rent, and was occasionally in a romantic relationship with him. In 2021, Ellison tweeted about

   recreational stimulant use. Upon information and belief, Ellison left the Bahamas and moved back

   to Hong Kong.




   16
            https://www.coindesk.com/business/2022/08/24/co-ceo-of-crypto-trading-firm-alameda-
   research-sam-trabucco-steps-down/ (accessed December 16, 2022).


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           82.      “Young people tend to be too risk averse,” Ellison said in a more recent Alameda

   podcast episode. 17

           83.      The Wall Street Journal recently reported that Ellison told Alameda staffers in a

   video call that she was one of four people (along with Sam Bankman-Fried, Gary Wang, and

   Nishad Singh) who were aware of the decision to send FTX customer funds to Alameda, to help

   the fund meet its liabilities. 18

           Defendant Gary Wang

           84.      Wang is not like his co-founder Sam Bankman-Fried, who loves fame and putting

   himself at the center of public attention. In fact, there’s little public information about Wang, who

   has been described as a shady but critical player in the rise and fall of FTX.

           85.      Wang met Bankman-Fried at a math camp in high school. Later, they became

   college roommates at the Massachusetts Institute of Technology, where Wang got degrees in

   mathematics and computer science and Bankman-Fried received a bachelor’s in physics. 19

           86.      Before co-founding Alameda Research (and later FTX), Wang worked at Google.

   He claims to have built a system to aggregate prices across public flight data, according to an

   introduction on the Future Fund’s website. 20 When Bankman-Fried left the Jane Street Hedge Fund

   to start Alameda in 2017, Wang left the tech giant.

           87.      The startup has its beginnings in a three-bedroom Berkeley apartment – the

   downstairs served as its office. The firm shifted to Hong Kong, in part to take advantage of




   17
      https://www.youtube.com/watch?v=zfcb9JAgWBs (accessed December 16, 2022).
   18
        https://www.wsj.com/articles/alameda-ftx-executives-are-said-to-have-known-ftx-was-using-
   customer-funds-11668264238 (accessed December 16, 2022).
   19
      https://blog.ftx.com/blog/raising-the-bar/ (accessed December 16, 2022)
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      https://ftxfuturefund.org/about/ (accessed December 16, 2022).


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   arbitrage opportunities in Asian bitcoin markets – including the price discrepancy between BTC

   in Japan and BTC everywhere else.

           88.     It’s there that Wang and Bankman-Fried funneled funds from Alameda to build its

   bespoke derivatives exchange. Bankman-Fried told Insider that he is not a good coder: “I don’t

   code. I’m trash. I have not written any of FTX’s code base. That’s all a lot of other really

   impressive people at FTX. That’s not me at all.” 21

           89.     Nishad Singh, the head of engineering at FTX, said Wang was a “really good

   mentor” who offered suggestions and advice to push things out on short timescales.

           90.     In the aftermath of FTX’s collapse, and the subsequent $400 million hack,

   questions are circulating around who could possibly have abused client funds. Wang is a prominent

   suspect, as one of the few people with “root access” to the exchange’s code base, according to The

   Block. 22

           91.     Wang is also one of the board members of FTX Future Fund – the charity guided

   by “effective altruism” that aims to “use reason and evidence to do the most good possible for the

   most people.”

           92.     Wang, one of the 10 roommates in Bankman-Fried’ luxury penthouse in the

   Bahamas, is reportedly among the four people cited by Caroline Ellison who knew about the

   decision to send customer funds to Alameda, according to people who spoke to the Wall Street

   Journal. 23



   21
       https://www.businessinsider.com/crypto-trading-billionaire-sam-bankman-fried-ftx-alameda-
   surprising-facts-2021-12#5-people-often-think-hes-a-programmer-but-hes-not-5        (accessed
   December 16, 2022).
   22
       https://www.theblock.co/post/186476/who-is-billionaire-ftx-co-founder-gary-wang-and-why-
   is-he-still-committing-code (accessed December 16, 2022).
   23
       https://www.wsj.com/articles/alameda-ftx-executives-are-said-to-have-known-ftx-was-using-
   customer-funds-11668264238?mod=latest_headlines (accessed December 16, 2022).


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          93.     A few Wang photos are circulating on the internet, though little else is known about

   the mysterious co-founder who preferred to stay in the shadows as SBF chased the limelight. In a

   now infamous picture on FTX’s website, CTO Wang is seen with his back facing the camera as

   he focuses on the monitors in front of him.

          94.     At the age of 28, Wang topped Forbes’ 2022 list of the world’s billionaires under

   30 with a net worth of $5.9 billion in April. SBF sent his congratulations to Wang in public,

   tweeting that “I couldn’t be prouder” when the list came out. 24

          95.     Wang is reportedly now “under supervision” by Bahamian authorities along with

   Bankman-Fried and Singh. 25

          Defendant Nishad Singh

          96.     Nishad Singh joined Alameda Research in the early days, when the five-person

   trading firm was based in a Berkeley, California, apartment. He went from finding and exploiting

   arbitrage opportunities in crypto markets to being appointed director of engineering at FTX.

          97.     Singh is thought to be a close confidant of Bankman-Fried, having shared multiple

   apartments with the FTX founder over the years, including most recently a 10-person luxury

   penthouse in Nassau, the Bahamas.




   24

   https://twitter.com/SBF_FTX/status/1511324242612297738?ref_src=twsrc%5Etfw%7Ctwcamp
   %5Etweetembed%7Ctwterm%5E1511324242612297738%7Ctwgr%5E8e0ce65ea02f827b72be9
   6dde8f9484a3ba3e41c%7Ctwcon%5Es1_&ref_url=https%3A%2F%2Fwww.usatoday.com%2Fs
   tory%2Fmoney%2F2022%2F04%2F05%2Fcryptocurrency-ceo-donate-
   charity%2F7272175001%2F (accessed December 16, 2022).
   25
      https://cointelegraph.com/news/sam-bankman-fried-is-under-supervision-in-bahamas-looking-
   to-flee-to-dubai (accessed December 16, 2022).


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          98.     He is rumored to be just one of three people who controlled the keys to the

   exchange’s matching engine, and may have been informed of a plan to backstop losses at Alameda

   with FTX customer funds. 26

          99.     Although Singh’s LinkedIn profile is down and his Twitter account is locked, the

   University of California, Berkeley graduate talked about why he left his dream job at Facebook to

   join Alameda Research in a FTX podcast. 27

          100.    “I spent maybe about a month doing weekends and nights at Alameda,” he said,

   discussing a period of time when his “day job” was as a software engineer working on applied

   machine learning at Facebook. “At some point, it became obvious that was kind of stupid … so I

   took some time off and really gave my 100% working at Alameda,” Singh said.

          101.    Singh visited Alameda in the first month of its existence, where he witnessed

   Bankman-Fried execute a sequence of trades that he described as “super profitable, easy to

   understand and there were lots available.” Feeling inspired, he took a job.

          102.    In the podcast, Singh said he was also attracted to the company’s cultural

   commitment to effective altruism, 28 a movement that “aims to find the best ways to help others,”

   which he discovered in college.

          103.    Singh is a board member of FTX Future Fund, a part of the FTX Foundation, a

   philanthropic collective funded principally by Bankman-Fried and other senior FTX executives.




   26
        https://www.wsj.com/articles/alameda-ftx-executives-are-said-to-have-known-ftx-was-using-
   customer-funds-11668264238?mod=latest_headlines (accessed December 16, 2022).
   27
      https://www.youtube.com/watch?v=rl0Rq2cUSIQ (accessed December 16, 2022).
   28
          https://www.coindesk.com/layer2/2022/11/11/how-sam-bankman-frieds-effective-altruism-
   blew-up-ftx/ (accessed December 16, 2022).


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          104.    “It was pretty clear that everybody working [at Alameda] was highly motivated,

   was sort of effective altruism-aligned, which mattered a lot to me and was really [a] bright spot. I

   could learn a lot from them,” Singh said in the podcast.

          105.    After spending one and a half years as a core Alameda engineer, Singh took a role

   as the head of engineering at the then-newly launched FTX derivative exchange in 2019, where he

   was allowed to code with “minimal supervision.” He has provided code to a number of Bankman-

   Fried-related projects, including the decentralized exchange Serum on Solana.

          106.    “Nishad was one of my brother’s best friends in high school. He’s shown the fastest

   and most sustained professional growth I’ve ever witnessed,” Bankman-Fried wrote in a company

   blog. 29 Singh also reportedly built most of FTX’s “technological infrastructure” and managed the

   development team.

          107.    Although pitched as a community-run and- organized exchange, people familiar

   with the matter told CoinDesk the true power over Serum rested with FTX Group, which then held

   the program’s access keys. 30 A similar relationship may be in place at FTX’s core properties. 31

          108.    Singh is reportedly now “under supervision” by Bahamian authorities along with

   Bankman-Fried and Wang. 32

          Dan Friedberg

          109.    Daniel S. Friedberg was the chief compliance officer at FTX, the person who

   oversaw FTX’s compliance initiatives before it imploded. He joined the firm in March 2020, and



   29
      https://blog.ftx.com/blog/raising-the-bar/ (accessed December 16, 2022).
   30
            https://www.coindesk.com/business/2022/11/12/ftx-hack-spooks-solana-defi-community-
   igniting-revolution-at-alameda-controlled-serum-dex/ (accessed December 16, 2022).
   31
        https://www.wsj.com/articles/alameda-ftx-executives-are-said-to-have-known-ftx-was-using-
   customer-funds-11668264238?mod=latest_headlines (accessed December 16, 2022).
   32
      https://cointelegraph.com/news/sam-bankman-fried-is-under-supervision-in-bahamas-looking-
   to-flee-to-dubai (accessed December 16, 2022).


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   was instrumental in perpetuating its nefarious activities, in part by helping to cover up any

   indications that the FTX scheme was unraveling.

            110.   Although Friedberg was supposed to be the adult in the room overseeing the

   operations of the FTX empire, he did so thousands of miles away, remotely, from Seattle,

   Washington. As FTX’s chief regulatory officer, Friedberg was tasked with monitoring customer

   protection practices, ensuring product offerings complied with existing rules and overseeing

   internal audits and reviews. He did none of this.

            111.   Friedberg has also been tied to an online poker scandal in 2008, where Ultimate

   Bet’s founder Russ Hamilton was accused of installing a “God mode” on his gambling platform

   that only certain players had access to – resulting in an estimated $50 million in misappropriated

   funds.

            112.   In a surreptitiously recorded file, Friedberg reportedly advised Hamilton to claim

   he was a victim of the Ultimate Bets “God mode” scam, and push blame on an unnamed consultant

   to the company who exploited the site’s servers. The audio recordings were published in 2013

   under uncertain circumstances and have not been independently verified by CoinDesk.

            113.   “I did take this money and I’m not trying to make it right, Dan, so we gotta get that

   out of the way right away, real quick,” Hamilton allegedly said in the audio recording. 33 Hamilton

   also founded the World Champion online poker platform.

            114.   Veteran short seller Marc Cohodes, one of the few to publicly question the rapid

   rise of FTX before its fall in a September interview with trading-focused webcast Hedgeye, 34 had




   33
      http://craakker.blogspot.com/2013/05/pokers-watergate-moment.html (accessed December 16,
   2022).
   34
               https://app.hedgeye.com/insights/122943-marc-cohodes-ftx-is-dirty-rotten-to-the-core-
   hedgeye-investing-s?with_category=17-insights (accessed December 16, 2022).


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   noted the potential conflicts of hiring someone connected to a cheating scandal to oversee

   compliance at the $32 billion FTX exchange.

          115.    Similarly here, Dan Friedberg in his role as Chief Compliance Officer oversaw both

   FTX and Alameda, which had its own “god mode,” i.e., Alameda was secretly exempted from

   FTX’s auto-liquidation protocols.

          116.    Friedberg’s penchant for duplicity to make legal problems vanish for his corporate

   paymasters didn’t end with UB’s demise. NBC News recently reported on a 2020 incident

   involving SBF’s promotion of the Ethereum-based Cover Protocol and the unfortunate experience

   of one Dave Mastrianni, an investor who was prevented from cashing out his $400,000 in paper

   winnings due to “insufficient liquidity” on FTX before the COVER token cratered. 35

          117.    When Mastrianni contacted FTX to accuse SBF of having a “pump and dump” role

   in the debacle, Friedberg called back with an offer. How would Mastrianni, a graphic artist, like a

   job creating NFTs for FTX? Friedberg offered Mastrianni an ‘adviser’ contract that would pay him

   one BTC for 30 days’ work, but it also required Mastrianni to absolve FTX, Alameda, and its

   affiliates of any responsibility for Mastrianni’s COVER losses.

          118.    Mastrianni eventually agreed, but while he did receive that one BTC, FTX never

   accepted any of his artwork. Friedberg later emailed to inform him that the payment “was primarily

   for your release of all claims” and, with that goal accomplished, FTX had no more reason to

   maintain this subterfuge.

          119.    In August, the Federal Deposit Insurance Corporation (FDIC) sent a letter to

   Friedberg and then-FTX US CEO Brett Harrison to “cease and desist” using marketing language




   35
            https://www.nbcnews.com/news/epic-fall-sam-bankman-fried-was-hailed-crypto-genius-
   clients-saw-smoke-rcna56583 (accessed December 16, 2022).


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   that could have been erroneously interpreted as saying that exchange users accounts were ensured

   by the federal banking regulator. Harrison subsequently deleted the tweet.

          120.    Before joining FTX, Friedberg was a partner at Fenwick & West LLP, where he

   led the law firm’s cryptocurrency division, according to a now-deprecated LinkedIn page. He

   received a JD and MBA degree from the University of Wisconsin-Madison.

   B.     The Rise and Fall of FTX.

          121.    The FTX.com exchange was extremely successful since its launch. This year

   around $15 billion of assets are traded daily on the platform, which now represents approximately

   10% of global volume for crypto trading. The FTX team has grew to over 300 globally. Although

   the FTX Entities’ primary international headquarters is in the Bahamas, its domestic US base of

   operations is located in Miami, Florida. 36

          122.    FTX quickly became one of the most utilized avenues for nascent investors to

   purchase cryptocurrency. By the time FTX filed for bankruptcy protection, customers had

   entrusted billions of dollars to it, with estimates ranging from $10-to-$50 billion dollars.

          123.    Bankman-Fried got rich off FTX and Alameda, with the two companies netting

   $350 million and $1 billion in profit, respectively, in 2020 alone, according to Bloomberg.

          124.    At his peak, Bankman-Fried was worth $26 billion. At 30, he had become a major

   political donor, gotten celebrities like the Co-Defendants in this action to vociferously promote

   FTX, and secured the naming rights to the arena where the NBA’s Miami Heat play. 37




   36
             https://www.coindesk.com/business/2022/09/27/crypto-exchange-ftx-is-moving-its-us-
   headquarters-from-chicago-to-miami/ (accessed December 16, 2022).
   37
           https://www.businessinsider.com/ftx-sbf-crypto-saga-explained-what-happened-what-it-
   means-2022-11?inline-endstory-related-recommendations= (accessed December 16, 2022).


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             125.   In early November 2022, crypto publication CoinDesk released a bombshell report

   that called into question just how stable Bankman-Fried’s empire really was. 38

             126.   Bankman-Fried’s cryptocurrency empire was officially broken into two main parts:

   FTX (his exchange) and Alameda Research (his trading firm), both giants in their respective

   industries. But even though they are two separate businesses, the division breaks down in a key

   place: on Alameda’s balance sheet, which was full of FTX – specifically, the FTT token issued by

   the exchange that grants holders a discount on trading fees on its marketplace. While there is

   nothing per se untoward or wrong about that, it shows Bankman-Fried’s trading giant Alameda

   rests on a foundation largely made up of a coin that a sister company invented, not an independent

   asset like a fiat currency or another crypto. The situation adds to evidence that the ties between

   FTX and Alameda are unusually close. 39

             127.   After obtaining this information, Changpeng “CZ” Zhao, the CEO of Binance,

   decided to liquidate roughly $530 million-worth of FTT. Customers also raced to pull out, and

   FTX saw an estimated $6 billion in withdrawals over the course of 72 hours, which it struggled to

   fulfill. 40 The value of FTT plunged 32%, but rallied once again with Bankman-Fried’s surprise

   announcement on Tuesday, November 8th, that Binance would buy FTX, effectively bailing it

   out. 41




   38
            https://www.businessinsider.com/ftx-sbf-crypto-saga-explained-what-happened-what-it-
   means-2022-11?inline-endstory-related-recommendations= (accessed December 16, 2022).
   39
          https://www.coindesk.com/business/2022/11/02/divisions-in-sam-bankman-frieds-crypto-
   empire-blur-on-his-trading-titan-alamedas-balance-sheet/ (accessed December 16, 2022).
   40
      https://markets.businessinsider.com/news/currencies/ftx-6-billion-withdrawals-72-hours-sam-
   bankman-fried-binance-2022-11 (accessed December 16, 2022).
   41
      https://markets.businessinsider.com/news/currencies/ftx-6-billion-withdrawals-72-hours-sam-
   bankman-fried-binance-2022-11 (accessed December 16, 2022).


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          128.    The next day, Binance announced that it was withdrawing from the deal, citing

   findings during due diligence, as well as reports of mishandled customer funds and the possibility

   of a federal investigation. 42 The news sent FTT plunging even further — Bankman-Fried saw 94%

   of his net worth wiped out in a single day. 43 On November 11th, unable to obtain a bailout, FTX

   filed for Chapter 11 bankruptcy and Bankman-Fried resigned as CEO. 44

          129.    Following his resignation, Bankman-Fried issued a 22-tweet-long explanation of

   where he believed he and the FTX Entities went wrong: 45




   42
        https://markets.businessinsider.com/news/currencies/ftx-crash-sec-cftc-probes-asset-liability-
   shortfall-6-billion-2022-11 (accessed December 16, 2022).
   43
         https://www.businessinsider.com/ftx-ceo-crypto-binance-sam-bankman-fried-wealth-wiped-
   out-2022-11 (accessed December 16, 2022).
   44
        https://markets.businessinsider.com/news/currencies/ftx-bankruptcy-sam-bankman-fried-ceo-
   crypto-binance-alameda-markets-2022-11 (accessed December 16, 2022).
   45
      https://twitter.com/SBF_FTX/status/1590709189370081280 (accessed December 16, 2022).


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          130.    According to a recent Reuters report, however, another explanation contributing to

   the precarious house of cards that was the Deceptive FTX Platform is that earlier this year,

   Bankman-Fried secretly transferred at least $4 billion in customer funds from FTX to Alameda

   without telling anyone, after Alameda was hit with a series of losses, and that the FTX entities lent




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   more than half of its $16 billion in customer funds to Alameda in total, with more than $10 billion

   in loans outstanding. 46

   C.     The SEC’s Consistent Approach to Cryptocurrency.

                  Overview

          131.    Despite the crypto industry’s cries for “regulatory clarity,” the SEC’s stance on

   cryptocurrency has been clear and consistent from the beginning. Critics of the SEC’s stance

   toward cryptocurrency overlook an important aspect of U.S. securities law – securities regulation

   is not meant to be precise but is instead intentionally drafted to be broad and all-encompassing;

   clarity is not just uncommon; it is deliberately avoided. This is why the definitions of “security”

   in Section 2(a)(1) of the Securities Act of 1933 (Securities Act), 15 U.S.C. 77b(a)(1), and Section

   3(a)(10) of the Securities Exchange Act of 1934 (Exchange Act), 15 U.S.C. 78c(a)(10), include

   not only conventional securities, such as “stock[s]” and “bond[s],” but also the more general term

   “investment contract.”

          132.    Along these lines, in Reves v. Ernst & Young, the Supreme Court stated that:

          “The fundamental purpose undergirding the Securities Acts is ‘to eliminate serious
          abuses in a largely unregulated securities market.’ United Housing Foundation,
          Inc. v. Forman, 421 U.S. 837, 421 U.S. 849 (1975). In defining the scope of the
          market that it wished to regulate, Congress painted with a broad brush. It
          recognized the virtually limitless scope of human ingenuity, especially in the
          creation of ‘countless and variable schemes devised by those who seek the use
          of the money of others on the promise of profits, SEC v. W.J. Howey Co., 328
          U.S. 293, 328 U.S. 299 (1946), and determined that the best way to achieve its goal
          of protecting investors was ‘to define the term ”security” in sufficiently broad and
          general terms so as to include within that definition the many types of instruments
          that in our commercial world fall within the ordinary concept of a security.’ . . .
          Congress therefore did not attempt precisely to cabin the scope of the Securities




   46
       https://markets.businessinsider.com/news/currencies/ftx-crash-client-funds-alameda-binance-
   sbf-sec-cftc-probe-2022-11?utm_medium=ingest&utm_source=markets (accessed December 16,
   2022).


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          Acts . . . Rather, it enacted a definition of ‘security’ sufficiently broad to encompass
          virtually any instrument that might be sold as an investment.” (emphasis added)” 47

          133.    Crafted to contemplate not only known securities arrangements at the time, but also

   any prospective instruments created by those who seek the use of others’ money on the promise

   of profits, the definition of “security” is broad, sweeping, and designed to be flexible to capture

   new instruments that share the common characteristics of stocks and bonds. As Supreme Court

   Justice (and former SEC Commissioner (1935) and Chair (1936-37)) William O. Douglas opined

   in Superintendent of Insurance v. Bankers Life and Casualty Co.:

          “We believe that section 10(b) and Rule 10b-5 prohibit all fraudulent schemes in
          connection with the purchase or sale of securities, whether the artifices employed
          involve a garden type variety fraud, or present a unique form of deception. Novel
          or atypical methods should not provide immunity from the securities laws.”

          134.    Federal courts have already confirmed the SEC’s jurisdiction in numerous crypto-

   related emergency asset freeze hearings where the issue is always considered and affirmed, same

   as it has been by hundreds of federal courts across the country since the Howey Decision, which

   the Supreme Court adopted over 75 years ago. 48 That decision resulted in the Howey Test, which

   is used to determine the presence of an investment contract. The Howey Test stipulates that an

   investment contract exists if there is an “investment of money in a common enterprise with a

   reasonable expectation of profits to be derived from the efforts of others.” 49 The Howey Test is the

   principal method used by the SEC to determine if a given cryptocurrency is a security.

          135.    The SEC has used multiple distribution channels to share its message and concerns

   regarding crypto, digital trading platforms, initial coin offerings, and other digital asset products




   47
      https://scholar.google.com/scholar_case?case=18068523124125938239&q=Reves+v.+Ernst+
   %26+Young&hl=en&as_sdt=400006&as_vis=1 (accessed December 16, 2022).
   48
       https://supreme.justia.com/cases/federal/us/328/293/ (accessed December 16, 2022).
   49
       Id.


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   and services over the past decade. The SEC first made investors aware of the dangers of investing

   in cryptocurrency in 2013 when the Office of Investor Education and Advocacy issued an Investor

   Alert on “Ponzi Schemes Using Virtual Currencies.” 50

           136.    A year later, the same office issued an Investor Alert on “Bitcoin and Other Virtual

   Currency-Related Investments.” 51 In 2017, the Commission took the rare step of releasing a

   Section 21(a) Report of Investigation that looked at the facts and circumstances of The DAO,

   which offered and sold approximately 1.15 billion DAO Tokens in exchange for a total of

   approximately 12 million Ether (“ETH”) over a one-month period in 2016. 52 The SEC applied the

   Howey Test to the DAO tokens and concluded they were securities under the Securities Act of

   1933 (“Securities Act”) and the Securities Exchange Act of 1934 (“Exchange Act”). While The

   DAO, and DAO tokens, were no longer operational at the time due to a high-profile hack that

   resulted in the theft of most DAO tokens, the Commission chose to release the report so as “to

   advise those who would use a Decentralized Autonomous Organization (“DAO Entity”), or other

   distributed ledger or blockchain-enabled means for capital raising, to take appropriate steps to

   ensure compliance with the U.S. federal securities laws.” 53

           137.    In 2019, the SEC released a “Framework for “Investment Contract” Analysis of

   Digital Assets” which provided additional details on when a digital asset has the characteristics of

   an investment contract and “whether offers and sales of a digital asset are securities transactions.” 54




   50
      ia_virtualcurrencies.pdf (sec.gov) (accessed December 16, 2022).
   51
      Investor Alert: Bitcoin and Other Virtual Currency-Related Investments | Investor.gov (accessed
   December 16, 2022).
   52
      https://www.sec.gov/litigation/investreport/34-81207.pdf (accessed December 16, 2022).
   53
      Report of Investigation Pursuant to Section 21(a) of the Securities Exchange Act of 1934: The
   DAO (accessed December 16, 2022).
   54
      SEC.gov | Framework for “Investment Contract” Analysis of Digital Assets (accessed December
   16, 2022).


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          138.    In addition, the SEC has publicized its position on cryptocurrency in

   countless enforcement      actions, 55   multiple speeches, 56 Congressional      testimony, 57    and

   several official SEC statements 58 and proclamations. 59 Current SEC Chairman, Gary Gensler, has

   spoken frequently about the perils and illegality of crypto lending platforms and decentralized

   finance, 60 warning that their failure to register with the SEC may violate U.S. securities laws. 61 In

   one interview, Gensler said:

          “The law is clear, it’s not about waving a wand. Congress spoke about this in 1934 . . .
          When a [digital] platform has securities on it, it is an exchange, and it’s a question of
          whether they’re registered or they’re operating outside of the law and I’ll leave it at
          that.” 62

          139.    On September 8, 2022, Chair Gensler gave a speech reflecting on the flexibility of

   the securities laws and the SEC’s consistency in applying these laws to cryptocurrency. 63 Gensler

   noted that of the 10,000 different cryptocurrencies in the market, “the vast majority are securities,”

   a position that was also held by his predecessor, Jay Clayton. 64 Gensler went on to note that the

   SEC has spoken with a “pretty clear voice” when it comes to cryptocurrency “through the DAO




   55
      SEC.gov | Crypto Assets and Cyber Enforcement Actions (accessed December 16, 2022).
   56
           https://www.sec.gov/news/speech/gensler-aspen-security-forum-2021-08-03         (accessed
   December 16, 2022).
   57
      https://www.sec.gov/news/testimony/gensler-2021-05-26 (accessed December 16, 2022).
   58
            https://www.sec.gov/news/public-statement/statement-clayton-2017-12-11         (accessed
   December 16, 2022).
   59
         https://www.sec.gov/news/public-statement/enforcement-tm-statement-potentially-unlawful-
   online-platforms-trading (accessed December 16, 2022).
   60
           https://www.theblock.co/post/113416/gensler-speech-crypto-defi-lending-sec      (accessed
   December 16, 2022).
   61
          https://ca.finance.yahoo.com/news/crypto-platforms-dont-register-with-sec-outside-the-law-
   gensler- 164215740.html (accessed December 16, 2022).
   62
           https://www.theblock.co/post/113416/gensler-speech-crypto-defi-lending-sec      (accessed
   December 16, 2022).
   63
      SEC.gov | Kennedy and Crypto (accessed December 16, 2022).
   64
      Id.


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   Report, the Munchee Order, and dozens of Enforcement actions, all voted on by the Commission”

   and that “[n]ot liking the message isn’t the same thing as not receiving it.” 65

          140.    The judicial record supports Chair Gensler’s assertions. The SEC has taken over

   100 crypto-related enforcement actions and has not lost a single case. 66

          141.    What follows are summaries of five cases that will help inform this litigation.

   SEC v. KIK

          142.    In Kik 67, the SEC’s complaint 68, filed in the U.S. District Court for the Southern

   District of New York on June 4, 2019, alleged that Kik sold digital asset securities to U.S. investors

   without registering their offer and sale as required by the U.S. securities laws. Kik argued that the

   SEC’s lawsuit against it should be considered “void for vagueness.” 69

          143.    The court granted the SEC’s motion for summary judgment on September 30, 2020,

   finding that undisputed facts established that Kik’s sales of “Kin” tokens were sales of investment

   contracts (and therefore of securities) and that Kik violated the federal securities laws when it

   conducted an unregistered offering of securities that did not qualify for any exemption from

   registration requirements. The court further found that Kik’s private and public token sales were a

   single integrated offering.




   65
      Id.
   66
      SEC Cryptocurrency Enforcement: 2021 Update (cornerstone.com) (accessed December 16,
   2022).
   67
      https://www.sec.gov/news/press-release/2020-262 (accessed December 16, 2022).
   68
      https://www.sec.gov/news/press-release/2019-87 (accessed December 16, 2022).
   69
          https://www.financemagnates.com/cryptocurrency/news/sec-seeks-to-block-kik-subpoenas-
   refutes-void-for-vagueness-claim/ (accessed December 16, 2022).


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   SEC v. Telegram

          144.    In Telegram, 70 the SEC filed a complaint 71 on October 11, 2019, alleging that the

   company had raised capital to finance its business by selling approximately 2.9 billion “Grams” to

   171 initial purchasers worldwide. The SEC sought to preliminarily enjoin Telegram from

   delivering the Grams it sold, which the SEC alleged were securities that had been offered and sold

   in violation of the registration requirements of the federal securities laws.

          145.    Telegram argued 72 that the SEC has “engaged in improper ‘regulation by

   enforcement’ in this nascent area of the law, failed to provide clear guidance and fair notice of its

   views as to what conduct constitutes a violation of the federal securities laws, and has now adopted

   an ad hoc legal position that is contrary to judicial precedent and the publicly expressed views of

   its own high-ranking officials.”

          146.    On March 24, 2020, the U.S. District Court for the Southern District of New York

   issued a preliminary injunction 73 barring the delivery of Grams and finding that the SEC had

   shown a substantial likelihood of proving that Telegram’s sales were part of a larger scheme to

   distribute the Grams to the secondary public market unlawfully.

          147.    Without admitting or denying the allegations in the SEC’s complaint, the

   defendants consented to the entry of a final judgment enjoining them from violating the registration

   provisions of Sections 5(a) and 5(c) of the Securities Act of 1933. The judgment ordered the

   defendants to disgorge, on a joint and several basis, $1,224,000,000.00 in ill-gotten gains from the




   70
      https://www.sec.gov/news/press-release/2020-146 (accessed December 16, 2022).
   71
      https://www.sec.gov/news/press-release/2019-212 (accessed December 16, 2022).
   72
          https://www.financemagnates.com/cryptocurrency/news/sec-vs-telegram-will-gram-tokens-
   ever-be-distributed/ (accessed December 16, 2022).
   73
      SEC v. Telegram: A Groundbreaking Decision in Cryptocurrency Enforcement? | Insights |
   Greenberg Traurig LLP (gtlaw.com) (accessed December 16, 2022).


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   sale of Grams, with credit for the amounts Telegram pays back to initial purchasers of Grams. It

   also ordered Telegram Group Inc. to pay a civil penalty of $18,500,000. For the next three years,

   Telegram is further required to give notice to the SEC staff before participating in the issuance of

   any digital assets.

           SEC v. BlockFi

           148.    In BlockFi Lending LLC, the first SEC case ever involving a crypto-lending

   program, on February 22, 2022, the SEC charged BlockFi 74with failing to register the offers and

   sales of its retail crypto-lending product and also charged BlockFi with violating the registration

   provisions of the Investment Company Act of 1940.

           149.    BlockFi argued for “increased regulatory clarity” but lost. 75

           150.    To settle the SEC’s charges, BlockFi agreed to pay a $50 million penalty, cease its

   unregistered offers and sales of the lending product, BlockFi Interest Accounts (BIAs), and bring

   its business within the provisions of the Investment Company Act within 60 days. BlockFi’s parent

   company also announced that it intends to register under the Securities Act of 1933 the offer and

   sale of a new lending product. In parallel actions, BlockFi agreed to pay an additional $50 million

   in fines to 32 states to settle similar charges.

   SEC Wells Notice to Coinbase

           151.    In 2021, Coinbase began marketing a cryptocurrency lending product called Lend.

   The Lend program purported to allow some Coinbase customers to ”earn interest on select assets

   on Coinbase, starting with 4% APY on USD Coin (USDC).” 76 According to Coinbase, its lawyers




   74
      https://lnkd.in/d-Xy45ec (accessed December 16, 2022).
   75
      https://blockfi.com/pioneering-regulatory-clarity (accessed December 16, 2022).
   76
      The SEC has told us it wants to sue us over Lend. We don’t know why. - Blog (coinbase.com)
   (accessed December 16, 2022).


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   reached out to the SEC to discuss its Lend product, at which point SEC staff instead served

   Coinbase with a Wells Notice, informing Coinbase of their intention to seek approval from the

   SEC Commissioners to file a civil enforcement action against Coinbase for violating the federal

   securities laws.

              152.   According to Coinbase, the SEC issued the Wells Notice because of Coinbase’s

   failure to file a registration statement with the SEC for the offering of its Lend product, which the

   SEC believed was a security. 77

              153.   The two cases that Coinbase claims the SEC cites as support for its Wells Notice

   are SEC v. Howey and Reves v. Ernst & Young. Reves addressed the question of whether a product

   is a “note” and hence a security (applying the so-called “Familial Resemblance Test”).

              154.   Under the Lend program, Coinbase customers were clearly investing “money” at

   Coinbase and placing their faith in Coinbase to generate a profit for them. Lend investors would

   have no say in how Coinbase runs the Lend program and Coinbase was not going to permit Lend

   investors to participant in Lend-related decisions. Given these facts, Lend was clearly an

   investment contract.

              155.   Under Reves, Lend may have also been a “note” and hence a security. Although the

   term “note” is included in the statutory definition of a security, case law has determined that not

   every “note” is a security. The definition specifically excludes notes with a term of less than nine

   months and courts have carved out a range of exemptions over the years for commercial paper

   type notes such as purchase money loans and privately negotiated bank loans. To reconcile these

   varying cases, the U.S. Supreme Court in Reves established the “family resemblance test,” to

   determine whether a note is a security.



   77
        Id.


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          156.    Per the “family resemblance test,” a presumption that a note is a security can only

   be rebutted if the note bears a resemblance to one of the enumerated categories on a judicially

   developed list of exceptions, as follows: 1) a note delivered in consumer financing; 2) a note

   secured by a mortgage on a home; 3) a short-term note secured by a lien on a small business or

   some of its assets; 4) a note evidencing a character loan to a bank customer; 5) a short-term note

   secured by an assignment of accounts receivable; and 6) a note which simply formalizes an open-

   account debt incurred in the ordinary course of business (such as a trade payable for office

   supplies); and vii) a note evidencing loans by commercial banks for current operations.

          157.    The “family resemblance” analysis requires:

      •   A consideration of the motivation of the seller and buyer (e.g. is the seller looking for

          investment and the buyer looking for profit?);

      •   The plan of distribution of the note (e.g. is the product being marketed as an

          investment?);

      •   The expectation of the creditor/investor (e.g. would the investing public reasonably

          expect the application of the securities laws to the product); and

      •   The presence of an alternative regulation (e.g. will the product be registered as a banking

          product and the offered registered as a bank?).

          158.    Applying the family resemblance test to Lend reveals the presence of a note. First,

   Coinbase likened the Lend program to that of a savings account, where the Lend customer is

   looking for a profitable investment and Coinbase is looking for investors. Second, Coinbase

   marketed the Lend program as an investment. Third, investors (especially disgruntled ones) would

   certainly expect that securities regulation applies. Fourth, Coinbase is not a bank, so their so-called

   savings account falls under no other regulatory jurisdiction and protection.



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              159.   Given the clear facts of this case, Coinbase decided to cancel the Lend program. 78

   D.         FTX’s offer and sale of YBAs, which are unregistered securities.
              160.   Beginning in 2019, the FTX Entities began offering the YBAs to public investors

   through its Earn program. Plaintiff and other similarly situated individuals invested in FTX’s

   YBAs.

              161.   The details of the Earn program are still listed on the FTX website, 79 and additional

   information on Earn is described in a declaration submitted in the Voyager Chapter 11 proceedings

   by Joseph Rotunda, Director of Enforcement of the Texas State Securities Board, on October 14,

   2022. 80

              162.   Under the section titled “How can I earn yield on my FTX deposits?” on the FTX

   website, the company describes the Earn program thusly:

              “You can now earn yield on your crypto purchases and deposits, as well as your
              fiat balances, in your FTX app! By opting in and participating in staking your
              supported assets in your FTX account, you’ll be eligible to earn up to 8% APY on
              your assets.” 81

              163.   On the same webpage, the company also states:

                 The first $10,000 USD value in your deposit wallets will earn 8% APY. Amounts
                 held above $10,000 up to $100,000 USD in value (subject to market fluctuations)
                 will earn 5% APY. 82

              164.   Nowhere on the website does FTX describe how this yield will be generated;

   readers are given the impression that the yield will come from “staking your supported assets in

   your FTX account” although nowhere does the company describe what staking actually is.



   78
      Coinbase cancels Lend program launch after SEC fight - The Verge (accessed December 16,
   2022).
   79
      FTX App Earn – FTX Exchange (accessed December 16, 2022).
   80
      1175310142280000000134.pdf (stretto.com) (accessed December 16, 2022).
   81
      FTX App Earn – FTX Exchange (accessed December 16, 2022).
   82
      Id.


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          165.    Staking is a technical concept that applies to the blockchain consensus mechanism

   called Proof of Stake, which some cryptocurrencies utilize. 83 Staking serves a similar function to

   cryptocurrency mining, in that it is the process by which a network participant gets selected to add

   the latest batch of transactions to the blockchain and earn some crypto in exchange. While the

   exact mechanism will vary from project to project, in general, users will put their token on the line

   (i.e., “stake”) for a chance to add a new block onto the blockchain in exchange for a reward. Their

   staked tokens act as a guarantee of the legitimacy of any new transaction they add to the

   blockchain. The network chooses validators based on the size of their stake and the length of time

   they’ve held it. Thus, the most invested participants are rewarded. If transactions in a new block

   are discovered to be invalid, users can have a certain amount of their stake burned by the network,

   in what is known as a slashing event. 84

          166.    Some within the crypto community argue that staking is not a security because it is

   simply part of the code by which specific cryptocurrencies operate. In other words, some argue

   that staking programs are different from lending programs because user assets are not actually

   being “lent” out to third parties. But in September 2022, SEC Chairman Gary Gensler told

   reporters that “cryptocurrencies and intermediaries that allow holders to ‘stake’ their coins might

   pass” the Howey Test. 85 According to Gensler, “From the coin’s perspective…that’s another

   indicia that under the Howey test, the investing public is anticipating profits based on the efforts

   of others.” The Wall Street Journal noted that if an intermediary such as a crypto exchange offers




   83
      For example, Ethereum, Tezos, Cosmos, Solana, and Cardano all use Proof of Stake.
   84
      The staking definition comes from the Coinbase website: What is staking? | Coinbase (accessed
   December 16, 2022).
   85
      Ether’s New ‘Staking’ Model Could Draw SEC Attention - WSJ (accessed December 16, 2022).


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   staking services to its customers, Mr. Gensler said, it “looks very similar—with some changes of

   labeling—to lending.” 86

              167.   Based upon information – included and not included – on the FTX website, it does

   not appear that the company is adhering to the technical, commonly understood, definition of

   staking. See Ex. A ¶¶ 36–42. The most telling indicator is that the company permits any

   cryptocurrency listed on their platform to be eligible for staking, even coins that do not use Proof

   of Stake. Id. ¶ 39. The FTX website specifically states that Bitcoin and Dogecoin can generate

   yield under the Earn program, even though these coins use the Proof of Work consensus

   mechanism (meaning you CANNOT technically stake Bitcoin or Dogecoin). Therefore, it is not

   at all clear where the promised yield is coming from.

              168.   As Mr. Sibenik explains, applying Howey to the FTX Earn program reveals that

   Earn is an investment contract. An investment contract is present because users are clearly

   entrusting their funds to FTX. Users have to “opt-in” so that FTX may take possession over user

   assets and deploy them in a manner that will generate yield. As noted above, it is not clear how

   that yield is generated, but it is clear that FTX is deploying customer assets in a discretionary

   manner. Therefore, the efforts of FTX are instrumental in generating the users’ yield and of course

   users have an expectation of profit because FTX is advertising yields of up to 8% APY:

                     From a securities perspective, the Howey Test defines an investment contract as:
                        a. An investment of money
                              i. Cryptocurrency is a medium of exchange and way of transferring
                                    value in a measurable and quantifiable way. It is increasingly used
                                    as a means of payment, although it is more commonly used as a
                                    speculative investment at this point in time. Whether or not
                                    cryptocurrency can be defined as ‘money’ is in part a matter of
                                    semantics that can vary based on considers the fundamental features
                                    of money to be, and what criteria needs to be achieved in order for
                                    something to be considered money. Suffice to say, when examining

   86
        Id.


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                             aspects such as fungibility, durability, portability, divisibility,
                             scarcity, transferability, acting as a medium of exchange, acting as
                             a unit of account, and acting as a store of value, it could be argued
                             that some cryptocurrencies fulfill many of these criterion as good as
                             or even better than fiat currencies.
                   b. In a common enterprise
                         i. FTX customer assets are almost always consolidated in wallets
                             operated an controlled by FTX at least initially. These wallets are
                             typically referred to as ‘hot wallets’ or ‘consolidation wallets.’ From
                             these wallets, cryptocurrency can be move to other FTX-controlled
                             wallets, or it can be used to pay back other customers performing
                             withdrawals, but FTX can and did send (and loan) out such assets to
                             other entities, including Alameda Research ‘Alameda.’ The
                             blockchains data contains an immutable and verifiable record of
                             data that shows that FTX customer deposits went into accounts
                             operated by a common enterprise, namely, FTX.
                   c. With the expectation of profit
                         i. FTX customers are promised yield when they participate in the Earn
                             program. And at up to 8% yield, that is a considerable amount that
                             would be considerably in excess to that of a savings account at a
                             bank. But it was also far riskier than investing money in a savings
                             account at a bank. FTX goes out of their way to advertise this yield,
                             and indicate that such earnings are to be calculated on the
                             “investment portfolio” that is stored ‘in’ the FTX app. 87
                   d. To be derived from the efforts of others
                         i.  The FTX Yield-bearing account was portrayed as passive income
                             stream. A customer needs to do nothing more than ensure they are
                             subscribed to the yield program, and that they have deposited assets
                             (of crypto or even fiat) in order to earn the 5% or 8% yield, which
                             they clearly indicate is counted hourly. There is no further work or
                             action needed on the part of the user.
                        ii. The work that ‘others’ (namely FTX) would need to do would
                             including, at a baseline, sending transactions. But it would also
                             require FTX to make an effort by leveraging and investing the
                             money elsewhere which could theoretically come about either via
                             giving out loans, employing trading strategies, ‘staking,’ making
                             other investments, or giving out loans to entities (such as Alameda)
                             that would employ such strategies. The primary strategy that FTX




   87
      https://help.ftx.com/hc/en-us/articles/10573545824532-FTX-App-Earn (accessed December
   16, 2022).


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                                  portrayed to investors was ‘staking’ as I discuss in the following
                                  paragraphs.

   Ex. A, ¶ 43.
          169.    The FTX Earn program was most likely a note per Reves as well. First, FTX offered

   Earn to obtain crypto assets for the general use of its business, namely, to run its activities to pay

   interest to Earn investors, and users purchased YBAs and were automatically opted-in to Earn to

   receive interest on their crypto assets. Second, Earn was offered and sold to a broad segment of

   the general public. Third, FTX promoted Earn as an investment; on their website, FTX notes that

   Earn users will receive “yield earnings” on their “investment portfolio.” 88 Fourth, no alternative

   regulatory scheme or other risk reducing factors exist with respect to Earn. Note that the above

   analysis mirrors that provided by the SEC in their BlockFi order. 89

          FTT Token

          170.    The FTT token that contributed to FTX’s demise is also an investment contract per

   the Howey Test. FTT is an exchange token created by FTX that entitles holders to benefits on the

   FTX exchange. According to crypto news site CoinDesk, “such benefits often include trading fee

   discounts, rebates and early access to token sales held on the platform.” 90 Exchange tokens can be

   very profitable for their issuers because the exchanges that issue them tend to keep a significant

   number of tokens for themselves, which they can pump in price through speeches, social media

   posts, and other announcements. Economically, exchange tokes are akin to equity, although the

   holders of exchange tokens have no legal rights or interests in the issuer. As the exchange issuer

   grows in size and prominence, and trading volume increases on the exchange, the value of the




   88
      FTX App Earn – FTX Exchange (accessed December 16, 2022).
   89
      https://www.sec.gov/news/press-release/2022-26 (accessed December 16, 2022).
   90
      https://www.coindesk.com/learn/what-is-an-exchange-token/ (accessed December 16, 2022).


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   exchange token will likely increase. Thus, the value of FTT increased as the FTX exchange became

   more well-known and utilized. 91

          171.    FTT passes the Howey Test because the token was controlled by FTX; the company

   could create or destroy FTT at will. And the value of FTT was based upon the success of FTX,

   therefore the “efforts” of others prong of the Howey Test is implicated. It is also clear that investors

   bought FTT because they thought it would go up in price; this is the same reason why most, if not

   all, investors buy any given cryptocurrency. In fact, Binance CEO Changpeng “CZ” Zhao agreed

   to accept FTT tokens as part of FTX’s buyout of Binance’s equity stake in FTX. 92 Exchange tokens

   like FTT also functionally resemble the XRP token, which the SEC alleges is an investment

   contract due to Ripple’s control over the XRP token. 93

          172.    FTX maintains that it does not offer for sale any product that constitutes a

   “security” under federal or state law. Under federal securities laws as construed by the United

   States Supreme Court in its decision SEC v. W.J. Howey Co., 328 U.S. 293 (1946) and by the SEC,

   an investment contract is a form of security under United States securities laws when (1) the

   purchaser makes an investment of money or exchanges another item of value (2) in a common

   enterprise (3) with the reasonable expectation of profits to be derived from the efforts of others.

          173.    The YBAs were “securities” as defined by the United States securities laws and as

   interpreted by the Supreme Court, the federal courts, and the SEC. The FTX Entities offered

   variable interest rewards on crypto assets held in the YBAs on the Deceptive FTX Platform, which

   rates were determined by the FTX Entities in their sole discretion. In order to generate revenue to



   91
       See FTT price history here: https://coinmarketcap.com/currencies/ftx-token/ (accessed
   December 16, 2022).
   92
            https://www.investors.com/news/binance-to-buy-ftx-international-operations-as-liquidity-
   crunch-sparks-crypto-selloff/ (accessed December 16, 2022).
   93
      https://www.sec.gov/news/press-release/2020-338 (accessed December 16, 2022).


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   fund the promised interest, the FTX Entities pooled the YBA assets to engage in lending and

   staking activities from which they derived revenue to pay interest on the YBAs. These activities

   make the YBAs a “security” under state and federal law.

           174.    On October 14, 2022, Director of Enforcement of the Texas State Securities Board,

   Joseph Rotunda, filed a declaration in the Chapter 11 bankruptcy proceedings pending in

   connection with the collapse of the Voyager Digital cryptocurrency exchange, In re: Voyager

   Digital Holdings, Inc., et al., Case No. 22-10943 (MEW), ECF No. 536 (Bankr. S.D.N.Y. Oct. 14,

   2022), in which he explained how the YBAs are in fact “an offering of unregistered securities in

   the form of yield-bearing accounts to the residents of the United States.” Id., at 6. In his declaration,

   the pertinent portions of which are reproduced in full for ease of reference, Rotunda explains:

                   I am also familiar with FTX Trading LTD (“FTX Trading”) dba FTX as
           described herein. As more fully explained throughout this declaration, I am aware
           that FTX Trading, along with West Realm Shires Services Inc. dba FTX US (“FTX
           US”), may be offering unregistered securities in the form of yield-bearing accounts
           to residents of the United States. These products appear similar to the yield-bearing
           depository accounts offered by Voyager Digital LTD et al., and the Enforcement
           Division is now investigating FTX Trading, FTX US, and their principals,
           including Sam Bankman-Fried.
                   I understand that FTX Trading is incorporated in Antigua and Barbuda and
           headquartered in the Bahamas. It was organized and founded in part by Mr.
           Bankman-Fried, and FTX Trading appears to be restricting operations in the United
           States. For example, domestic users accessing the webpage for FTX Trading at
           ftx.com are presented with a pop-up window that contains a disclaimer that reads
           in part as follows:
                          Did you mean to go to FTX US? FTX US is a US licensed
                   cryptocurrency exchange that welcomes American users.
                           You’re accessing FTX from the United States. You won’t be
                   able to use any of FTX.com’s services, though you’re welcome to
                   look around the site.


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                 FTX US claims to be regulated as a Money Services Business with FinCEN
          (No. 31000195443783) and as a money transmitter, a seller of payment instruments
          and in other non-securities capacities in many different states. It is not, however,
          registered as a money transmitter or in any other capacity with the Texas
          Department of Banking and it is not registered as a securities dealer with the Texas
          State Securities Board.
                 FTX US owns 75 percent or more of the outstanding equity of FTX Capital
          Markets (CRD No. 158816) (“FTX Capital”), a firm registered as a broker-dealer
          with the United States Securities and Exchange Commission, the Financial Industry
          Regulatory Authority Inc., and 53 state and territorial securities regulators. FTX
          Capital’s registration as a dealer in Texas became effective on May 7, 2012, and
          the registration continues to remain in force and effect.
                 FTX US maintains a website at https://ftx.us that contains a webpage for
          smartphone applications for FTX (formerly Blockfolio) 94 (the “FTX Trading App”)
          and FTX US Pro. Users appear able to click a link in this webpage to download the
          FTX Trading App even when they reside in the United States.
                 On October 14, 2022, I downloaded and installed the FTX Trading App on
          my smartphone. I created an account with FTX Trading through the FTX Trading
          App and linked the FTX account to an existing personal bank account. During the
          process, I provided my full first and last name and entered my residential address
          in Austin, Texas. I also accessed hyperlinks in the FTX Trading App that redirected
          to the Privacy Policy and Terms of Service. Although I was from the United States
          and was using the application tied to FTX Trading, the Privacy Policy and Terms
          of Service were from FTX US - not FTX Trading.
                 I thereafter used the FTX Trading App to initiate the transfer of $50.00 from
          my bank account to the FTX account and then transferred .1 ETH from a 3.0 wallet


   94
     Based upon information and belief, FTX Trading acquired Blockfolio LLC (“Blockfolio”) in or
   around August 2020. At the time, Blockfolio managed a cryptocurrency application. FTX Trading
   appears to have thereafter rebranded Blockfolio and its smartphone application as FTX. Now, users
   can download the FTX Trading App from Apple’s App Store or Google’s Google Play Store.
   Although FTX rebranded Blockfolio, the application listing in Apple’s App Store still shows the
   application with developed by Blockfolio.


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         to the FTX account. The transfer of funds from my bank account to the FTX account
         will take up to six days to complete but the transfer of ETH was processed within
         a few minutes.
                The FTX Trading App showed that I was eligible to earn a yield on my
         deposits. It also explained the “Earn program is provided by FTX.US” – not FTX
         Trading. It also represented that “FTX Earn rewards are available for US users on
         a promotional basis.”
                I recall the FTX Trading App’s default settings were automatically
         configured to enable the earning of yield. The application also contained a link for
         additional information about yield. I accessed the link and was redirected to a recent
         article published by “Blockfolio Rebecca” under help.blockfolio.com. The article
         began as follows:
                You can now earn yield on your crypto purchases and deposits, as
                well as your fiat balances, in your FTX Trading App! By opting in
                and participating in staking your supported assets in your FTX
                account, you’ll be eligible to earn up to 8% APY on your staked
                assets. THIS APY IS ESTIMATED AND NOT GUARANTEED
                AS DESCRIBED BELOW.
                The article also described the payment of yield. It contained a section titled
         How do you calculate APY? Does my balance compound daily? that read, in part,
         as follows:
                        FTX will deposit yield earnings from the staked coins,
                calculated hourly, on the investment portfolio that is stored in your
                FTX Trading App. Yield will be compounded on principal and yield
                you have already earned. Any cryptocurrency that you have
                deposited on FTX as well as any fiat balance you may have on your
                account, will earn yield immediately after you have opted into the
                program.
                       The first $10,000 USD value in your deposit wallets will
                earn 8% APY. Amounts held above $10,000 up to $10MM USD in
                value (subject to market fluctuations) will earn 5% APY. In this
                scenario, your yield earned on the coins will look something like the
                examples below the table.
                The article also contained a section titled Is this available in my country?
         This section explained that “FTX Trading App Earn is available to FTX Trading
         App customers that are in one of the FTX permitted jurisdictions.” It contained a


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         hyperlink to an article titled Location Restrictions published by FTX Crypto
         Derivatives Exchange under help.ftx.com. This article described various
         restrictions on operations in certain countries and locations and read in part as
         follows:

                        FTX does not onboard or provide services to corporate
                accounts of entities located in, established in, or a resident of the
                United States of America, Cuba, Crimea and Sevastopol,
                Luhansk People’s Republic, Donetsk People’s Republic, Iran,
                Afghanistan, Syria, or North Korea. FTX also does not onboard
                corporate accounts located in or a resident of Antigua or Barbuda.
                FTX also does not onboard any users from Ontario, and FTX does
                not permit non-professional investors from Hong Kong purchasing
                certain products.
                        FTX does not onboard or provide services to personal
                accounts of current residents of the United States of America,
                Cuba, Crimea and Sevastopol, Luhansk People’s Republic,
                Donetsk People’s Republic, Iran, Afghanistan, Syria, North
                Korea, or Antigua and Barbuda. There may be partial restrictions
                in other jurisdictions, potentially including Hong Kong, Thailand,
                Malaysia, India and Canada. In addition, FTX does not onboard any
                users from Ontario, does not permit non-professional investors from
                Hong Kong purchasing certain products, and does not offer
                derivatives products to users from Brazil.
                        FTX serves all Japanese residents via FTX Japan.
                (emphasis in original)
                Despite the fact I identified myself by name and address, the FTX Trading
         App now shows that I am earning yield on the ETH. The yield is valued at 8 percent
         APR.
                Based upon my earning of yield and an ongoing investigation by the
         Enforcement Division of the Texas State Securities Board, the yield program
         appears to be an investment contract, evidence of indebtedness and note, and as
         such appears to be regulated as a security in Texas as provided by Section 4001.068
         of the Texas Securities Act. At all times material to the opening of this FTX
         account, FTX Trading and FTX US have not been registered to offer or sell
         securities in Texas. FTX Trading and FTX US may therefore be violating Section
         4004.051 of the Texas Securities Act. Moreover, the yield program described
         herein has not been registered or permitted for sale in Texas as generally required


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         by Section 4003.001 of the Securities Act, and as such FTX Trading and FTX US
         may be violation Section 4003.001 by offering unregistered or unpermitted
         securities for sale in Texas. Finally, FTX Trading and FTX US may not be fully
         disclosing all known material facts to clients prior to opening accounts and earning
         yield, thereby possibly engaging in fraud and/or making offers containing
         statements that are materially misleading or otherwise likely to deceive the public.
         Certain principals of FTX Trading and FTX US may also be violating these statutes
         and disclosure requirements. Further investigation is necessary to conclude whether
         FTX Trading, FTX US and others are violating the Securities Act through the acts
         and practices described in this declaration.
                The Enforcement Division of the Texas State Securities Board understands
         that FTX US placed the highest bid for assets of Voyager Digital LTD et al., a
         family of companies variously accused of misconduct in connection with the sale
         of securities similar to the yield program promoted by FTX Trading and FTX US.
         FTX US is managed by Sam Bankman-Fried (CEO and Founder), Gary Wang
         (CTO and Founder) and Nishad Singh (Head of Engineering). The same principals
         hold the same positions at FTX Trading, and I was able to access the yield-earning
         product after following a link to the FTX Trading App from FTX US’s website.
         The FTX Trading App also indicated the Earn program is provided by FTX US. As
         such, FTX US should not be permitted to purchase the assets of the debtor unless
         or until the Securities Commissioner has an opportunity to determine whether FTX
         US is complying with the law and related and/or affiliated companies, including
         companies commonly controlled by the same management, are complying with the
         law.
                I hereby authorize the Texas Attorney General’s Office and any of its
         representatives to use this declaration in this bankruptcy proceeding.
                I declare under penalty of perjury that the foregoing is true and correct.
                Executed on October 14, 2022 in Austin, Texas.
                                                        /s Joseph Jason Rotunda
                                                        By: Joseph Jason Rotunda




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          175.    Another avenue through which FTX users may have been exposed to a securities

   transaction was through the basic structure of the platform. Despite cryptocurrency and

   blockchain’s foundational premise being the ability to transmit value peer-to-peer using a trustless

   and decentralized database that cannot be censured by any third party, cryptocurrency exchanges

   operate more like traditional banks. When you buy Bitcoin through a centralized cryptocurrency

   exchange, there is no corresponding transaction to the Bitcoin blockchain. Rather, the exchange

   simply maintains its own database that indicates which cryptocurrencies it owes to its customers.

   This is similar to how banks operate. Money deposited in a checking account is not actually “ours.”

   The money becomes the bank’s and we are owed a debt by the bank which is governed by the

   terms and conditions of the account. Cryptocurrency exchanges should then be in custody of

   enough cryptocurrency on the blockchain to cover what it owes customers. Custody can be done

   using hot or cold digital wallets (hot wallets are connected to the internet, cold wallets are not)

   with best practice being for exchanges to hold the majority of cryptocurrency (crypto which they

   are holding on behalf of customers) in multiple cold wallets. Best practice would also dictate that

   exchanges hold customer assets in separate wallets from exchange assets, and that each customer’s

   assets would be held in a distinct wallet.

          176.    According to the first day declaration by John Ray, how FTX kept its crypto is a

   mystery:

          The FTX Group did not keep appropriate books and records, or security controls,
          with respect to its digital assets. Mr. Bankman-Fried and [Alameda co-founder
          Gary] Wang controlled access to digital assets of the main businesses in the FTX
          Group (with the exception of LedgerX, regulated by the CFTC, and certain other
          regulated and/or licensed subsidiaries). Unacceptable management practices
          included the use of an unsecured group email account as the root user to access
          confidential private keys and critically sensitive data for the FTX Group companies
          around the world, the absence of daily reconciliation of positions on the blockchain,
          the use of software to conceal the misuse of customer funds, the secret exemption
          of Alameda from certain aspects of FTX.com’s auto-liquidation protocol, and the



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          absence of independent governance as between Alameda (owned 90% by Mr.
          Bankman-Fried and 10% by Mr. Wang) and the Dotcom Silo (in which third parties
          had invested).

          The Debtors have located and secured only a fraction of the digital assets of the
          FTX Group that they hope to recover in these Chapter 11 Cases. The Debtors have
          secured in new cold wallets approximately $740 million of cryptocurrency that the
          Debtors believe is attributable to either the WRS, Alameda and/or Dotcom Silos.
          The Debtors have not yet been able to determine how much of this cryptocurrency
          is allocable to each Silo, or even if such an allocation can be determined. These
          balances exclude cryptocurrency not currently under the Debtors’ control as a result
          of (a) at least $372 million of unauthorized transfers initiated on the Petition Date,
          during which time the Debtors immediately began moving cryptocurrency into cold
          storage to mitigate the risk to the remaining cryptocurrency that was accessible at
          the time, (b) the dilutive ‘minting’ of approximately $300 million in FTT tokens by
          an unauthorized source after the Petition Date and (c) the failure of the co-founders
          and potentially others to identify additional wallets believed to contain Debtor
          assets. 95

          177.    In the declaration, Mr. Ray presents several rough balance sheets for the various

   FTX silos, while noting that he does not have confidence in them, and that “the information therein

   may not be correct as of the date stated.” 96 Most telling is a footnote that appears on the balance

   sheets for the exchange businesses: “Customer custodial fund assets are comprised of fiat customer

   deposit balances. Balances of customer crypto assets deposited are not presented.” 97 Ray notes that

   U.S. and overseas exchanges “may have significant liabilities” but that “such liabilities are not

   reflected in the financial statements prepared while these companies were under the control of Mr.

   Bankman-Fried.” 98

          178.    To further complicate matters, recent statements given by Sam Bankman-Fried to

   the Wall Street Journal (WSJ) suggest that about half of the balance owed by Alameda to FTX

   was from wire transfers that customers made to FTX via Alameda in the early days before FTX



   95
      042020648197.pdf (pacer-documents.s3.amazonaws.com) (accessed December 16, 2022).
   96
      Id.
   97
      Id.
   98
      Id.


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   had a bank account. 99 This money was intended to fund customers’ accounts at FTX. Bankman-

   Fried claims some customers continued to use that route after FTX had a bank account and that

   over time, “FTX customers deposited more than $5 billion in those Alameda accounts.” 100 The

   WSJ acknowledged that these funds “could have been recorded in two places—both as FTX

   customer funds and as part of Alameda’s trading positions” and that “such double-counting would

   have created a huge hole in FTX’s and Alameda’s balance sheets, with assets that weren’t really

   there.” 101

           179.   The relationship between FTX and Alameda was critical to the exchange’s eventual

   collapse. After suffering large losses in the wake of several high profile crypto-firm failures in the

   spring and summer of 2022 (Alameda most likely was exposed to crypto hedge fund Three Arrows

   Capital), FTX.com lent out some of its customer assets that it did control to Alameda. 102

   Presumably, the exchange benefitted from the interest paid by Alameda for the loaned cryptoassets

   – although some have suggested that the loans were made for free. 103 Alameda could then use the

   customer assets as cheap collateral for margined trades with other parties (obtaining collateral from

   other sources would have been much more expensive). 104 It appears that Alameda did post

   collateral to secure the loans of customer cryptoassets that it received, but that collateral took the



   99
              https://www.wsj.com/articles/ftx-founder-sam-bankman-fried-says-he-cant-account-for-
   billions-sent-to-alameda-
   11670107659?st=g35ia0eu0bjwqzn&reflink=desktopwebshare_permalink (accessed December
   16, 2022).
   100
       FTX customers deposited more than $5 billion in those Alameda accounts.
   101
       Id.
   102
       https://newsletter.mollywhite.net/p/the-ftx-collapse-the-latest-revelations (accessed December
   16, 2022).
   103
         https://www.cnbc.com/2022/11/13/sam-bankman-frieds-alameda-quietly-used-ftx-customer-
   funds-without-raising-alarm-bells-say-sources.html (accessed December 16, 2022).
   104
       For a more general discussion of the conflicts of interest inherent in these relationships, see
   https://www.coppolacomment.com/2022/11/the-ftx-alameda-nexus.html (accessed December 16,
   2022).


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   form of FTT tokens. FTT tokens were the so-called “native token” of the FTX exchange: FTX

   created FTT and issued it to both institutional and retail investors without registering with any

   regulator or undergoing any audit or other external due diligence. FTX could create unlimited

   amounts of FTT if it wished.

          180.    In short, there appear to have been two sets of leveraged transactions involved.

   First, Alameda borrowed assets from FTX’s customers, providing FTT tokens as collateral for

   those loans. Second, Alameda engaged in margin trading, essentially borrowing money to execute

   risky trading strategies: these trades were secured by the assets Alameda had borrowed from FTX

   customers’ accounts. Leverage makes trades potentially more lucrative, but also makes them more

   vulnerable to adverse market movements. In an Alameda balance sheet linked to CoinDesk in early

   November, Alameda’s largest asset holdings were listed as being FTT tokens (it is possible that it

   received these in a kind of bailout from FTX). Other assets listed on that balance sheet included

   SOL tokens (issued by the Solana blockchain, in which Sam Bankman-Fried was an early investor)

   and SRM tokens (issued by the Serum exchange that Sam Bankman-Fried co-founded). 105

   Alameda had few assets that hadn’t been created out of thin air by FTX or FTX-related entities.

          181.    After the CoinDesk report came out on November 2, the CEO of FTX’s rival

   exchange Binance, Changpeng Zhao, tweeted that Binance was planning to sell off its holdings of

   FTT. This triggered panic selling of FTT and a run on FTX, thereby ensuring the firm’s swift

   demise.




   105
          https://www.coindesk.com/business/2022/11/02/divisions-in-sam-bankman-frieds-crypto-
   empire-blur-on-his-trading-titan-alamedas-balance-sheet/ (accessed December 16, 2022).


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           182.       While we are still learning exactly what happened at FTX and Alameda in the days

   and months before their collapse, we do know several pieces of information that are relevant to

   this litigation.

           183.       First, it is quite possible that fiat currency FTX customers sent to the exchange for

   the purpose of purchasing cryptocurrency may never have actually resulted in a cryptocurrency

   transaction. Instead, Alameda may have used those funds to purchase any number of assets,

   including investing in venture capital firms (Alameda’s balance sheet in John Ray’s first day

   declaration list venture capital assets).

           184.       Second, when customers withdrew cryptoassets from FTX in the past, FTX was

   likely meeting these withdrawals by selling FTT. However, as the price of FTT fell in the wake of

   Zhao’s tweet, it became increasingly expensive for FTX to convert FTT into other cryptoassets

   that matched customers’ expectations of their portfolio holding – especially as so many FTX

   customers were seeking to pull their cryptoassets out of the exchange at the same time. Therefore,

   while customers may have believed they were buying cryptocurrencies that were not securities

   (i.e., commodities) the economic reality was that they were directly, or indirectly, buying securities

   in the form of venture capital investments, FTT, SOL, and/or SRM. Another way to think of it is

   that FTX and all its affiliated entities were essentially economically akin to a venture capital fund,

   where “investors,” in the form of customers, sent funds to the firm and the firm then did whatever

   it wanted with these funds, including purchasing securities. Given these facts, it appears that any

   person who used FTX was engaged in a securities transaction of some kind, knowingly or

   unknowingly.

           185.       Thus, as will be illustrated below, the FTX Brand Ambassadors’ promotion of

   “FTX” was necessarily the promotion of unregistered securities.




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         E. The Defendants Aggressively Marketed the FTX Platform

            186.   From its inception, cryptocurrency has been fueled by illicit activity and the crypto

   sector continues to be rife with frauds and scams. For a detailed breakdown on the illicit use of

   cryptocurrency, see the U.S. Department of Justice’s report from September 2022 titled: “The Role

   of Law Enforcement In Detecting, Investigation, And Prosecuting Criminal Activity Related to

   Digital Assets.” 106 The report was issued pursuant to the March 9, 2022 Executive Order on

   Ensuring Responsible Development of Digital Assets and is the latest report on cryptocurrency

   released by DoJ dating back to 2018, all of which detail the dire harms caused by cryptocurrency.

   DoJ notes that “[t]he rise of the Bitcoin network paralleled the development of Silk Road,

   AlphaBay, and other illegal online marketplaces…” and the department classified digital asset

   crime into three categories: “(1) cryptocurrency as a means of payment for, or manner of

   facilitating, criminal activity; (2) the use of digital assets as a means of concealing illicit financial

   activity; and (3) crimes involving or affecting the digital assets ecosystem.” The September report

   details several high-profile cases involving the illicit use of cryptocurrency. One case is the darknet

   marketplace Silk Road, which accepted payment only in Bitcoin, and was shut down by the FBI

   in 2013 after having facilitated sales revenue totaling over 9.5 million Bitcoin, equivalent to

   roughly $1.2 billion at the time. 107

            187.   Cryptocurrency is increasingly being used by organized crime syndicates and

   nation states for illicit purposes. In January 2022, the Government Accountability Office (GAO)

   issued a report finding that “[v]irtual currency is increasingly used illicitly to facilitate human and




   106
               https://www.justice.gov/opa/pr/justice-department-announces-report-digital-assets-and-
   launches-nationwide-network (accessed December 16, 2022).
   107
       https://web.archive.org/web/20140220003018/https://www.cs.columbia.edu/~smb/UlbrichtCri
   minalComplaint.pdf (accessed December 16, 2022).


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   drug trafficking.” 108 Cryptocurrency is also being used by Iran, Russia, and North Korea to bypass

   U.S. economic and financial sanctions. 109 According to the United Nations, “money raised by

   North Korea’s criminal cyber operations are helping to fund the country’s illicit ballistic missile

   and nuclear programs.” 110 North Korea’s brazenness was revealed to the public earlier this year

   when a well-known “Web 3” video game, Axie Infinity, was hacked and $620 million in the

   cryptocurrency ether was stolen. “Chainalysis estimates that North Korea stole approximately $1

   billion in the first nine months of 2022 from decentralized crypto exchanges alone,” one of the

   reasons why Anne Neuberger, US deputy national security adviser for cyber security, said in July

   2022 that North Korea “uses cyber to gain …. up to a third of their funds for their missile

   program.” 111

          188.     Cryptocurrency has also fueled a surge in ransomware that has victimized

   American businesses, health care systems, and state and local governments. In May of 2022, the

   majority staff on the Homeland Security & Governmental Affairs Committee released a startling

   report on ransomware. 112 The report notes that in 2021, “ransomware attacks impacted at least

   2,323 local governments, schools, and healthcare providers in the United States” and that the FBI

   “received 3,729 ransomware complaints with adjusted losses of more than $49.2 million.” The



   108
       Virtual Currencies: Additional Information Could Improve Federal Agency Efforts to Counter
   Human and Drug Trafficking [Reissued with Revisions Feb. 7, 2022] | U.S. GAO (accessed
   December 16, 2022).
   109
        Russia Could Use Cryptocurrency to Mitigate U.S. Sanctions - The New York Times
   (nytimes.com) (accessed December 16, 2022), Iran Plans Uses Crypto for Imports to Get Around
   Sanctions (gizmodo.com) (accessed December 16, 2022), This is how North Korea uses cutting-
   edge crypto money laundering to steal millions | MIT Technology Review(accessed December 16,
   2022).
   110
        How North Korea became a mastermind of crypto cybercrime | Ars Technica (accessed
   December 16, 2022).
   111
       Id.
   112
       HSGAC Majority Cryptocurrency Ransomware Report.pdf (senate.gov) (accessed December
   16, 2022).


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   report acknowledges that these numbers underestimate the true scale of the problem because many

   ransomware victims do not report to authorities. As evidence, they cite data from blockchain

   analytics company Chainalysis that found “malign actors received at least $692 million in

   cryptocurrency extorted as part of ransomware attacks” in 2020. The report notes that

   “cryptocurrency, typically Bitcoin, has become a near universal form of ransom payment in

   ransomware attacks, in part, because cryptocurrency enables criminals to extort huge sums of

   money from victims across diverse sectors with incredible speed.” The link between

   cryptocurrency and ransomware became clear to the public in the wake of the Colonial Pipeline

   hack in May 2021, which disrupted gasoline supplies in the southeastern U.S. In the wake of that

   breach, several commentators argued for a ban, or heavy regulation, of cryptocurrency. 113

          189.    Everyday consumers have also fallen victim to various cryptocurrency-related

   scams. The Consumer Financial Protection Bureau (CFPB) published 2,404 cryptocurrency related

   consumer complaints in its Consumer Complaint Database during 2021, and more than 1,000

   cryptocurrency-related complaints during 2022 year-to-date. 114 According to the September DoJ

   report: “The CFPB has also received hundreds of servicemember complaints involving

   cryptocurrency assets or exchanges in the last 12 months, approximately one-third of which

   concerned frauds or scams.” 115 In June 2022, the Federal Trade Commission issued a report finding

   that “since the start of 2021 more than 46,000 people have reported losing over $1 billion in crypto




   113
       Ban Cryptocurrency to Fight Ransomware - WSJ (accessed December 16, 2022).
   114
       Justice Department Announces Report on Digital Assets and Launches Nationwide Network |
   OPA | Department of Justice (accessed December 16, 2022).
   115
       Id.


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   to scams – that’s about one out of every four dollars reported lost, more than any other payment

   method.” 116 The median individual loss was a staggering $2,600.

          190.    Another September 2022 report from the Treasury Department, issued pursuant to

   the Executive Order, also called out the risks and harms to consumers from cryptocurrency:

          “Consumers and investors are exposed to improper conduct in the crypto-asset ecosystem
          for a variety of reasons, including a lack of transparency as well as the fact that crypto-
          assets have relatively novel and rapidly developing applications. This leads to frequent
          instances of operational failures, market manipulation, frauds, thefts, and scams. While the
          data for populations vulnerable to disparate impacts remains limited, available evidence
          suggests that crypto-asset products may present heightened risks to these groups, and the
          potential financial inclusion benefits of crypto-assets largely have yet to materialize.” 117
          191.    There is also a long history of consumer losses associated with centralized

   exchanges, FTX being the latest. One of the first cryptocurrency exchange failures was Japan-

   based Mt. Gox in 2014. Mt. Gox was handling over 70% of bitcoin transactions worldwide by the

   time it ceased operations after the exchange was hacked and the majority of cryptocurrency held

   by the exchange on behalf of customers was stolen. Creditors to Mt. Gox are still waiting for their

   funds, a sign that does not bode well for FTX creditors, to the extent they seek recovery directly

   from the FTX Entities through the bankruptcy proceedings. 118

          192.    All of the above-mentioned problems with cryptocurrency are well known and one

   of the big reasons why consumers are hesitant to purchase or use cryptocurrency. According to

   Pew Research, 16% of Americans have invested in cryptocurrency while another 71% are not




   116
       Reports show scammers cashing in on crypto craze | Federal Trade Commission (ftc.gov)
   (accessed December 16, 2022).
   117
       Crypto-Assets: Implications for Consumers, Investors, and Businesses (treasury.gov) (accessed
   December 16, 2022).
   118
       What to Watch in the FTX Bankruptcy as Details Remain Scarce - WSJ


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   invested although they have heard at least a little about cryptocurrency. 119 For those in the latter

   group, concerns around fraud and scams are likely playing a role in their resistance to crypto

   investing.

             193.   These valid concerns are one reason why crypto firms like FTX turn to celebrity

   endorsers. The FTX advertising campaign is particularly pernicious because it implicitly

   acknowledges cryptocurrency’s problems while holding FTX out as the “safe” place to invest in

   cryptocurrency (note statements by O’Leary, Brady, and Curry, below). These statements were

   untrue, as FTX turned out to be a house of cards that misappropriated customer assets.

             194.   FTX’s paid endorser program was clearly designed to use the positive reputation

   associated with specific celebrities to convince consumers that FTX was a safe place to buy and

   sell cryptocurrency.

             195.   As Mr. Sibenik explains, FTX’s brand ambassadors and ad campaigns that utilized

   those brand ambassadors had a critical role in portraying FTX as being ‘safe’ and ‘compliant.’ Ex.

   A ¶ 44–49:

                    In Stephen Curry’s FTX commercial, FTX’s alleged safety is quite blatant
                stated when he claims

                    “With FTX, I have everything I need to buy, sell, and trade crypto safely”

                Kevin O’Leary, another FTX brand ambassador stated:

                    “To find crypto investment opportunities that met my own rigorous
                    standards of compliance, I entered into this relationship with FTX. It has
                    some of the best crypto exchange offerings I’ve seen on the market. FTX
                    leverages best-in-class tech to provide a quality trading experience with low
                    fees for both professional and retail investors alike, while at the same time
                    providing the reporting platform that serves both internal and regulatory
                    compliance requirements”



   119
         46% of cryptocurrency investors in US say it did worse than expected | Pew Research Center


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                 Given that FTX continually misappropriated customer assets, didn’t have
             appropriate capital controls or reasonable compliance policies in place, these
             claims weren’t just unfounded; they were downright false.

                 Mr. O’Leary’s assertion that FTX was a compliant exchange is even more
             damaging than that of the typical celebrity, however. This is because Mr.
             O’Leary is known for being a Shark on the TV show Shark Tank whereby
             Shark’s make investments in startups. With those investments comes due
             diligence. Mrb O’Leary’s endorsement of FTX certainly makes it seem that he
             did appropriate due diligence into FTX, when obviously, whatever due
             diligence that he did was grossly inadequate.

                Mr. O’Leary appears to admit that his own due diligence was inadequate,
             and that he relied on the due diligence of others:

                 “I obviously know all the institutional investors in this deal. We all look like
                 idiots. Let’s put that on the table. We relied on each other’s due diligence,
                 but we also relied on another investment theme that I felt drove a lot of
                 interest in FTX 120“

                Mr. O’Leary is also a strategic investor in Canada’s largest cryptocurrency
             exchange, ‘WonderFi.’ The name is derived from Mr. O’Leary’s nickname,
             ‘Mr. Wonderful.’ Mr. O’Leary’s involvement in WonderFi could naturally lead
             one to believe that he knew how to perform adequate due diligence on
             exchanges, and that he would do so on FTX before investing and acting as a
             brand ambassador.

          196.   Other organizations and individuals, with presumably more to gain, did find red

   flags at FTX and turned down FTX and/or Sam Bankman-Fried’s money. The nonprofits Our

   World Data and MITRE declined offered gifts of $7.5 million and $485,000, respectively, from

   the FTX Future Fund due to undisclosed red flags. 121 In addition, CME Group CEO Terry Duffy

   allegedly told Sam Bankman-Fried that he was “an absolute fraud” upon having an initial




   120
              https://dailyhodl.com/2022/12/09/kevin-oleary-says-ftx-collapse-makes-him-and-other-
   investors-in-the-crypto-exchange-look-like-idiots/
   121
       https://www.moneyweb.co.za/moneyweb-crypto/sam-bankman-frieds-red-flags-were-seen-in-
   all-corners-of-his-empire/ (accessed December 16, 2022).


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   conversation with Mr. Fried. 122 Finally, after FTX’s implosion, the FT reported that FTX held

   talks with Taylor Swift to sponsor the singer’s tour for more than $100 million. 123 While the article

   does not detail the reasons why Swift declined the FTX offer, it does include the following quote

   from a person close to the negotiations:

          “Taylor would not, and did not, agree to an endorsement deal. The discussion was
          around a potential tour sponsorship that did not happen.” 124

          197.    Based upon the information that has been released by FTX’s new CEO John Ray

   as part of the company’s bankruptcy filings, it is clear that anyone who bothered to spend 20

   minutes reviewing FTX’s operations pre-collapse would have identified significant red flags. In

   his first day pleading in support of FTX’s chapter 11 petitions, Mr. Ray noted:

          “Never in my career have I seen such a complete failure of corporate controls and
          such a complete absence of trustworthy financial information as occurred here.
          From compromised systems integrity and faulty regulatory oversight abroad, to the
          concentration of control in the hands of a very small group of inexperienced,
          unsophisticated and potentially compromised individuals, this situation is
          unprecedented.” 125

          198.    Mr. Ray’s pleading contains a number of troubling findings, among them: 1.) FTX

   did not have centralized control of its cash, 2.) FTX had no dedicated human resources department,

   which has hindered Mr. Ray’s team from preparing a complete list of who worked for the FTX

   Entities, 3.) A lack of disbursement controls that resulted in employees submitting payment

   requests via on-line chat and these requests being approved by managers responding with


   122
           https://www.cnbc.com/2022/11/23/absolute-fraud-cmes-terry-duffy-says-he-saw-trouble-
   before-ftx-collapse-.html (accessed December 16, 2022).
   123
       FTX held talks with Taylor Swift over $100mn sponsorship deal | Financial Times (accessed
   December 16, 2022).
   124
       Id.
   125

   https://www.google.com/url?sa=t&rct=j&q=&esrc=s&source=web&cd=&ved=2ahUKEwiokr3C
   _-L7AhWsnGoFHRdBC2kQFnoECBAQAQ&url=https%3A%2F%2Fpacer-
   documents.s3.amazonaws.com%2F33%2F188450%2F042020648197.pdf&usg=AOvVaw38wQ
   JwnmP5fFftiyYkNjSG (accessed December 16, 2022).


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   personalized emojis, 4.) Corporate funds were used to purchase homes and personal items for

   employees, and 5.) A lack of books and records and the absence of lasting records of decision-

   making.

          199.     It is hard to imagine that anyone who has done business with FTX, including paid

   endorsers, would not have personally witnessed one or more of the deficiencies identified by Mr.

   Ray. All FTX endorsers have extensive business dealings beyond FTX and surely would be able

   to identify business practices that are unusually problematic. Of course, the same can be said for

   prominent venture capital (VC) firms that invested in FTX. But these investors are in the business

   of taking risk and VC firms have an incentive to conduct limited due diligence lest they become

   known as unfriendly to founders and get locked out of future deals. The same “founder friendly”

   dynamics played a role in lapse due diligence at WeWork and Theranos.

          200.     Furthermore, customers were not opting to use FTX because of who their investors

   were. Instead, many customers relied on the testimonials of paid celebrity endorsers and these

   celebrities knew why they were being compensated. Indeed, the whole point behind paying

   celebrities to endorse a product is to increase sales. Thus, celebrities have a moral and legal

   obligation to know that what they are promoting is unlikely to cause physical or financial damage

   to customers.

          201.     In addition to the conduct of Defendant Sam Bankman-Fried, as described in this

   Complaint, some of the biggest names in sports and entertainment have either invested in FTX or

   been brand ambassadors for the company. A number of them hyped FTX to their social media

   fans, driving retail consumer adoption of the Deceptive FTX Platform.




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          202.     In April 2021, FTX became the first company in the crypto industry to name an

   arena. This helped lend credibility and recognition to the FTX brand and gave the massive fanbase

   of basketball exposure to the Deceptive FTX Platform.

          203.     FTX’s explanation for using stars like Brady, Bunchden, and the other Defendants

   was no secret. “We’re the newcomers to the scene,” said then-FTX.US President Brett Harrison,

   referring to the crypto services landscape in the U.S. “The company needs to familiarize consumers

   with its technology, customer service and offerings, while competing with incumbents like

   Coinbase Global Inc. or Kraken,” Mr. Harrison said. “We know that we had to embark on some

   kind of mass branding, advertising, sponsorship type work in order to be able to do that,” he said. 126

          204.     In other words, the FTX Entities needed celebrities like Defendants to continue

   funneling investors into the FTX Ponzi scheme, and to promote and substantially assist in the sale

   of the YBAs, which are unregistered securities. Below are representative statements and

   advertisements Defendants made to drive the offers and/or sales of the YBAs, which Plaintiff and

   Class Members will supplement as the case progresses and discovery unfolds.

                 i.   Defendants Tom Brady and Gisele Bundchen




   126
               https://www.wsj.com/articles/tom-brady-and-gisele-bundchen-to-star-in-20-million-
   campaign-for-crypto-exchange-11631116800?mod=article_inline (accessed December 16, 2022).


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           205.    The star quarterback and the businesswoman and model, then a couple, became

   FTX ambassadors last year. They also took equity stakes in FTX Trading Ltd.

           206.    Mr. Brady and Ms. Bündchen also joined the company’s $20-million ad campaign

   in 2021. They filmed a commercial called “FTX. You In?” showing them telling acquaintances to

   join      the       FTX       platform.       The       ad       can       be       viewed     here:

   https://www.youtube.com/watch?v=uymLJoKFlW8

           207.    In a second commercial, Brady is shown executing a trade on the FTX platform on

   his cellular phone. Brady explains, “I mean trading crypto. FTX is the safest and easiest way to

   buy and sell crypto. It’s the best way to get in the game.”

           208.    In a third commercial, FTX is again depicted using the FTX platform on his cellular

   phone while walking off a football field. A man asks, “FTX, that’s the crytpo app right?” Brady

   responded, “Now its for all kinds of investing. It’s better. And I like better.”

           209.    None of these three commercials disclose the fact that Mr. Brady was a paid brand

   ambassador for FTX or that he owned equity in FTX Trading Ltd.

           210.    The          commercials              may          be           viewed         here:

   https://www.youtube.com/watch?v=_aCGMyrFn-8. The shorter version of the first commercial

   which       aired      during       the      Superbowl         may        is       available   here:

   https://www.youtube.com/watch?v=4p4z2wsjhmM.




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                    ii.   Defendant Kevin O’Leary




             211.     “Mr. Wonderful,” both a brand ambassador and an FTX shareholder, made several

   public statements designed to induce consumers to invest in the YBAs.

             212.     “To find crypto investments opportunities that met my own rigorous standards of

   compliance, I entered into this relationship with @FTX_Official,” Mr. O’Leary said on

   Twitter last year. Mr. O’Leary recently deleted the tweet.

             213.     He also served as a judge for the FTX Charity Hackathon in Miami in March of

   2022. 127

             214.     And very recently, on October 12, 2022, O’Leary stated confidently that FTX was

   totally compliant and a safe place to hold assets. O’Leary stated that: “I have to disclose I’m a paid

   spokesperson to a FTX and shareholder there, too, cause we mentioned him and I’m a big advocate

   for Sam because he has two parents who are compliance lawyers. If there’s ever a place I could be


   127
         https://ftxcharityhackathon.com/ (accessed December 16, 2022).


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   that I’m not gonna get in trouble it’s going to be in FTX so you know that’s there they’re great

   people but he gets the job in compliance which is why he’s working so hard to get regulation.” 128




               215.      He went on to state that “[t]here are a lot of signs right now that point to things

   looking bad. Crypto has taken a big hit and investors are wondering if things will turn around. If

   you follow history and the pattern of things, you know that this is RIGHT ON TRACK and we’ll

   soon see a resurgence with crypto. Do you think we’re entering a Bullish period? Let me know in

   the comments!” 129

                      iii.   Defendant Udonis Haslem




   128
      See https://www.youtube.com/watch?v=iwD_zWgyUz8 beginning at 17:32 (accessed
   December 16, 2022)
   129
         Id.


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          216.      Udonis Haslem, the Captain of the Miami HEAT and Miami legend, became an

   FTX global ambassador. Much like Brady and Bunchden, Haslem starred in FTX’s “You In,

   Miami?” ad campaign that launched at the start of the 2021 - 2022 Miami HEAT season.

          217.     In         the       ad,            which          be          viewed          here:

   https://www.youtube.com/watch?v=83FDP53yPa8, Haslem states “FTX has arrived in 305. So I

   just got one question: Are you in, Miami?” Others respond “If he’s in, I’m in.” Haslem concludes

   “Our city. Our team. FTX. You in, Miami?”

                 iv.    Defendant David Ortiz




          218.      Defendant David Ortiz, who became an FTX brand ambassador and hyped the

   YBAs in exchange for cryptocurrency and multiple collections of NFTs, also ran his own FTX

   “You In?” ad, which began running nationwide during the first game of the 2021 World Series.

   In the ad, which can be found here: https://www.ispot.tv/ad/qSlm/ftx-big-papi-is-in, Ortiz is

   watching a game on the television when he receives a phone call from The Moon. Inspired by the

   “moonblast” home run scored on the field, The Moon frantically tells David about opportunities


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   to get into cryptocurrency with FTX. David decides it’s an offer he can’t refuse and joins fellow

   sports stars Stephen Curry and Tom Brady on the platform. FTX announces it is the official crypto

   exchange of MLB.

                   v.    Defendant Steph Curry




            219.     Defendant Stephen Curry had his own nationwide ad campaign pushing the

   Deceptive FTX Platform, known as the “#notanexpert” campaign. 130 Throughout the ad, Curry

   repeatedly denies being cast as an expert in cryptocurrency, culminating in his statement that “I’m

   not an expert, and I don’t need to be. With FTX I have everything I need to buy, sell, and trade

   crypto safely.” 131

            220.     The purpose of Curry being an ambassador is to expand the reach of the crypto firm

   and “tout the viability of cryptocurrency to new audiences around the world,” FTX said in a press




   130
         https://www.youtube.com/watch?v=gsy2N-XI04o (accessed December 16, 2022).
   131
         Id.


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   release. 132 In other words, to drive adoption of the Deceptive FTX Platform and to facilitate the

   sales of unregistered YBAs to unsuspecting and unwitting retail consumers.

          221.      “I’m excited to partner with a company that demystifies the crypto space and

   eliminates the intimidation factor for first-time users,” Curry said in the statement, highlighting

   that “first-time,” inexperienced users were the intended targets of the campaign. 133

                 vi.   Defendant Golden State Warriors




          222.      The Golden State Warriors and FTX officially launched their partnership in 2022

   with the unveiling of the FTX logo on the court at the Chase Center. As the Warriors’ Official

   Cryptocurrency Platform and NFT Marketplace, the franchise dropped NFTs on FTX.us beginning

   in early 2022. The partnership between the Warriors and FTX marked the first international rights




   132
           https://www.prnewswire.com/news-releases/nba-superstar-stephen-curry-becomes-global-
   ambassador-and-shareholder-of-leading-cryptocurrency-exchange-ftx-through-long-term-
   partnership-301370497.html (accessed December 16, 2022).
   133
       Id.


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   partner for the Warriors, meaning the GSW and FTX had a visible market presence, inclusive of

   logo and likeness, internationally.

            223.   The deal also included the Warriors’ G League team, the Golden Guardians and

   Warriors Gaming Squad (affiliated esports teams), in-arena signage at Chase Center, and virtual

   floor signage at Warriors games. 134

                vii.   Defendant Shaquille O’Neal




   134
         https://www.instagram.com/p/CYiBaq8JLx7/ (accessed December 16, 2022).


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          224.    Defendant Shaquille O’Neal, former professional NBA basketball star, sports

   analyst, and entrepreneur, also became an FTX ambassador, stating in a video posted on FTX’s

   Twitter account that “I’m excited to be partnering with FTX to help make crypto accessible for

   everyone. I’m all in. Are you?” 135

              viii.   Defendant Trevor Lawrence




          225.    Defendant William Trevor Lawrence, the first pick in the 2021 NFL draft and now

   quarterback for the Jacksonville Jaguars of the NFL, became a brand ambassador for FTX in

   exchange for unspecified cryptocurrency payments, which sponsorship was announced in April


   135

   https://twitter.com/FTX_Official/status/1532119977381208066?s=20&t=5wTm55FDE6c0cCD9
   vCndYg (accessed December 16, 2022).


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   2021. 136 The stated purpose of the sponsorship was because “Trevor is someone people can have

   a personal and human connection with for [FTX] and to the crypto space.” 137

                 ix.   Defendant Shohei Ohtani




          226.     The FTX Entities entered into a long-term partnership with global icon and history-

   making MLB Superstar Shohei Ohtani. In addition to being an FTX global ambassador, Mr. Ohtani

   received all of his compensation in equity and cryptocurrencies. 138 In exchange for those


   136
       https://twitter.com/ftx_app/status/1386667859393253376 (accessed December 16, 2022).
   137
       https://www.forbes.com/sites/chriscason/2021/04/26/trevor-lawrence-makes-first-investment-
   move-with-first-of-its-kind-partnership-with-blockfolio/?sh=7190ee6f47ef (accessed December
   16, 2022).
   138
        https://www.prnewswire.com/news-releases/mlb-superstar-shohei-ohtani-joins-ftx-as-global-
   ambassador-through-long-term-partnership-301425911.html (accessed December 16, 2022).


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   unspecified payments, Mr. Ohtani served as a spokesperson for FTX to increase awareness of the

   Deceptive FTX Platform and to drive adoption of and investments in the unregistered YBA

   securities on a global scale through a variety of initiatives. 139

                  x.   Defendant Naomi Osaka




           227.     Defendant Naomi Osaka, a 24-year-old professional tennis player and four-time

   Grand Slam singles champion, became a brand ambassador for FTX, with the express purpose of

   “getting more women to start investing in crypto.” 140 Osaka wore the FTX logo on the kit she wore

   at tournaments, including the 2022 Miami Open. 141 In exchange for an equity stake in FTX and

   payments in unspecified amounts of cryptocurrency, Osaka directed and produced content in

   association with the FTX Entities designed to promote the offer and sale of the unregistered YBA

   securities, hoping “she will reach a global audience.” 142




   139
       Id.
   140
        https://coinmarketcap.com/alexandria/article/naomi-osaka-tennis-star-teams-up-with-ftx-and-
   she-s-getting-paid-in-crypto-too (accessed December 16, 2022).
   141
       Id.
   142
       Id.


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          228.      Osaka confirmed her involvement by tweeting a glitzy new FTX ad to her 1.1

   million followers, which can be viewed here: https://youtu.be/pkuf8avR50k. It shows the tennis

   star competing in a comic strip — and over dramatic music, she says: “They thought they made

   the rules for us. They thought they could control us. They were wrong.”

          229.      The video then cuts to a boardroom full of marketing executives talking about the

   ad in a tongue-in-cheek way — and discussing other ideas… including Osaka heading to the moon.

   An idea to have a QR code bouncing around the screen (a clear nod to Coinbase’s Super Bowl

   spot) is dismissed for being “boring.”

          230.      They settle on letting Osaka speaking for herself — and play a mock-up of the

   tennis ace giving an interview to a news channel where she says: “I’m Naomi Osaka and I’m proud

   to partner with FTX. Making cryptocurrency accessible is a goal that FTX and I are striving

   towards.” The ad ends with the tagline: “Naomi is in. You in?”

                 xi.   Defendant Larry David




          231.      For his part, the legendary comedian and creator of Seinfeld and Curb Your

   Enthusiasm, Larry David, created an ad for the FTX Entities called “Don’t Miss Out on Crypto,”




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   which aired during the 2022 Super Bowl, making FTX one of the most retweeted brands during

   the Super Bowl, and winning the “Most Comical” honorific from USA Today’s Ad Meter. 143

          232.    The ad—the only Super Bowl commercial David ever appeared in—featured David

   being a skeptic on such historically important inventions as the wheel, the fork, the toilet,

   democracy, the light bulb, the dishwasher, the Sony Walkman, and, of course, FTX, and cautioned

   viewers, “Don’t be like Larry.” The ad can be viewed here: https://youtu.be/BH5-rSxilxo

                                  CLASS ACTION ALLEGATIONS

          233.    As detailed below in the individual counts, Plaintiff brings this lawsuit on behalf of

   himself and all others similarly situated, pursuant to Rule 23(a), (b)(2), (b)(3), and/or (c)(4) of the

   Federal Rules of Civil Procedure.

   A.     Class Definitions

          234.    Plaintiffs seek to represent the following Global Class, Nationwide Class, and

   Florida Subclass (collectively, “the Classes”):

                  (1) Global Class: All persons and entities residing outside of the

                      United States who, within the applicable limitations period,

                      purchased or enrolled in a YBA.

                  (2) Nationwide Class: All persons or entities in the United States

                      who, within the applicable limitations period, purchased or

                      enrolled in a YBA.




   143
            https://admeter.usatoday.com/lists/usa-today-ad-meter-replay-ratings-2022-final-results/
   (accessed December 16, 2022).


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                  (3) Florida Subclass: All persons or entities in the state of Florida

                      who, within the applicable limitations period, purchased or

                      enrolled in a YBA.

   Excluded from the Classes are Defendants and their officers, directors, affiliates, legal

   representatives, and employees, the FTX Entities and their officers, directors, affiliates, legal

   representatives, and employees, any governmental entities, any judge, justice, or judicial officer

   presiding over this matter and the members of their immediate families and judicial staff.

          235.    Plaintiffs reserve the right to modify or amend the definition of the proposed

   Classes, or to include additional classes or subclasses, before or after the Court determines whether

   such certification is appropriate as discovery progresses. Plaintiffs seek certification of the Classes

   in part because all offers of FTX YBAs to Plaintiffs and the Class Members (in which Defendants

   each substantially participated) were made by FTX from their principal place of business in Miami,

   Florida, and thus every single offer to sell an FTX YBA stems from a transactional occurrence that

   emanated from the State of Florida.

   B.     Numerosity

          236.    The Classes are comprised of thousands, if not millions, of consumers globally, to

   whom FTX offered and/or sold YBAs. Moreover, thousands, if not millions, of consumers

   worldwide have executed trades on the FTX Platform within the applicable limitations period.

   Membership in the Classes are thus so numerous that joinder of all members is impracticable. The

   precise number of class members is currently unknown to Plaintiffs but is easily identifiable

   through other means, such as through FTX’s corporate records or self-identification.




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   C.     Commonality/Predominance

          237.    This action involves common questions of law and fact, which predominate over

   any questions affecting individual class members. These common legal and factual questions

   include, but are not limited to, the following:

              (a) whether the YBAs were unregistered securities under federal or Florida law;

              (b) whether Defendants’ participation and/or actions in FTX’s offerings and sales of

                  YBAs violate the provisions of the Securities Act and Florida securities law.

              (c) the type and measure of damages suffered by Plaintiffs and the Class.

              (a) whether Defendants’ practices violate the FDUTPA;

              (b) whether Plaintiffs and Class members have sustained monetary loss and the proper

                  measure of that loss;

              (c) whether Plaintiffs and Class members are entitled to injunctive relief;

              (d) whether Plaintiffs and Class members are entitled to declaratory relief; and

              (e) whether Plaintiffs and Class members are entitled to consequential damages,

                  punitive damages, statutory damages, disgorgement, and/or other legal or equitable

                  appropriate remedies as a result of Defendants’ conduct.

   D.     Typicality

          238.    Plaintiffs’ claims are typical of the claims of the members of the Classes because

   all members were injured through the uniform misconduct described above, namely that Plaintiffs

   and all class members were offered and/or sold FTX’s YBAs because of Defendants’ actions

   and/or participation in the offering and sale of these unregistered securities, and Plaintiffs are

   advancing the same claims and legal theories on behalf of themselves and all such members.

   Further, there are no defenses available to any Defendant that are unique to Plaintiffs.




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   E.     Adequacy of Representation

          239.    Plaintiffs will fairly and adequately protect the interests of the members of the

   Class. Plaintiffs have retained counsel experienced in complex consumer class action litigation,

   and Plaintiffs intend to prosecute this action vigorously. Plaintiffs have no adverse or antagonistic

   interests to those of the Classes. Plaintiffs anticipate no difficulty in the management of this

   litigation as a class action. To prosecute this case, Plaintiffs have chosen the undersigned law firms,

   which have the financial and legal resources to meet the substantial costs and legal issues

   associated with this type of consumer class litigation.

   F.     Requirements of Fed. R. Civ. P. 23(b)(3)

          240.    The questions of law or fact common to Plaintiffs’ and each Class member’s claims

   predominate over any questions of law or fact affecting only individual members of the Classes.

   All claims by Plaintiffs and the unnamed members of the Classes are based on the common course

   of conduct by Defendants (1) in marketing, offering, and/or selling the YBAs, which are

   unregistered securities, and/or (2) in receiving secret undisclosed compensation for their

   promotion of the Deceptive FTX Platform.

          241.    Common issues predominate when, as here, liability can be determined on a class-

   wide basis, even when there will be some individualized damages determinations.

          242.    As a result, when determining whether common questions predominate, courts

   focus on the liability issue, and if the liability issue is common to the Classes as is in the case at

   bar, common questions will be held to predominate over individual questions.

   G.     Superiority

          243.    A class action is superior to individual actions for the proposed Classes, in part

   because of the non-exhaustive factors listed below:




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              (a) Joinder of all Class members would create extreme hardship and inconvenience for

                  the affected customers as they reside nationwide and throughout the state;

              (b) Individual claims by Class members are impracticable because the costs to pursue

                  individual claims exceed the value of what any one Class member has at stake. As

                  a result, individual Class members have no interest in prosecuting and controlling

                  separate actions;

              (c) There are no known individual Class members who are interested in individually

                  controlling the prosecution of separate actions;

              (d) The interests of justice will be well served by resolving the common disputes of

                  potential Class members in one forum;

              (e) Individual suits would not be cost effective or economically maintainable as

                  individual actions; and

              (f) The action is manageable as a class action.

   H.     Requirements of Fed. R. Civ. P. 23(b)(2)

          244.    Defendants have acted and refused to act on grounds generally applicable to the

   Classes by engaging in a common course of conduct of aiding and abetting the offering and/or

   selling the YBAs, which are unregistered securities, thereby making appropriate final injunctive

   relief or declaratory relief with respect to the classes as a whole.

          245.    Defendants have acted and refused to act on grounds generally applicable to the

   Classes by engaging in a common course of conduct of uniformly identical and uniform

   misrepresentations and omissions in receiving secret undisclosed compensation for their

   promotion of the Deceptive FTX Platform, thereby making appropriate final injunctive relief or

   declaratory relief with respect to the classes as a whole.




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   I.     Requirements of Fed. R. Civ. P. 23(c)(4)

          246.    As it is clear that one of the predominant issues regarding Defendants’ liability is

   whether the YBAs FTX offered and/or sold are unregistered securities, utilizing Rule 23(c)(4) to

   certify the Class for a class wide adjudication on this issue would materially advance the

   disposition of the litigation as a whole.

          247.    As it is clear that another predominant issue regarding Defendants’ liability is

   whether they have violated the consumer protection and securities laws of Florida in making

   identical and uniform misrepresentations and omissions regarding the functionality of the

   Deceptive FTX Platform, and/or in receiving secret undisclosed compensation for their promotion

   of the Deceptive FTX Platform, utilizing Rule 23(c)(4) to certify the Classes for a class wide

   adjudication on this issue would materially advance the disposition of the litigation as a whole.

   J.     Nature of Notice to the Proposed Class.

          248.    The names and addresses of all Class Members are contained in the business

   records maintained by FTX and are readily available to FTX. The Class Members are readily and

   objectively identifiable. Plaintiffs contemplate that notice will be provided to Class Members by

   e-mail, mail, and published notice.




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                                               COUNT ONE

                            Violations of the Florida Statute Section 517.07,
                           The Florida Securities and Investor Protection Act
                          (Plaintiffs Individually and on behalf of the Classes)

           249.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–248 above,

   as if fully set forth herein.

           250.    Section 517.07(1), Fla. Stat., provides that it is unlawful and a violation for any

   person to sell or offer to sell a security within the State of Florida unless the security is exempt

   under Fla. Stat. § 517.051, is sold in a transaction exempt under Fla. Stat. § 517.061, is a federally

   covered security, or is registered pursuant to Ch. 517, Fla. Stat.

           251.    Section 517.211 extends liability to any “director, officer, partner, or agent of or

   for the seller, if the director, officer, partner, or agent has personally participated or aided in making

   the sale, is jointly and severally liable to the purchaser in an action for rescission, if the purchaser

   still owns the security, or for damages, if the purchaser has sold the security.”

           252.    The YBA is a security pursuant to Fla. Stat. § 517.021(22)(a).

           253.    The YBAs sold and offered for sale to Plaintiff and Class members were not:

               a. exempt from registration under Fla. Stat. § 517.051;

               b. a federal covered security;

               c. registered with the Office of Financial Regulations (OFR); or

               d. sold in a transaction exempt under Fla. Stat. § 517.061.

           254.    The FTX Entities sold and offered to sell the unregistered YBAs to Plaintiffs and

   the members of the Class.

           255.    Defendants are directors, officers, partners and/or agents of the FTX Entities

   pursuant to Fla. Stat. § 517.211.




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           256.    The FTX Entities, with Defendants’ material assistance, offered and sold the

   unregistered YBAs to Plaintiffs and the members of the Class. As a result of this assistance,

   Defendants violated Fla. Stat. § 517.07 et seq. and Plaintiffs and members of the Class sustained

   damages as herein described.

                                             COUNT TWO

              For Violations of the Florida Deceptive and Unfair Trade Practices Act,
                                 § 501.201, Florida Statutes, et seq.
                       (Plaintiffs Individually and on behalf of the Classes)

           257.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–248 above,

   as if fully set forth herein.

           258.    This cause of action is brought pursuant to the Florida Deceptive and Unfair Trade

   Practices Act, section 501.201, Fla. Stat., et seq. (“FDUTPA”). The stated purpose of the FDUTPA

   is to “protect the consuming public . . . from those who engage in unfair methods of competition,

   or unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or commerce.”

   § 501.202(2), Fla. Stat.

           259.    Plaintiffs and Class members are consumers as defined by section 501.203, Fla.

   Stat. Defendants are engaged in trade or commerce within the meaning of the FDUTPA.

           260.    Florida Statute section 501.204(1) declares unlawful “[u]nfair methods of

   competition, unconscionable acts or practices, and unfair or deceptive acts or practices in the

   conduct of any trade or commerce.”

           261.    Defendants’ unfair and deceptive practices as described herein are objectively

   likely to mislead – and have misled – consumers acting reasonably in the circumstances.




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             262.   Defendants have violated the FDUTPA by engaging in the unfair and deceptive

   practices as described herein, which offend public policies and are immoral, unethical,

   unscrupulous and injurious to consumers.

             263.   Plaintiffs and consumers in the Classes have been aggrieved by Defendants’ unfair

   and deceptive practices and acts of false advertising by paying into the Ponzi scheme that was the

   Deceptive FTX Platform and in the amount of their lost investments.

             264.   The harm suffered by Plaintiffs and consumers in the Classes was directly and

   proximately caused by the deceptive and unfair practices of Defendants, as more fully described

   herein.

             265.   Pursuant to sections 501.211(2) and 501.2105, Fla. Stat., Plaintiffs and consumers

   in the Classes make claims for actual damages, attorneys’ fees and costs.

             266.   Defendants still utilize many of the deceptive acts and practices described above.

   Plaintiffs and the other members of the Classes have suffered and will continue to suffer irreparable

   harm if Defendants continue to engage in such deceptive, unfair, and unreasonable practices.

   Section 501.211(1) entitles Plaintiffs and the Classes to obtain both declaratory or injunctive relief

   to put an end to Defendants’ unfair and deceptive scheme.




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                                            COUNT THREE

                                             Civil Conspiracy
                          (Plaintiffs Individually and on behalf of the Classes)

           267.    Plaintiffs repeat and re-allege the allegations contained in paragraphs 1–248 above,

   as if fully set forth herein.

           268.    The FTX Entities and Defendants made numerous misrepresentations and

   omissions to Plaintiffs and Class Members about the Deceptive FTX Platform in order to induce

   confidence and to drive consumers to invest in what was ultimately a Ponzi scheme, misleading

   customers and prospective customers with the false impression that any cryptocurrency assets held

   on the Deceptive FTX Platform were safe and were not being invested in unregistered securities.

           269.    The FTX Entities entered into one or more agreements with Defendants with the

   purpose of making these misrepresentations and/or omissions to induce Plaintiff and consumers to

   invest in the YBAs and/or use the Deceptive FTX Platform.

           270.    Defendants engaged in unlawful acts with the FTX Entities, namely, the

   misrepresentations and omissions made to Plaintiffs and the Classes and the sale of unregistered

   securities.

           271.    Defendants’ conspiracy substantially assisted or encouraged the wrongdoing

   conducted by the FTX Entities; further, Defendants had knowledge of such fraud and/or

   wrongdoing, because of their experience and relationship with the FTX Entities, as described

   above and as such, knew that the representations made to Plaintiffs were deceitful and fraudulent.

           272.    Defendants’ conspiracy with the FTX Entities to commit fraud caused damages to

   Plaintiffs and the Classes in the amount of their lost investments.




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                                               COUNT FOUR

                                           Declaratory Judgment
                      (Declaratory Judgment Act, Florida Statutes §§ 86.011 et seq.)
                            (Plaintiffs Individually and on behalf of the Classes)

           273.       Plaintiffs reallege and incorporate by reference the allegations contained in

   paragraphs 1–248 as if fully set forth herein.

           274.       This Count is asserted against Defendants under Florida Statutes §§ 86.011, et seq.

           275.       There is a bona fide, actual, present and practical need for the declaratory relief

   requested herein; the declaratory relief prayed for herein deal with a present, ascertained or

   ascertainable state of facts and a present controversy as to a state of facts; contractual and statutory

   duties and rights that are dependent upon the facts and the law applicable to the facts; the parties

   have an actual, present, adverse and antagonistic interest in the subject matter; and the antagonistic

   and adverse interests are all before the Court by proper process for final resolution.

           276.       Plaintiffs and the members of the Classes have an obvious and significant interest

   in this lawsuit.

           277.       Plaintiffs and members of the Classes purchased YBAs, based in part on justifiable

   reliance on the Defendants’ misrepresentations and omissions regarding the Deceptive FTX

   Platform as further described hereinabove.

           278.       If the true facts had been known, including but not limited to that the YBAs are

   unregistered securities, the Deceptive FTX Platform does not work as represented, and Defendants

   were paid exorbitant sums of money to peddle Voyager to the nation, Plaintiffs and the Classes

   would not have purchased YBAs in the first place.

           279.       Thus, there is a justiciable controversy over whether the YBAs were sold illegally,

   and whether the Defendants illegally solicited their purchases from Plaintiff and the Class.


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          280.   Plaintiff and the Class seek an order declaring that the YBAs were securities

   required to be registered with the SEC and state regulatory authorities, that the Deceptive FTX

   Platform did not work as represented, and Defendants were paid exorbitant sums of money to

   peddle FTX to the nation.

                                       PRAYER FOR RELIEF

   WHEREFORE, Plaintiffs pray for a judgment on behalf of themselves and the Classes:

          a.     Certifying the Class as requested herein;

          b.     Awarding actual, direct and compensatory damages;

          c.     Awarding restitution and disgorgement of revenues if warranted;

          d.     Awarding declaratory relief as permitted by law or equity, including declaring the

                 Defendants’ practices as set forth herein to be unlawful;

          e.     Awarding injunctive relief as permitted by law or equity, including enjoining the

                 Defendants from continuing those unlawful practices as set forth herein, and

                 directing the Defendants to identify, with Court supervision, victims of their

                 conduct and pay them all money they are required to pay;

          f.     Awarding statutory and multiple damages, as appropriate;

          g.     Awarding attorneys’ fees and costs; and

          h.     Providing such further relief as may be just and proper.

                                    DEMAND FOR JURY TRIAL

          Plaintiffs hereby demand a jury trial as to all claims so triable.




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   Dated: December 16, 2022                     Respectfully submitted,

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                                               Co-Counsel for Plaintiff and the Class




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                           Matter: FTX Exchange

                       Written By: Paul Sibenik

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     Introduction
        1. In accordance with instructions from Moskowitz Law Firm, PLLC, I have been
           instructed to prepare a preliminary expert report surrounding FTX Exchange,
        2. More specifically, I have been asked to provide a preliminary opinion on FTX ‘Earn’
           accounts, FTT Token, and FTX Exchange in general, as well as the risks that could
           affect consumers inherent in them. I have furthermore been asked to provide a
           technical opinion assessing if or how FTX Earn accounts meet the Howey Test.
        3. I am the Lead Case Manager at CipherBlade, a leading blockchain forensics and
           cybercrime investigative firm which consults with blockchain projects, numerous
           police, law enforcement and regulatory agencies around the world, including the US
           FBI and US Secret Service, cryptocurrency exchanges, and other organizations. Other
           CipherBlade staff and I have experience in some of the most high-profile
           cryptocurrency investigations to date in relation to a wide range of niches including
           but not limited to cases involving hacking, theft, SIM-Swapping, ransomware,
           different types of frauds and scams (e.g., involving ICOs, NFTs, investment fraud,
           Ponzi Schemes), ‘rugpulls,’ embezzlement, as well as civil matters such as divorce
           cases and bankruptcy cases. I am recognized as one of the few experts in blockchain
           forensics and cryptocurrency cybercrime investigation. This work regularly requires
           the analysis of cryptocurrency transactions, wallets and addresses, alongside gathering
           and analyzing other data sources.
        4. I regularly use blockchain forensics software to assist me in blockchain investigations.
           My usage of blockchain forensics software in this matter, has, thus far been extremely
           minimal. However, I expect blockchain forensics to play a more important role in this
           matter as this case develops and disclosures are obtained. For reference, however, I
           primarily utilize Chainalysis Reactor, which is the leading blockchain forensics
           software available and is utilized by various law enforcement agencies around the
           world, including the FBI, USSS, DHS, and DEA in the United States. Chainalysis
           Reactor helps professionals to better understand the flow of funds on assets on
           supported blockchains. It helps to aggregate and manage large amounts of transaction
           data and addresses to make the data more parsable. It helps professionals like me to
           better understand which addresses are under the control of the same individuals or
           entities, and for addresses that are under the control of a service or exchange, it is
           often able to identify the name of that service or exchange. Furthermore, Chainalysis
           Reactor also provides Open-Source Intelligence (OSINT) on various cryptocurrency
           addresses, which can help investigators understand what those addresses may be


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           associated with or can provide additional context in situations. I have a Chainalysis
           Reactor Certification (CRC), which is a certification offered by Chainalysis to certify
           knowledge and understanding of their Reactor forensics tool. I also have the
           Chainalysis Investigation Specialist Certification (CISC), an additional certification by
           Chainalysis designed specifically for the most advanced Reactor users, which dives
           deep into advanced investigative techniques and obfuscation approaches sometimes
           used by individuals trying to launder ill-gotten cryptocurrency. I furthermore have the
           Chainalysis Ethereum Investigations Certification (CEIC), a certification program
           focused on Ethereum, as well as other EVM (Ethereum virtual machine)-compatible
           cryptocurrencies.
        5. Additionally, a large portion of my work involves consulting with blockchain
           companies in various capacities pertaining to preventative measures they can or should
           take to reduce risks and mitigate the amount of cybercrime that their company is
           exposed to. This involves consulting on security practices, including those pertaining
           to cryptocurrency storage and management. This also involves consulting on matters
           of compliance so as to significantly mitigate the likelihood and/or frequency of ill-
           gotten funds being laundered through their service and reduce the amount of various
           types of fraud, including investment scams, romance scams, impersonation scams, and
           money muling.
        6. A copy of my CV is attached in Appendix A.
        7. This is a preliminary report and is subject to change. I reserve the right to amend the
           views expressed in this report should or when additional information be uncovered or
           presented to me.
        8. Prior to accepting instructions to act in this matter, I made reasonable inquiries to
           identify any actual or potential conflicts of interest in connection with the parties
           concerned. No matters arose.

     A Primer on Cryptocurrency Exchanges
        9. Before delving into the issues at hand, I think it’s first pertinent to provide some
            background information on what cryptocurrency exchanges are, what purpose they
            serve, and how they operate, in relation to the matter at hand.
        10. In many ways, centralized cryptocurrency exchanges, including FTX, are analogous to
            banks albeit for the cryptocurrency industry.
        11. More specifically, cryptocurrency exchanges accept deposits of cryptocurrency, and
            often fiat currency on behalf of their customers. Once that cryptocurrency is received
            by the exchange then it has dominion and control over those assets.

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        12. The exchange then credits the applicable customer account with the appropriate
            amount of cryptocurrency or fiat assets the exchange received. This credit can be
            regarded as a liability or IOU of the exchange to its customer.
        13. If, for example, cryptocurrency was deposited to the customer’s exchange account, the
            customer could then take that credit received from the exchange, and:
                 a) Trade it for another cryptocurrency
                 b) Trade it for fiat currency
                 c) Leave it as a balance on the exchange account (leaving an open liability of the
                     exchange to the customer)
                 d) Withdraw it (withdrawal could be done prior to or after a trade or conversion)

            These things could be done in whole or in part. Ledger entries would (and should) be
            made internally by the exchange to account for changes in positions and applicable
            balances.
        14. The exchange accounts should very much be regarded as being custodial in nature.
            This means that the customer does not control access to the assets ‘in’ their account.
            The customer needs to make a request to the exchange to be able to access and send
            those balances. The exchange then debits the user account and sends the assets.
            Whether or not such requests are processed are dependent on the willingness, ability,
            and approval of the exchange.
        15. One major factor the affects the exchange’s ability to process such requests is whether
            or not they have the assets and/or capital necessary to do so.
        16. For any non-yield-bearing account, this shouldn’t be a problem, since exchanges
            should have enough assets in custody for the benefit of their customers to cover their
            liabilities to their customers, and on a 1:1 basis. FTX’s terms of service seems to
            guarantee this, although FTX clearly violated their own terms of service:

                   “Title to your Digital Assets shall at all times remain with you and shall not
                   transfer to FTX Trading. As the owner of Digital Assets in your Account,
                   you shall bear all risk of loss of such Digital Assets. FTX Trading shall
                   have no liability for fluctuations in the fiat currency value of Digital Assets
                   held in your Account.”

                   “None of the Digital Assets in your Account are the property of, or shall or
                   may be loaned to, FTX Trading; FTX Trading does not represent or treat
                   Digital Assets in User’s Accounts as belonging to FTX Trading.”



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                        “You control the Digital Assets held in your Account. At any time, subject
                        to outages, downtime, and other applicable policies (including the
                        Terms), you may withdraw your Digital Assets by sending them to a
                        different blockchain address controlled by you or a third party.”1

           17. While FTX violated their own terms of service, it’s would also have been true that
               some of these claims would have been demonstrably false to begin even if there was
               hypothetically no wrongdoing on the part of FTX. This is because FTX exchange
               accounts (or any exchange account with any centralized custodial exchange, including
               Coinbase for example) are custodial in nature. This means that the customer does not
               control access to the assets ‘in’ their account. The customer needs to make a request to
               the exchange to be able to access and send those balances. It is very much the
               exchange that controls the assets, not their customer. However, it should also be noted
               that the digital assets aren’t technically ‘in’ the account at all. At a technical level, an
               exchange account cannot hold or store cryptocurrency. The account stores a record of
               a liability or an IOU to the exchange’s customer. When a user purchases
               cryptocurrency on an exchange, they aren’t technically purchasing that
               cryptocurrency; they are purchasing an IOU for that cryptocurrency. Because this
               concept of buying and storage can be difficult to understand, it’s somewhat common
               for newcomers to associate such IOUs as being the same as storing cryptocurrency
               assets ‘on’ their account, even though it’s not technically true.
           18. With any yield-bearing account, it could generally be expected for an exchange to take
               those customers and leverage, loan or invest them in some way, and hopefully receive
               enough assets back to be able to pay out their customers back their principal, in
               addition to yield or interest earned, when applicable customers attempt to redeem or
               withdraw those funds.
           19. While the existence of such loans associated with assets deposited to yield-bearing
               accounts was known, the substantial risks associated with such loans, and by extension
               the yield-bearing accounts in general was not adequately represented, for reasons I
               will demonstrate later in this report.
           20. The main functional differences between banks and cryptocurrency exchanges is such
               that exchanges are largely unregulated, and that exchanges (and by extension
               exchange accounts and the users who use them) are subject to a lot of additional risks
               compared to that of a bank account.


     1
         https://help.ftx.com/hc/article_attachments/9719619779348/FTX_Terms_of_Service.pdf

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        21. Banks are, of course, subject to a variety of capital control requirements to ensure
            protection of consumer assets. Banks are regulated with regards to the type of assets
            that they can investment customer assets in. Banks are subject to regular financial
            audits. Banks have regulatory oversight to ensure the protection of consumer assets.
            And of course, bank accounts have FDIC insurance so that bank account holders have
            coverage in case a bank, despite such measures, becomes insolvent.
        22. Exchanges on the other hand, are not subject to capital control requirements. While
            almost all exchanges will indicate that they ‘securely’ store all customer assets 1:1 in
            ‘cold storage,’ there is no regulatory requirement in most jurisdictions (including the
            US) for exchanges to do so, nor is there any requirement for exchanges to offer any
            transparency regarding their solvency or use of customer assets to regulators or to the
            general public.
        23. Other than by an exchange’s own terms of service (which wasn’t adhered to in this
            case), exchanges are not prevented from whether they invest customer assets
            elsewhere, and if so, what types of investments they enter into, or loans they provide,
            regardless of the inherent level of risk. And exchanges have no requirement to have
            any type of insurance equivalent to FDIC insurance. While some exchanges will
            sometimes claim they have ‘insurance,’ the terms and conditions associated with that
            insurance are typically completely unknown to investors, and often this insurance will
            bear little to no resemblance to FDIC insurance; in essence the term ‘insurance’ is
            used as a marketing ploy to help instill customer confidence in the exchange, even
            when such confidence may not be warranted.
        24. Due to the aforementioned reasons and risks surrounding the lack of regulation, as
            well various types of cybersecurity-related risks that aren’t applicable to banks but are
            critically important for exchanges, cryptocurrency exchanges are generally not and
            should not be considered a ‘safe’ place to store assets, whether cryptocurrency assets
            or fiat assets.
        25. The inherent riskiness associated with storing assets on a cryptocurrency exchange is
           well-known to the vast majority of well-educated and knowledgeable cryptocurrency
           users. This is evidenced by the frequent expression ‘not your keys, not your coins,’
           essentially meaning that if you don’t control the cryptocurrency in your account, it’s
           not really yours. ‘Your’ cryptocurrency belongs to the exchange if you elect to store it
           ‘on’ the exchange, and if they renege or are unable to fulfill their liability to you, you
           as the beneficial cryptocurrency owner of the cryptocurrency, have effectively lost
           your money.



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           26. This is further referenced by the extensive track record of the many cryptocurrency
               exchanges that have shut down and ultimately failed,2 often in spectacular fashion.
               The most common reasons for an exchange’s failure include:
                  a) The exchange borrowing against customer assets (either to fund business
                       operations or lending them out in an effort to generate a profit) leading to
                       insolvency.
                  b) The exchange trading or leveraging customer assets in an effort to generate a
                       profit, leading to insolvency.
                  c) A hack or theft by an external actor
                  d) Embezzlement, or theft by an internal actor, typically founder(s) of the
                        exchange
                   e) Disappeared suddenly, for no apparent reason (typically taking customer assets
                        with them).
           27. When exchanges do shut down (and this happens relatively frequently) it rarely
               happens in an organized and orderly fashion, and it’s incredibly rare for customers that
               had assets on the exchange to get all their assets back; in many cases, they end up
               getting nothing back.
           28. Suffice to say cryptocurrency exchanges are generally not a safe place to store assets,
               even amongst exchanges that don’t offer a yield-bearing program. When exchanges
               have a yield-bearing program, or otherwise elect to leverage or loan our customer
               assets (with or without customer consent), it significantly increases the risk of the
               exchange failing and becoming insolvent. Cryptocurrency exchanges can do a variety
               of things to minimize such risks and improve safety. However, what an exchange says,
               and what they actually do are two different things entirely. It is common for CEOs and
               executives of exchanges that have failed or in the process of failing to describe their
               exchange as ‘safe,’ ‘secure,’ ‘well-regulated,’ ‘compliant,’ ‘transparent,’ or in a good
               financial position even when the exact opposite is true. FTX was not an exception to
               this trend. One should not assume or believe that an exchange is any of these things
               just because they make such claims.
           29. This is not to suggest that exchanges cannot be a much safer place to store assets.
               They can be with appropriate regulation and oversight. In fact, it appears that for FTX
               Japan3 specifically, those investors will be made whole or almost whole due to
               sensical regulations that were put in place in light of the lessons learned from the


     2
         https://www.cryptowisser.com/exchange-graveyard/
     3
         https://www.coindesk.com/consensus-magazine/2022/12/13/japan-was-the-safest-place-to-be-an-ftx-customer/

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               failures of Mt. Gox and Coincheck exchanges in Japan.


     FTX Earn Program

           30. The FTX Earn program was a yield-bearing account that FTX customers were
               offered.4 It was also offered on FTX.us for US persons.5 The FTX website describes it
               as follows:
                       “You can now earn yield on your crypto purchases and deposits, as well as
                       your fiat balances, in your FTX app! By opting in and participating in staking
                       your supported assets in your FTX account, you’ll be eligible to earn up to 8%
                       APY on your assets.”
           31. The yield that customers were offered is also outlined on the same page – 8% APY
               (Annual percentage yield) for total collective deposits under $10,000 USD equivalent,
               and 5% APY for collective deposits above $10,000 USD up to $100,000 USD, and no
               APY for amounts in excess of $100,000.




           32. FTX’s Earn program is very similar to that of Voyager’s earn program, and programs
               offered by Celsius and Blockfi, all of whom have filed for bankruptcy. The differences


     4
         https://help.ftx.com/hc/en-us/articles/10573545824532-FTX-App-Earn
     5
         http://web.archive.org/web/20221018024940/https://help.ftx.us/hc/en-us/articles/9081464675735-FTX-Earn

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            between these programs are minimal and involve differences in phrasing ‘yield’ vs
            ‘interest’ vs ‘rewards,’ the APY offered, the frequency of payout, and the assets that
            were supported.
        33. The FTX website does not describe how, exactly, FTX will generate the applicable
            yield, and does not indicate what risk factors may be apparent that could result in the
            inability to pay such yield.
        34. The website does suggest term ‘staking’ however as a means of generating yield when
            they indicate that:

                   “By opting in and participating in staking your supported assets in your FTX
                   account”

        35. This naturally gives the impression that their assets would be used for ‘staking’
            without being 100% clear about it.
        36. The word ‘staking’ in the context of cryptocurrency is understood to have a technical
            meaning. ‘Staking’ is associated with a consensus mechanism known as ‘Proof of
            Stake’(PoS) and relatedly, ‘Delegated Proof of Stake,’(dPos) which some
            cryptocurrencies utilize, but many don’t (such as Bitcoin for example, which uses
            ‘Proof of Work’ as a consensus mechanism).
        37. Staking has a similar purpose for cryptocurrencies that utilize PoS and dPoS as what
            ‘miners’ are offered from cryptocurrencies that utilize Proof of Work. Individuals
            involved in staking are responsible for verifying transactions and they used their
            staked assets (instead of sunk costs associated with expenditure of electricity and
            equipment) as a way of guaranteeing the transactions they verify and add onto a
            blockchain are valid. If they try to add an invalid transaction, staked assets are
            typically burned as punishment, which creates a disincentive to act dishonestly or
            maliciously. In exchange for staking, users are awarded compensation accordingly in
            the form of newly issued cryptocurrency.
        38. FTX is not itself a cryptocurrency operating on a PoS model; FTX was an exchange.
            One cannot ‘stake’ assets on an exchange. One can lend them to an exchange though,
            and theoretically, that exchange could then stake select cryptocurrency assets on
            behalf of the user (for cryptocurrencies that have Proof of Stake).
        39. While there is disagreement over whether or not ‘staking’ is itself a security, the issue
            is that FTX did often not ‘stake’ customer assets, and indeed in many cases could not
            stake customer assets since not all cryptocurrencies utilize Proof of Stake. Yet the
            FTX website clearly suggests that ‘all assets’ in the account are subject to applicable


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             yield, including fiat assets (such as USD), which obviously don’t even have a staking
             mechanism if FTX wanted to utilize it.
         40. Rather than ‘staking,’ it appears that a primary thing FTX was doing was lending
             customer assets out, even from applicable that weren’t part of the ‘Earn’ program,
             most notably to Alameda.6 There are allegations that Alameda received loans from
             FTX interest-free.7 Sam Bankman-Fried was a primary equity holder of both
             companies. FTX choosing to lend out assets, whether for free or otherwise, has
             nothing to do with actual staking of cryptocurrency.
         41. The ‘staking,’ described on the FTX is purposely misleading, and not a representation
             of what was being offered. Users were not given the ability to ‘stake’ on FTX. They
             were given the ability to lend to FTX, and FTX would in turn invest and re-lend those
             assets out to questionable entities, on questionable terms, and such loans were not
             appropriately collateralized.
         42. That being said, as it appears that even for users that did not subscribe to the Earn
             program, FTX leveraged and loaned out customer assets anyway to a large degree. It
             furthermore appears that while there were separate legal entities behind ftx.com and
             ftx.us, the two entities may not have been operated all that differently from one
             another, with Sam Bankman-Fried a primary equity holder of each, and just how
             independent the two entities were from each other is very much a matter of concern.
         43. From a securities perspective, the Howey Test defines an investment contract as:
                 a. An investment of money
                        i. Cryptocurrency is a medium of exchange and way of transferring value
                             in a measurable and quantifiable way. It is increasingly used as a means
                             of payment, although it is more commonly used as a speculative
                             investment at this point in time. Whether or not cryptocurrency can be
                             defined as ‘money’ is in part a matter of semantics that can vary based
                             on considers the fundamental features of money to be, and what criteria
                             needs to be achieved in order for something to be considered money.
                             Suffice to say, when examining aspects such as fungibility, durability,
                             portability, divisibility, scarcity, transferability, acting as a medium of
                             exchange, acting as a unit of account, and acting as a store of value, it
                             could be argued that some cryptocurrencies fulfill many of these
                             criterion as good as or even better than fiat currencies.

     6
       https://pacer-documents.s3.amazonaws.com/33/188450/042020648197.pdf
     7
       https://www.cnbc.com/2022/11/13/sam-bankman-frieds-alameda-quietly-used-ftx-customer-funds-without-
     raising-alarm-bells-say-sources.html

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                   b. In a common enterprise
                         i. FTX customer assets are almost always consolidated in wallets
                             operated a controlled by FTX at least initially. These wallets are
                             typically referred to as ‘hot wallets’ or ‘consolidation wallets.’ From
                             these wallets, cryptocurrency can be move to other FTX-controlled
                             wallets, or it can be used to pay back other customers performing
                             withdrawals, but FTX can and did send (and loan) out such assets to
                             other entities, including Alameda Research ‘Alameda.’ The
                             blockchains data contains an immutable and verifiable record of data
                             that shows that FTX customer deposits went into accounts operated by
                             a common enterprise, namely, FTX.
                   c. With the expectation of profit
                        i. FTX customers are promised yield when they participate in the Earn
                             program. And at up to 8% yield, that is a considerable amount that
                             would be considerably in excess to that of a savings account at a bank.
                             But it was also far riskier than investing money in a savings account at
                             a bank. FTX goes out of their way to advertise this yield, and indicate
                             that such earnings are to be calculated on the “investment portfolio”
                             that is stored ‘in’ the FTX app.8
                   d. To be derived from the efforts of others
                        i. The FTX Yield-bearing account was portrayed as passive income
                             stream. A customer needs to do nothing more than ensure they are
                             subscribed to the yield program, and that they have deposited assets (of
                             crypto or even fiat) in order to earn the 5% or 8% yield, which they
                             clearly indicate is counted hourly. There is no further work or action
                             needed on the part of the user.
                       ii. The work that ‘others’ (namely FTX) would need to do would
                             including, at a baseline, sending transactions. But it would also require
                                FTX to make an effort by leveraging and investing the money
                                elsewhere which could theoretically come about either via giving out
                                loans, employing trading strategies, ‘staking,’ making other
                                investments, or giving out loans to entities (such as Alameda) that




     8
         https://help.ftx.com/hc/en-us/articles/10573545824532-FTX-App-Earn

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                          would employ such strategies. The primary strategy that FTX portrayed
                          to investors was ‘staking’ as I discuss in the following paragraphs.

     Importance and Role of Brand Ambassadors

        44. FTX's brand ambassadors and ad campaigns that utilized those brand ambassadors had
            a critical role in portraying FTX as being 'safe' and 'compliant.' In Stephen Curry's
            FTX commercial, FTX's alleged safety is quite blatant stated when he claims

                   “With FTX, I have everything I need to buy, sell, and trade crypto safely”

        45. Kevin O’Leary, another FTX brand ambassador stated:

                   “To find crypto investment opportunities that met my own rigorous standards
                   of compliance, I entered into this relationship with FTX. It has some of the best
                   crypto exchange offerings I've seen on the market. FTX leverages best-in-class
                   tech to provide a quality trading experience with low fees for both professional
                   and retail investors alike, while at the same time providing the reporting
                   platform that serves both internal and regulatory compliance requirements”

        46. Given that FTX continually misappropriated customer assets, didn’t have appropriate
            capital controls or reasonable compliance policies in place, these claims weren’t just
            unfounded; they were downright false.
        47. Mr. O’Leary’s assertion that FTX was a compliant exchange is even more damaging
            than that of the typical celebrity, however. This is because Mr. O’Leary is known for
            being a Shark on the TV show Shark Tank whereby Shark’s make investments in
            startups. With those investments comes due diligence. Mr. O’Leary’s endorsement of
            FTX certainly makes it seem that he did appropriate due diligence into FTX, when
            obviously, whatever due diligence that he did was grossly inadequate.
        48. Mr. O’Leary appears to admit that his own due diligence was inadequate, and that he
            relied on the due diligence of others:

                   “I obviously know all the institutional investors in this deal. We all look like
                   idiots. Let’s put that on the table. We relied on each other’s due diligence, but




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                      we also relied on another investment theme that I felt drove a lot of interest in
                      FTX9”

         49. Mr. O’Leary is also a strategic investor in what is allegedly Canada’s largest
             cryptocurrency exchange, ‘WonderFi.’ The name is derived from Mr. O’Leary’s
             nickname, ‘Mr. Wonderful.’ Mr. O’Leary’s involvement in WonderFi could naturally
             lead one to believe that he knew how to perform adequate due diligence on exchanges,
             and that he would do so on FTX before investing and acting as a brand ambassador.

     FTX and Representations of Safety and Risks
         50. The yield that users could receive as part of the FTX Earn program, as previously
             mentioned was 8% APY for total collective deposits under $10,000 USD equivalent,
             and 5% APY for collective deposits above $10,000 USD up to $100,000 USD, and no
             APY for amounts in excess of $100,000.
         51. This type of yield structure makes no logical sense from a profitability standpoint.
             Why would a financial institution offer a lender a lower yield when they loaned more,
             and no yield at all beyond a certain threshold? As a business, should they want to pay
             out lower yields to a smaller number of people than higher yields to a larger number of
             people?
         52. In my opinion, the reasons that FTX had this yield structure was so that they could
             mitigate their legal risks to customers. Simply put, a customer who loses $4,000 due to
             FTX’s misappropriation of funds is very unlikely pursue action against the exchange,
             such as litigation. A customer who loses $4 million is much more likely to.
         53. FTX did have a legal disclaimer associated with their Earn program, shown below:




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      https://dailyhodl.com/2022/12/09/kevin-oleary-says-ftx-collapse-makes-him-and-other-investors-in-the-crypto-
     exchange-look-like-idiots/

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           54. FTX again refers to staking numerous times, suggesting this was what they were
               primarily doing with customer assets, which wasn’t true, and indeed wasn’t even
               technically possible for a large portion of the assets that customers deposited.
           55. FTX indicated that for customers who opt-in to the Earn program, FTX would take
               their assets to generate a fixed yield for the user, presumably via ‘staking.’
           56. The legal disclaimer, and certainly the brand ambassadors grossly misrepresented the
               level of risk associated with its Earn program. While FTX does indicate that it’s ‘not a
               bank account, and is not insured’ and that ‘users should exercise appropriate caution
               when deciding whether to enable yield for their accounts,’ this hardly seems like a
               sufficient disclaimer and disclosure that would accurately represent the real level of
               risk. It certainly does not reveal that funds will be lent to affiliated entities to perform
               highly questionable and risky trading strategies, the lender will collateral FTT tokens
               with FTX for safety.
           57. The FTX Earn program was clearly represented as being ‘opt-in’ and not ‘opt-out.’
               However, in a declaration from Joseph Rotunda, the Director of Enforcement at the
               Texas State Security Board, he describes how he, as a US citizen, went to the FTX
               website, downloaded the FTX Trading App. He funded his account with $50, and “the
               default settings were automatically configured to enable earning of yield.”10 clearly
               notes that the earn program he was auto-enrolled in was associated with FTX US, not
               FTX Trading.
           58. Thus, FTX’s assertion that the FTX.US yield program were strictly opt-in was not
               true. It’s certainly possible that when some US persons registered for FTX, the Earn
               program might have been opt-in in some cases but based on the series of events

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          https://cases.stretto.com/public/x193/11753/PLEADINGS/1175310142280000000134.pdf

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            described by Mr. Rotunda, it’s clear at the very least that a considerable portion of US
            persons that registered would have been auto-enrolled in the yield program. This
            would make it such that those users that were auto-enrolled (and who did not opt-out)
            appear to have engaged in an unregistered securities transaction as soon as any money
            was deposited to their account, whether fiat or cryptocurrency.
        59. This means it appears that brand ambassadors were promoting a company and
            application that at least in some cases auto-enrolled US persons in the FTX Earn
            program which would reasonably be considered a security in my opinion, and which
            was also being lauded as ‘safe’ and ‘compliant.’

     The FTT Token and Alameda
        60. The FTT Token was an instrumental part of FTX’s demise. FTT Tokens were created
            and issued by FTX, and FTT provides various benefits to its holders on FTX
            Exchange. The benefits include, most notably, trading fee discounts, but also ancillary
            benefits such as early access to token sales on the exchange.
        61. It is not uncommon for many of the larger cryptocurrency exchanges to build in
            contrived ‘utility’ (such as trading discounts) for tokens that they themselves create
            because it can be financially lucrative for the exchange, since as the issuer they would
            typically retain a sizable portion of the tokens, and could elect to sell those tokens at
            some point, when the price is advantageous.
        62. Similar to equity, the financial success of an exchange’s token (FTT) is tied to the
            financial success and popularity of the exchange. This is because as the exchanges
            gains new customers, more and more customers will naturally want to buy FTT, either
            so they can have a discount on trading fees, or because they think the price will
            increase (possibly a result of new customers and demand for FTT). However, the
            holders of FTT have no legal rights voting rights that they would have with an equity
            investment.
        63. Thus, as the number of customers that exchange has increases, as is often the case in a
            ‘bull market,’ the price of FTT could generally be expected to increase in value.
            However, in a bear market, when there is less demand and interest, and fewer new
            users signing up, there is naturally a lower demand for FTT that would generally cause
            the price to decline.
        64. It is apparent that FTX (and FTX.us) effectively gave Alameda research an unlimited
            credit line, and Alameda could then effectively use FTX customer assets in extremely
            high-risk trading activity and strategies, and loans that ultimately left Alameda in
            extremely poor financial condition.

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        65. Alameda research allegedly largely provided FTT tokens (which were presumably
            issued or given to them by FTX) as collateral to FTX in order to obtain the loans from
            FTX. However, FTT tokens are highly volatile and ultimately subject to investor
            confidence in FTX itself. When that confidence and interest in FTX began to wane,
            the price of FTT started to collapse, and with that, the collateral that was designed to
            cover Alameda’s bad debts.
        66. FTX now has a bunch of comparatively worthless FTT on their balance sheet, and the
            price of that obviously won’t recover measurably. Given what FTX’s misappropriation
            of customer assets (both in and outside of the Earn program), investors were
            essentially invested in FTT tokens in large part even if they didn’t know it or buy any
           directly themselves.

     Verifiable FTX Falsehoods
        67. It’s evident that the FTX group was grossly mismanaged and misappropriated
            customer funds. It is still the early stages of finding out about all the misconduct.
            Much of the misconduct that has been revealed thus far and will be revealed in the
            coming months would not necessarily have been immediately known to brand
            ambassadors. This begs the question as to what are the falsehoods that were or should
            have been apparent to FTX brand ambassadors when partnering with FTX initially,
            well before their collapse?
        68. The first, as we’ve already discussed is the claims regarding staking. Cryptocurrencies
            like Bitcoin and Dogecoin, which FTX offers, cannot be staked. And fiat currency
            (which FTX also offered yield on) also cannot be staked. Yet, FTX offers yield for
            them on the Earn Program. The fact that FTX would not technically be able to stake
            applicable cryptocurrency assets on behalf of customers as they have said and pay
            back yield in the same currency / cryptocurrency, was always a giant red flag that was
            demonstrably false, and which should have been recognized by anyone promoting
            FTX.
        69. The second verifiably false claim by FTX that would have been evident publicly well
            before their downfall relates to FTX’s claim that only the user has control of digital
            assets in their account:

                   “You control the Digital Assets held in your Account. At any time, subject to
                   outages, downtime, and other applicable policies (including the Terms), you
                   may withdraw your Digital Assets by sending them to a different blockchain
                   address controlled by you or a third party.”


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           As mentioned previously, FTX exchange accounts are custodial in nature. This means
           that the customer does not control access to the assets ‘in’ their account. The customer
           needs to make a request to the exchange to be able to access and send those balances.
           Whether or not such requests are processed are dependent on the willingness, ability
           and approval of the exchange. It is very much the exchange that controls the assets,
           not their customer.

        70. An additional claim in this quote that could also be argued is verifiably false is the
            assertion that digital assets are held ‘in’ the account at all (even if the exchange wasn’t
            misappropriating funds). On a technical level, an exchange account cannot hold or
            store cryptocurrency. However, exchange accounts can store a record of liability for
            that cryptocurrency, that an exchange may have to its customer. However, because this
            concept of ‘storage’ can be difficult for people to understand, it’s somewhat common,
            at least for newcomers and those less educated with cryptocurrency to discern that a
            balance held on a cryptocurrency exchange account is equivalent to those assets being
            ‘stored’ on the exchange. What a customer(s) balance is versus what an exchange
            actually stores in its own custody on behalf of the user should not be assumed to be the
            same thing; there is no regulation or assurance guaranteeing or requiring that. Only an
            exchange’s terms of service, which might contain such language, might guarantee that,
            but even if it does, such terms may not be adhered to (which was the case here).
        71. A third major red flag should have been readily apparent is the non-sensical yield
            structure for customer accounts, which in my opinion was designed in such a way so
            as to onboard users. As previously mentioned, this was most likely doing to limit legal
            risks that FTX could incur, since investors who lost smaller amounts of money are
            much less likely to pursue action than investors that lost considerable amounts of
            money.
        72. A fourth falsehood should have been apparent in Sam Bankman-Fried’s testimony to
            the US House of Representatives Financial Services committee when he stated:

                   “There is complete transparency about the positions that are held. There is a
                   robust, consistent risk framework applied”

           No, there is not “complete transparency” and the positions that FTXs holds and held.
           While most cryptocurrency operate on public blockchains, the entities that own
           specific wallets, who controls specific accounts, and loans that are made by an
           exchange are not publicly available simply because such blockchains are public, and
           such information was not disclosed by FTX. And based on John Ray’s affidavit,


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           FTX’s records are so poor it’s likely that large swaths of this information won’t ever
           be known.

        73. A fifth area of contention that could be said to be demonstrably false (depending on
            semantics) or at least misleading would be with respect to the FTX Earn program is
            the use of the term ‘wallet.’ FTX’s page on the Earn program frequently talks about
            users’ wallets (with FTX).

                   “All assets kept in your wallets will earn the same crypto or fiat that is held in
                   the wallet, and will earn at the same rate”

        74. The term ‘wallet’ is one of the very first terms that cryptocurrency users hear of,
            which they start to use, but term is frequently misused and misunderstood. The
            ‘wallet’ terminology FTX uses perpetuates that misunderstanding.
        75. A cryptocurrency wallet is inherently ‘self-custodial’ meaning that there is no
            institution holding cryptocurrency on behalf of the user, nor does the user need to seed
            any permission to have nor hold funds in such a wallet. Only the person who created
            the wallet has ability to access the wallet (unless the credentials to the wallet were to
            be breached or otherwise accessed by another party). A cryptocurrency wallet is an
            auxiliary device or medium that holds or stores private key(s) needed to access or
            spend cryptocurrency balances that have been allocated to address(es) that are part of
            the wallet.
        76. The mere use of ‘wallet’ in this context is itself a misnomer, and very misleading,
            because a user cannot have a ‘FTX wallet’ of theirs. There is no such thing. A user can
            have wallet(s), and a FTX account, or both, but there is no such thing as an ‘FTX
            Wallet’ belonging to the user. FTX Exchange did have and control many different
            wallets, but for any given customer, FTX Exchange did not hold funds in a unique
            wallet only for that customer; that’s simply not how exchanges work.
        77. These are just the obvious falsehood and red flags that would be apparent on the
            surface. If brand ambassadors obtained information or knowledge about the inner
            workings of FTX, it’s very likely that they would have encountered additional red
            flags.




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                                                                  Lead Case Manager
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